Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 1 of 135 PageID #: 12




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION


RONDA RACCA, Individually and §
on behalf of all similarly situated
                              §
persons,                      §
                              §
       Plaintiffs,            §
                              §
vs.                           §                     Case No. 1:22-cv-142
                              §
EFG GENERAL PARTNER CORP.;    §
EDUCATION FUTURES             §
MANAGEMENT, COMPANY;          §
EDUCATION FUTURES GROUP, LLC §
COMPUTER CAREER CENTER, L.P. §
d/b/a VISTA COLLEGE; PROSPECT §
PARTNERS, LLC; JIM TOLBERT;   §
MICHAEL McINERNEY and LOUIS   §
KENTER,                       §
                              §
       Defendants.            §

   DECLARATION OF JOSHUA BAKER IN SUPPORT OF NOTICE OF REMOVAL

       I, Joshua Baker, declare:

   1. My name is Joshua Baker. I am counsel to Prospect Partners, LLC, Michael McInerney,

and Louis Kenter (collectively, the “Removing Defendants”) in the above-styled action. I am over

21 years old and have personal knowledge of the information in this Declaration in my capacity as

counsel to Removing Defendants. If called to testify, I would and could competently testify to the

facts in this Declaration.

   2. Attached as Exhibit A hereto is a true and correct copy of all “process, pleadings and

orders” served upon the Removing Defendants in the state court action pending in the District

Court of Jefferson County, Texas, styled Ronda Racca, individually and on behalf of all similarly



                                                1
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 2 of 135 PageID #: 13




situated persons, v. EFG General Partner Corp., et al., No. D-208582 (the “State Court Action”).

These documents include the following:

                  a. A true and correct copy of the Certified Docket Sheet in the State Court

                       Action.

                  b. A true and correct copy of the Certified Ledger Card in the State Court

                       Action.

                  c. A true and correct copy of the Plaintiff’s Original Class-Action Petition

                       (“Original Complaint”) filed in the State Court Action.

                  d. A true and correct copy of Plaintiff’s First Amended Class-Action Petition

                       (“First Amended Complaint”) filed in the State Court Action.

                  e.    A true and correct copy of all other filings in the State Court Action.

   3.   On April 4, 2022, acting in my capacity as counsel for Removing Defendants, I accepted

Plaintiff’s service of the First Amended Complaint on the Removing Defendants. Plaintiff did not

serve the Original Complaint on the Removing Defendants.

   4. I have spoken to counsel for all other Defendants in this case, and they represented to me

that they consent in the removal of the State Court Action.




                                                 2
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 3 of 135 PageID #: 14




       I declare under penalty of perjury under the laws of the State of Texas and the laws of the

United States of America that the foregoing is true and correct.


Dated: April 7, 2022



                                          By:
                                                Joshua Baker




                                                 3
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 4 of 135 PageID #: 15




                 EXHIBIT A
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 5 of 135 PageID #: 16




         CERTIFIED
       DOCKET SHEET
                Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 6 of 135 PageID #: 17
PAGE 1 0F 1
E-FILE: 10/12/21 TO CURRENT                               CIVIL DOCKET, DISTRICT COURT                                           CASE NO. D-0208582-




NUMBEROFCASE                          NAMES OF PARTIES                                   ATTORNEYS                    KIND OF ACTION         DATE OF FILING
                   RACCA, RONDA                                                                                          CONTRACT               10/12/2021
                                                                                                SPARKS, HARK C PLFT
   D-0208582-      VS                                                                                                 DISPOSITION DATE     JURYFEE      DATE
                                                                                      NO ATTORNEY AT THIS TINE DEFT
                   TCL3-RT, ;:h                                                                                                              40.00     10/12/21
     date of orders-                                                           ORDERS OF THE COURT                                                     PROCESS
    NOVEMBER 23, 2021         PLAINTIFF'S NOTICE OF NONSUIT WITHOUT PREJUDICE AS TO EDUCATION FUTURES
                              MANAGEMENT, COMPUTER CAREER CENTER, VISTA COLLEGE, EFG FUTURES GROUP,
                              AND EFG GENERAL PARTNER CORP. ONLY GRANTED PER ORDER ON E-FILE.
                              /S/ JUDGE BAYLOR WORTHAM




                  I CERTIFY THIS IS A TRUE COPY
                  Witness my Hand and Seal of Office


                         April 01,2022
                   JAMIE SMITH , DISTRICT CLERK
                   JEFFERSON COUNTY .TEXAS


                                           Pagelof 1
             Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 7 of 135 PageID #: 18




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH, KSSTF'Cr CLCRK

                    JEFfgRSON COUNTY .TEXAS

                               .11




Certified Document Number: 2393742 Total Pages: 1




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 8 of 135 PageID #: 19




          CERTIFIED
         LEDGER CARD
                   Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 9 of 135 PageID #: 20
Job Name:         CML106             DC LASH                                                                                                                      Date   Run:    4/01/22

Page:         1                                                                                                                                                   Time Run:     11:53:58

                                                                                             CASE LEDGER        •“



 Case Number:         D-0208582-               Filed:    10/12/21      Case    Type:    CONTRACT                                                 Status:     PENDING



             Plaintiff:       RONDA RACCA        INDIVIDU                                                      Plaintiff Attorney:    SPARKS,   MARK C

        VS   De fendent:      EFG GENERAL        PARTNER       CORP   ET AL                                    Defendent Attorney:    NO ATTORNEY AT THIS TIME




Date              Cause No.          Name                                                                                            Credit Amount/        Receipt No/

        instrument                                                      Debit    Description                                              Debit Amount                Balance

10/12/21          D-0208582-           S PARKS,    MARK C                                                                                        347.00+    B 0527413

                                                                        RECORDS    MANAGEMENT                                                         10.00-

                                                                        RECORDS    ARCHIVE         FEE                                                10.00-

                                                                        COUNTY    FILING      FEE                                                     50. CO

                                                                        STATE    FILING      FEE                                                      50.00-

                                                                        LIBRARY    FEE                                                                10.00-

                                                                        MEDIATION CENTER FEE                                                          15.00-
                                                                        STENO                                                                         15.00-

                                                                        SECURITY       FEE                                                               5.00-

                                                                        INDIGENT       FEE                                                            10.00-

                                                                        JUDICIAL SUPPORT                                                              42.00-

                                                                        APPELLATE      JUDICIAL SYSTEM                                                   5.00-

                                                                        ELECTRONIC       FILING      FEE                                              30.00-

                                                                        COURT    RECORD      PRESERVATION                                             10.00-

                                                                        SECURITY OF COURTS               AND   JUDGES                                    5.00-

                                                                        JURY                                                                          40.00-

        PETITION      (PLAINTIFF’S          ORIGINAL)                                                                                                     .00

        APPLICATION        (JURY TRIAL/J'JRY DEMAND)                                                                                                      .00

        CIVIL PROCESS         FORM                                                                                                                        .00

                                                                                                                                                                                 40.00+



10/13/21          D-0208582-           FERGUSON,        TIMOTHY   M.

        CITATION                                                        DISTRICT CLERK         SERVICE CHARGE                                            8.00-

        CITATION                                                        DISTRICT CLERK         SERVICE CHARGE                                            8. CO

        GITATION                                                        DISTRICT CLERK         SERVICE CHARGE                                            8. GO-

        CITATION                                                        DISTRICT CLERK         SERVICE CHARGE                                            8. CO

        GITATION                                                        DISTRICT CLERK         SERVICE CHARGE                                            8.00-

                                                                                                                                                                                    .00+



11/10/21          D-0208582-           S PARKS,    MARK    C

        CITATION      (RETURN)                                                                                                                            .00

        CITATION      (RETURN)                                                                                                                            .00

        CITATION      (RETURN)                                                                                                                            .00

        CITATION      (RETURN)                                                                                                                            .00

                                       FERGUSON,        TIMOTHY M.

        CITATION                                                        OUTSIDE    SERVICE                                                                .00 OC

        CITATION                                                        OUTSIDE    SERVICE                                                                .00 OC

        CITATION                                                        OUTSIDE    SERVICE                                                                .00    OC

                                                                                                                                                                                    .00+



11/23/21          D-0208582-           FERGUSON,        TIMOTHY   M.

        ORDER      (DISMISSAL/NONSUIT-PARTIAL)                                                                                                            .00

                                       SPARKS,     MARK    C                                                                                                B     0532139

        DISMISS/NONSUIT         (MOTION FOR        PARTIAL)                                                                                               .00

                                                                                                                                                                                    .00 +



 3/30/22          D-0208582-           FERGUSON,        TIMOTHY   M.

                     I CERTIFY THIS IS A TRUE COPY
                     Witness my Hand and Seal of Office


                            April 01,2022
                      JAMIE SMITH , DISTRICT CLERK
                       JEFFERSON COUNTY .TEXAS


                                                  Page1of2
                  Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 10 of 135 PageID #: 21
Job Name;         CML106          DCLASH                                                                                                         Date   Run:    4/01/22
Page:         2                                                                                                                                  Time Run:     11:53:58

                                                                                 CASE LEDGER    *“



 Case Number:         D-0208582-           Filed:   10/12/21      Case Type:   CONTRACT                                          Status:     PENDING



             Plaintiff:       RONDA RACCA    INDIVIDU                                          Plaintiff Attorney:    SPARKS,   MARK   C

        VS   Defendent:       EFG GENERAL    PARTNER CORP ET AL                                Defendent Attorney:    NO ATTORNEY AT THIS        TIME




Date              Cause No.      Name                                                                                Credit Amount/         I
                                                                                                                                            Receipt No/
        Instrument                                                 Debit   Description                                    Debit Amount              Balance
        PETITION      (1ST AMENDED)                                                                                                        .00

                                   NO ATTORNEY AT         THIS   TIME                                                                        B 0545323
        NOTICE      (APPEARANCE)                                                                                                           .00

                                                                                                                                                                   .00*



3/31/22           D-0208582-       SPARKS,    MARK   C

        BANKRUPTCY/AUTOMATIC STAY            (NOTICE OF)                                                                                   .00

                                                                                                                                                                   .00+




                     I CERTIFY THIS IS A TRUE COPY
                     Witness my Hand and Seal of Office


                              April 01,2022
                      JAMIE SMITH , DISTRICT CLERK
                       JEFFERSON COUNTY .TEXAS


                                              Page2of2
             Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 11 of 135 PageID #: 22




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH, KSSTF'Cr CLCRK

                    JEFfgRSON COUNTY .TEXAS

                               .11




Certified Document Number: 2434521 Total Pages: 2




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 12 of 135 PageID #: 23




               ORIGINAL
              COMPLAINT
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 13 of 135 PageID #: 24
                                                              FILED
                                                                                    DISTRICT CLERK OF
                                                                                    JEFFERSON CO TEXAS
                                                                                    10/12/2021 3:22 PM
                                                                                    JAMIE SMITH
                                                                                    DISTRICT CLERK
                                                CAUSE NO.
                                                                                    D-208582

 RONDA RACCA, INDIVIDUALLY AND                                 §            IN THE DISTRICT COURT OF
 ON BEHALF OF ALL                                              §
 SIMILARLY SITUATED PERSONS,                                   §
                                                               §
              Plaintiffs,                                      §            JEFFERSON COUNTY, TEXAS
 v.                                                            §
                                                               §
 EFG GENERAL PARTNER CORP.,                                    §
 EDUCATION FUTURES                                             §
 MANAGEMENT, COMPANY,                                          §
 COMPUTER CAREER CENTER, L.P.                                  §
 D/B/A         VISTA        COLLEGE,            PROSPECT       §
 PARTNERS, LLC, JIM TOLBERT,                                   §
 MICHAEL MCINERNEY, AND LOUIS
 KENTER,
                                                                                    JUDICIAL DISTRICT
              Defendants.


                          PLAINTIFF’S ORIGINAL CLASS-ACTION PETITION


TO THE HONORABLE JUDGE OF SAID COURT:


            COMES NOW Plaintiff, RONDA RACCA, individually and on behalf of all similarly


situated persons (as defined in the Class below), complaining of the Defendants EFG GENERAL


PARTNER              CORP,           (hereinafter   "EFG”),   EDUCATION   FUTURES   MANAGEMENT,


COMPANY (hereinafter “EFM”), COMPUTER CAREER CENTER, L.P. D/B/A VISTA


COLLEGE (hereinafter “CCC”), PROSPECT PARTNERS, LLC (hereinafter “Prospect”),


JIM TOLBERT (hereinafter “Tolbert”), MICHAEL MCINERNEY (hereinafter “McInerney”),


AND LOUIS KENTER (hereinafter “Kenter”) (all defendants when referred to collectively


hereinafter are called “Defendants”), and in support thereof would respectfully show unto this


Honorable Court the following:




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


           April 01,2022
      JAMIE SMITH , DISTRICT CLERK
      JEFFERSON COUNTY .TEXAS


                            Page1of28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 14 of 135 PageID #: 25




                                                PARTIES


          1.         Representative Plaintiff RONDA RACCA is a resident of Beaumont, Jefferson


County, Texas; thus, Plaintiff RONDA RACCA is a Texas citizen. At the time of closure, Plaintiff


RONDA RACCA was an enrolled student in the cosmetology program at the Vista College


located 3871 Stagg Drive, Suite 194, Beaumont, Texas 77701. Plaintiff RONDA RACCA was


five months away from graduation when her campus closed. Plaintiff RONDA RACCA’s tuition

was roughly $15,000 and took out student loans to aid paying said tuition.         Plaintiff RONDA

RACCA paid at least $ 1 0,000 in school supplies and textbooks and drove roughly sixty (60) miles


to class per day for five (5) days per week.


          2.         Defendant CCC is a corporation organized and existing under the laws of Delaware


with a principal place of business in Richardson, Texas. CCC is deemed a Texas citizen and


essentially at home in Texas. At all relevant times, CCC was a company that provided educational


services throughout Texas. CCC may be served with citation by serving its registered agent, C T


CORPORATION SYSTEM at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.


          3.         Defendant EFG is a corporation organized and existing under the laws of Delaware


with a principal place of business in Dallas, Texas. EFG is deemed a Texas citizen and essentially


at home in Texas. Al all relevant times, EFG was a company that provided educational services


throughout Texas. EFG may be served with citation by serving its registered agent, C T


CORPORATION SYSTEM at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.


         4.          Defendant EFM is a corporation organized and existing under the laws of Delaware


with a principal place of business in Richardson, Texas.        EFM is deemed a Texas citizen and


essentially at home in Texas. At all relevant times, EFM was a company that provided educational




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS

                 S-^Page2of28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 15 of 135 PageID #: 26




services throughout Texas. EFM may be served with citation at their principal place of business,

300 N Coil Road, Suite 1400, Richardson, Texas 75080-5459.


          5.         Defendant PROSPECT is a private equity firm that owns Defendants EFG, EFM,


and CCC.        Defendant PROSPECT operated, managed, and funded several campuses throughout

the State of Texas, including Vista College located in Beaumont, Jefferson County, Texas.


Defendant PROSPECT is a foreign corporation, company, partnership, proprietorship, or other


entity maintaining its principle office at 200 West Madison Street, Suite 2710, Chicago, IL 60606.


Defendant PROSPECT at all times material to this action, engaged in business in Texas, as more


particularly described below. Defendant PROSPECT does not have a designated agent on whom


service of citation may be made in this cause. The causes of action asserted arose from, or are


connected with, purposeful acts committed by PROSPECT in Texas because PROSPECT


conducted business in Texas. Claims arising from Defendant PROSPECT’S business in Texas are


the basis of Plaintiffs’ cause of action. At all relevant times, PROSPECT is a private equity


company that manages, operates, and funds companies throughout the United States with several


in Texas. Accordingly, Defendant PROSPECT may be cited by serving the Secretary of State of


Texas.


          6.         Defendant TOLBERT is the Chief Executive Officer of Defendant EFG, EFM,


and/or CCC. Defendant TOLBERT is and was a Texas citizen at all material times and can be


served with process through CCC’s registered agent, C T CORPORATION SYSTEM at 1999


Bryan Street, Suite 900, Dallas, Texas 75201.


          7.         Defendant MCINERNEY is the Vice President and Secretary of Defendant EFG,


EFM, and/or CCC. Defendant MCINERNEY can be served with process through CCC’s


registered agent, C T Corporation System at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.


  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


         April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 3 of 28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 16 of 135 PageID #: 27




          8.         Defendant KENTER is the Chairman of Defendant EFG, EFM, and/or CCC.


Defendant KENTER is also a Founder of Defendant PROSPECT. Defendant KENTER can be


served with process through CCC’s registered agent, C T CORPORATION SYSTEM at 1999


Bryan Street, Suite 900, Dallas, Texas 75201.


                                         DISCOVERY CONTROL PLAN


          9.         For purposes of Rule 190.4, Plaintiffs allege that this matter is intended to be


conducted under Discovery Level 3 in accordance with Texas Rules of Civil Procedure 190.4.


                                          VENUE & JURISDICTION


          10.        The Court has jurisdiction over this cause of action because the amount in


controversy is within the jurisdictional limits of the Court.     Although the Plaintiffs realize any


ultimate recovery is up to the jury and this Honorable Court, recent “tort reform” forces


Plaintiffs—before any discovery is done and at the outset of trial—to specifically and publicly


identify a range of damages, or else Plaintiffs are denied various rights including the right to


proceed with this case and conduct discovery.         Accordingly, and pursuant to that requirement,


Plaintiffs plead they are seeking monetary relief over $1,000,000. Plaintiffs reserve the right to


amend their petition during and/or after the discovery process.


          11.        There is a lack of diversity among the parties since Plaintiffs and Defendants


TOLBERT, EFG, EFM, and CCC are citizens of the State of Texas. As such, removal of this


action to federal court is per se improper. Moreover, this is a putative class action in which—(I)


greater than two-thirds of the members of all proposed plaintiff classes in the aggregate are citizens


of the State in which the action was originally filed (Texas); (II) at least one defendant


(specifically, TOLBERT, EFG, EFM, and/or CCC) is a defendant—(aa) from whom significant


relief is sought by members of the plaintiff class; (bb) whose alleged conduct forms a significant


  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 4 of 28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 17 of 135 PageID #: 28




basis for the claims asserted by the proposed plaintiff class; and (cc) who is a citizen of the State

in which the action was originally filed; and (III) principal injuries resulting from the alleged


conduct or any related conduct of each defendant were incurred in the State in which the action


was originally filed (Texas). Accordingly, removal jurisdiction under the so-called “Class Action

Fairness Act” (“CAFA”) is improper because, inter alia, the local controversy exception under 28


U.S.C. § 1332(d)(4)(A) prohibits removal.          Of course, Plaintiff contends none of CAFA’s

requirements are met so the exception is not even required, but nonetheless plead CAFA’s local


controversy exception bars removal.          Defendants TOLBERT, EFG, EFM, and/or CCC are


essentially at home in the State of Texas.      The assertion of Texas court jurisdiction over these


Defendants does not offend the notion of fair play and substantial justice, and Defendants


maintained systematic and continuous contacts with the State of Texas, entered into contracts /


entered into transactions for business and/or property in the State of Texas, owned assets and/or


property in the State of Texas, purposefully directed their activities here in Texas, purposefully


availed themselves of the laws of the State of Texas, and Texas courts may properly assert both


specific and general jurisdiction over all Defendants.

          12.        Venue is proper in Jefferson County, Texas, pursuant to Section 15.002 of the


Texas Civil Practice and Remedies Code in that the cause of action accrued in Jefferson


County, Texas. Venue is proper in Jefferson County, Texas, because the incident giving rise to this


suit occurred in Jefferson County, Texas. At all times relevant to this case, Defendants had an


agent or transacted business in the State of Texas, including Jefferson County, Texas. This Court


has personal jurisdiction over Defendants because at all relevant times, they conducted (and


continue to conduct) business in Jefferson County, Texas. The cause of action asserted arose from


or is substantially connected with purposeful acts committed by the Defendants in Texas because



  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS

                 S-^Page5of28
           Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 18 of 135 PageID #: 29




             Defendants executed their contracts and conducted business within the State of Texas. The

             Defendants' negligence while conducting their business within the State of Texas is the basis of


             the Representative Plaintiffs cause of action.


                                                           DEFINITION OF CLASS


                         13.       The Proposed Class Members (hereinafter referred to as the “Class” and/or “Class


             Members”) include a class of “Students” who agreed to pay money                    out of pocket or through

             loans - to Defendants in return for an education who were denied their education due to campus


             closure. This class is further defined as follows:


                         All students of any Vista College located in Texas who were enrolled at the time Vista


                         College closed on or about October 8, 2021.



                         14.        Exclusions from the Class: The following persons and entities are expressly

             excluded from the Class (1) Defendants, their affiliates, subsidiaries, agents, representatives, and

             all other persons acting in concert with it, or under its control, whether directly or indirectly,

             including any attorney; (2) persons or entities who make a timely election to be excluded from

             either proposed class; (3) governmental entities; and (4) the Court to which this case is assigned,

             the judicial officer(s) who preside over this Court, and all personnel of the Court.


                                                        CLASS ACTION ALLEGATIONS


                         15.       Pursuant to Tex. R. Civ. P. 42, Plaintiff brings this action as a class action on behalf


             of herself and all members of the Class of similarly situated persons. Included in the class are


             students who suffered monetary and non-monetary damages as a result of abrupt, unexcused


             campus closures that occurred on, or about, October 8, 2021. Certification is appropriate under


             Tex. R. Civ. P. 42.


                         16.       42(a)( 1 ) - On information and belief, the proposed Class consists of more than three


             thousand students who attended Vista Colleges in the State of Texas, the joinder of which in one

                 1 CERTIFY THIS IS A TRUE COPY
/ qJc            Witness my Hand and Seal of Office

                       April 01 , 2022
                 JAMIE SMITH, DISTRICT CLERK

        .-•ij/    JEFFERSON COUNTY .TEXAS
                        r              y Page 6 of 28
        Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 19 of 135 PageID #: 30




        action is impracticable. The precise number and identities of the Class Members are currently


        unknown to Plaintiff but can be easily derived through discovery and/or Defendants’ rosters.


                  17.       42(a)(2) - Defendants violated the rights and interests of each Class Member in the


        same manner- to             wit, Defendants’ employees, agents and servants breached enrollment

        agreements, failed to properly manage campuses, failed to reasonably maintain and utilize


        adequate finances, failed to provide their end of the bargain, made misrepresentations to lure

        student enrollment, made misrepresentations to maintain enrollment, failed to properly teach out


        their students, committed negligent undertaking, violated the Texas Deceptive Trade Practices-


        Consumer        Protection         Act   (“DTPA”),   fraudulently   induced     enrollment,   made    fraudulent


        misrepresentations, misused funds, and committed other acts and/or omissions among many other


        uniform wrongful actions described below.


                  18.       Common questions of law and fact predominate over any questions affecting


        individual Class Members including:


                  •     whether Defendants’ wrongful actions described below constitute negligence, gross
                        negligence and/or misrepresentations;
                  •     whether Defendants’ wrongful actions and the abrupt campus closures constituted
                        breach of contract;
                  •     whether       Defendants’    wrongful    actions    described    below   constitute   negligent
                        undertaking;
                  •     whether Defendants’ wrongful actions described below' constitute a breach of contract;
                  •     whether Defendants’ wrongful actions described below constitute common law fraud;
                  •     w'hether Defendants’ wrongful actions described below- constitute violations of the
                        Texas Deceptive Trade Practices-Consumer Protection Act (“DTPA”);
                  •     whether Defendants’ wrongful actions described below directly or proximately caused
                        Plaintiffs and Class Members to suffer damages;
                  •     whether Plaintiffs and Class Members are entitled to recover actual damages,
                        consequential damages, punitive damages, treble damages, pre-and post- judgment
                        interest, attorneys’ fees, litigation expenses, and court costs, and if so, the amount of
                        the recovery.


                  19.       42(a)(3 ) - Plaintiff s claims are typical of Class Members’ claims because Plaintiff


        and Class Members are all victims of Defendants’ wrongful actions described below.
          1 CERTIFY THIS IS A TRUE COPY
/ qJc     Witness my Hand and Seal of Office

                April 01 , 2022

t-A       JAMIE SMITH, DISTRICT CLERK
V^-.f      JEFFERSON COUNTY .TEXAS
                                  page 7   28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 20 of 135 PageID #: 31




          20.       42(a)(4) - Plaintiff and her counsel will fairly and adequately represent the interests


of Class Members. Plaintiff has no interests antagonistic to, or in conflict with, those of any of the


Class Members. Plaintiffs counsel is experienced in leading and prosecuting class actions and


complex litigation. A class action is superior to all other available methods for fairly and efficiently


adjudicating Plaintiffs and Class Members’ claims.


          21.       42(b)( 1 ) - Plaintiff and Class Members have been harmed as a direct and proximate

result of Defendants’ wrongful actions described below. The above-described common questions


of law or fact predominate over any questions affecting individual Class Members and a class


action is superior to other available methods for the fair and efficient adjudication of this


controversy. Litigating this case as a class action is appropriate because (i) it will avoid a


multiplicity of suits and the corresponding burden on the courts and Parties, (ii) it will be virtually


impossible for all Class Members to intervene as parties-plaintiff in this action, (iii) it will allow


numerous persons with claims too small to adjudicate on an individual basis because of prohibitive


litigation costs to obtain redress for their injuries, and (iv) it will provide court oversight of the


claims process once Defendants’ liability is adjudicated.

          22.        As set forth herein, Plaintiff has met the prerequisites of Rule 42 and believe that a


class action is maintainable in accordance therewith.


                                         NATURE OF THE CASE


          23.        The Representative Plaintiff brings this class action on behalf of herself, and all


similarly situated persons who were enrolled at Texas-based Vista College when the campuses


abruptly closed on or about October 8, 2021. The gravamen of the complaint is that Defendants


fraudulently induced student enrollment, lied or misrepresented material facts to their students,




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 8 of 28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 21 of 135 PageID #: 32




failed to provide educational services despite contractual obligations, and failed to provide tuition

refunds per their contracts.


          24.        The Representative Plaintiff, on behalf of herself and the Class members, seeks


damages for failing to receive the benefit of the bargain with respect to the contracts in place.

          25.        The Representative Plaintiff, on behalf of herself and the Class members, wishes to


protect his individual claims and cause of action in the alternative to the class action complaint to

adhere to the statute of limitations.


                                                BACKGROUND


    A.    What is Vista College?


          26.        Defendants EFG, EFM, and/or CCC own and operate seven (7) Vista College


‘ground campuses’ with one (1 ) in Fort Smith, Arkansas, one (1 ) in Las Cruces, New Mexico,


and five (5) in Texas: Beaumont, El Paso, College Station, Killeen, and Longview-. This putative


class action is only sought for Texas citizens involving the Texas-based Vista College campuses.


          27.        According to Vista College’s 2021 catalog, Vista College’s mission is “to provide


high quality, specialized career preparation or enhancement. Vista College recognizes this is an


era of accelerated changes and accepts the responsibility to aid its studen ts in preparation for


these changes by providing quality education and career guidance relative to the demands of an


evolving workplace.'”              Vista College provided students with dozens of diplomas, license,


certificates, and/or degree programs throughout their campuses. The courses, tuition, and fees vary


depending on the campus, course title, number of hours, term, and other factors. The following


tables illustrate various courses, tuitions rates, and expenses:




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


         April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS

                 S-^Page9of28
            Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 22 of 135 PageID #: 33



                                                                                  Cr««<w i W*M,
                                                                                                             M^sps         T44Wfews. ' '                                ..—.-ft1...,.. ;
                                   Siwnns XSin^sttSnior.
                                                                                                  ; 7$         •«                                              N.-A          HOT           w,m

                                                  SE
                                                                                                              SOS         $3$.J42      •;         $$»          N/A           HOT           $34,442

                                                                                                  ; 7v        OS                                  SW         '~’naa"“                      SJ4.740
                                                                                       A5’-oc«te ' 7G         :S5        ’$38,683          ;.     $1W                        $100          534,733

                                   Hwiwijxw                               (»fj
                                                                                       AwoOTte? 70            W           537,817          j      $325         suxs          l!90          $38,841
                                   jTratfrt^w^j

                                                                                       Anoune : ®             W           «MI?                    $32$         s*w           HOT           $39,841
                                                              _,„/A




                                                 A^Miiing
                                                                                       A«o«>WfW               *05         $39356                  535®         N>A           HOT           $34,860

                                   Medisii Aswtirig ^t>Rt»r»ce '"""
                                                                                       Amo«K«775              >05         $39,356                 5350         MA            $100          $54,800
                                   &M*j**g
                                   Medial Jj'KWwee O««g &
                                                                                       ,*sswsss»,ra>          HI          M!.m         I          S3M          AKA.          5100          $41,415



                                   €«^r$g ?M®C)                                        AtWKMe > 80            III         545.97S                              N-A           $tt»          $42,415

                                   S&KAStmi

                                                                                       Attwntj .< 7$          »I4         $4           i          *325         N'A           $100          583.300
                                   TecftnKiui

                                                                                       AMooise < 70           M           $37,250                 5J5O         N>A           SIOT          $35,700


                                    ^iw.^ V<i«»hbo«t. 4 Ak                             Auomse ? 80            Ilf         $40,250                 $350         AKA           5100          $4-3. 700
                                   C?rrfrt>^^g <HVAO
                                   Bu«ne*5 A-±r«rwo'arj^
                                                                                       CnploiKi > 40          52          522 200                 ll'X         MA            HOT           tii.seo


                                                                                       DfpSorra •’ 40          52         522.2130                S2OT         NA            SIOT          521.560
                                   fOfctaae* F«tw<att©o)
                                   C<V(icnxtl©a T^dirx-iogy                            Diptow     40           52         SKtiSO       .          $2f»         S4»           SHOT          521, ISO

                                                                                    OtfAsta 45 ““"5T“
                                   Siecirleaf Tedir^tm                            “TSpiSmT®"""        i                   S21.5SO                 $2»        "$773                         -S5
                                                                      & AiK
                                                                                       Dytana I 50             45         *23,K»                  $256         5750          SIOT          I14.IOT
                                                       ^HVAC}
                                           ~ .     <                  .
                                                                                       Ololonu .' 40           «          $».5OT                  *1.7$        $5»           HOT           511,175

                                    In^f                «KnoSg?’(IT)
                                                                                       0«tonu 1 46             5?         536.5OT                 $17$         $550          SIOT          Sit. 175

                                   "Hedkal
                                    Asw?£M5!                                           Olptotrss : *0          52         Sit,225                 5175         N-A           $160          514.505


                                    K-e4ie*5
                                                                                       Oiptona : 45            58          525.300                51OT         AKA           SIOT          $25*00

                                    Med5<ai            Wg iO«8tance
                                                                                       D0k»»s .’ *5                       *M,JOT                  S2OT         AKA           SIOT          51S.5OO
                                    EAitatron)
                                                 AwHwg S>r
                                                                                       Oiffara . 45            74         $15,500                 $300         M'A           SIOT          525.506

                                    MedicaJ Am^«^ &                              ~~
                                                                                       Oif>lfnMU45             K          $2$.2OT                 51®          NA            SHOT          S1S.5OT


                                                                                                  ! »          4$         S24.2OT                 52OT         AKA           SIOT          $14,500
                                    CwJ^ <M!E< J (Trad^onji'?
                                                 tnsirt ftnce Sdbng
                                                 (MISC ) (DisteftW!                    O^ota ‘ W               4$          5H.1OT                 S3®          N.A           SIOT          $24,506
                                    g^wraaon?
                                    Rurmac f                lan
                                                                                       Ortons* .• 50           to         $14.2,M                 $>$»         NIA           HOT           $14,500
                                    I'bia.ow.i
                                    rharrnacy Techmwp
                                                                                       P^losa .' 50            OT          SI4.2W                 *SSS>        AKA           SIOT          SM.5SQ
                                    gw$
                                    Voaiwnti Abne (b>                                                         W"         '"5wo~'i~~ ~i*xs                                    SIOT
                                    Yortacet^ Nur^ IE)                                 O^tooa > 75             7J        ' $3i,i»i>         •     $406         AKA           HOT           m,5Gc


                                                                                                                                                                        -Kipiaiasr.- —rsa-
                                           C-s^Hou-frajs^u                            CIMS..HUS' W..*S                     7..W- •         !    J-.-toA       r«a«t»
                                                                                                                                                                                           T>x*i»ce5

                                    Comctclogy                                                               I,OTO         Silsoo                 *750        *1.250         $11X1         115.004
                                                                                             40

                                                                                        C«rtHK:ate.<
                                    CirmnotSigf (tftKhout'i                                                  1,500        $i»,W            j      $750        $>.156         HOT           $11,100
                                                                                      44©)w4M(&
                                                                                                             IJ-edrt .                                        foofct     Res>oiaOT          T444!
                                           1W WPr’W&m

                                    hfejm- Aids Tramw’g
                                                                                  IZ^Z CertfcKi/S
                                                                                                             Hj.jh

                                                                                                               4
                                                                                                                           7uK»p

                                                                                                                            sm             i
                                                                                                                                                T«»-d»<.-*

                                                                                                                                                  WA           AKA
                                                                                                                                                                              $«*
                                                                                                                                                                             M'A
                                                                                                                                                                                           T'5Se?
                                                                                                                                                                                            $750
                                                       for He^lfture
                                                                                  CwfeMe/2.5             3               55®               ! WA                MA            M<A            SIM
                                                                                                                                                                                                       I
                                   ! iVcfessKwafts $-HMtiar




                 1 This chart is from Vista College’s 2021 Texas Student Catalog.
/-^PFFEoX.         1 CERTIFY THIS IS A TRUE COPY
/   -   -‘$2z\     Witness my Hand and Seal of Office

                         April 01,2022
                   JAMIE SMITH , DISTRICT CLERK
                    JEFFERSON COUNTY .TEXAS


                                                  Page 10ot28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 23 of 135 PageID #: 34




             28.           Defendant Tolbert was the Chief Executive Officer of Vista College at the time of


closure.         Upon reason and belief, Defendant Tolbert communicated with the students - both


personally and/or in the Student Catalog:


           Welcome from the Chief Executive Officer

           Visa CsSgr ta pat asmleted itsprat«att.h wr sfcpa'arfsa aaf s gftw                   e&aie® torefi&t    ear xaxea. Skcsss           jm town
           SsiixtsH & tte moll ofa gtat&tt tsuvi&aKd fc?te«®a. Ui^sttur^tedy. too ^anystasiasts ta® tea M is sciteve that sTi they n&dfvr a
           ssafisfyi and            rtarrtts dftfoaa, This heWeszt rewindfe                         tadnai o’Capsflc               To&r; itis isspoilfflt
           ttat awry person be seij-reitet. Ottr Btwoniii osd nati-sitsi kmss&i              ii. Ho* tta s-taili           to ossatv- i tatetai lisc
           ^ratwtposalbta'tto/arh^cBdsaxe^d^iniflK^ Ttevcrettewifeyfeteaviu®*
           fsponti interest. tetumd anipotaHoI g>win.

           Tte mati imsjcrtsiti Lian to t&nemter biptaKbigycor^inere te tfaa youmast Kart wfihjwisSemta. Ifyou <ac intevttcd In
                     leunAngstoat it todqi ana'&ing a toannv* (Ssa yeaW spne mr tftw ®ai ws&yss education. it is fesportot tiwns Sea
           tagatja theservices te wftfebyou we trained. Hsat^- explore tfeegrawzhpe4«ttal is file /ieid you select and tosart twpeiifwtS meet
           yw ewcctsticns. jMfttotB t>ip; asd swnatpr^xriy trained de sot want to Mt^aato; fay wax’ to pngms ®ui grw.

           rccsK’.1rsst.«eKtr«^cr1frba,K»'orls-&ted4.ar^ysf»npK.'B®'y tmiKadtne&^.tratoiavdagiceBemitMd^n’awea^t^eratdar.By
                         the .west to         war tstuaffca yes; Jiavr isstet ite pint sup tn briewS^ a awertetsite MiV’dBat, Yaa toe rasgsi^d ifc
           wd tc            ctwafii iseernwy sfcffis ^yattant so cs^sasiu               tiw^in^ob aiarfet Bssinat .irJ fctebj- Mn betew sp
           ntoiivisted. peapst iifeyou       wot » caisrita® ts tscgrcwifc cf svr Rttiion.

           Vista C«2®rjw-toittaicsuwiSfe ite otWtolty So aw. Lrcditiena; ctK-.spla is its                  of           trafifi-, a?id hotws, .' Jiewasfiy
           rtads^yMi to iw thebeet tfeatyau c® be X'« ssh vWe^v.^ivzgViKaCsSegs, ta alia                           ir.ter &tJsb ®srta

           AS Vista Cc&sjR. fSafenw are in a uni-jae csmnuoiity. Oar pJtt’oicpity U tisal cks sSetat u on teiegr®! fwt is tbe itKvsso •:•! sar school. Every
           itadiw! hsj              ihskI;     wanta Wf-wiS irestycu wftfc {fee wspat        4^!i*yyoa daer,e. Qnr^a\ is W w«cwy Sa&ntbc press
           is he n part of Vislii CoSe^e. Oser rr«nr& will cotnsfiv^ te-sr                    and xtcxis setained (’kim yrareaautlic-’i, 9/e wans is sc
           year tidii.a-w’iiil fassih. Remerfey ytxs arc the naasP

           If wiiiemilderycsr|clf amslbuted i®iMias! wte sew lite wMa*                                     I iaviKyoa to expfcrc tilts taaxie^ajia somider
           Vista-Csi.'s®? as year tseras ts taxw sm faugra? am ofour ew-cto^fegand. uSKpxt&i-, cwcfid.

           ALL INFORMATION CONTAINED IN THIS STUDENT CATALOG IS TRUE AND CORRECT TO THE BEST OF
           MY KNOWLEDGE




           Jim Tolbert
           Chiel Executive Officer                                                                                                                             2




             29.           Tolbert made other representations (indirectly or directly) to the students, through


direct or school communications, about students graduating and receiving the services for which


Plaintiff and others paid, but did not receive, the actual services or benefit of the bargain.




     (emphasis added). Id.
     I CERTIFY THIS IS A TRUE COPY
     Witness my Hand and Seal of Office


 l         April 01, 2022
 I JAMIE SMITH , DISTRICT CLERK
       JEFFERSON COUNTY .TEXAS


                                  Page 11ot28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 24 of 135 PageID #: 35




           b. The Closure of Vista College


           30.       In August 2021, Defendants announced its plans to stop enrollment of new students


   the decision to transition to ‘online only’ was made, in part, because of inadequate finances,


student population decline, changing regulations, and mismanagement.                     As a result of this


‘fundamental shift’, Defendants’ executives perpetrated an email message to its students that - in


part - provided: “IFe will continue to offer the courses you need to graduate from your programs,


including students who started their programs in August 202 1 .. . Most students in good academic


standing who are currently active at the campuses will have the opportunity to complete their


programs and should not experience significant changes to their educational experience. You will


continue to receive quality academic programs academic, financial aid, student services and


career placement support.'"             Upon information and belief, all Defendants—including Tolbert-


approved and/or participated in these communications.


           31.       Also, in August 2021, Defendant Tolbert held a Zoom meeting with faculty


members at each campus.                In said meeting, Defendant Tolbert informed the majority of faculty


members that they were furloughed effective immediately. Despite knowing their schools were in

clear and present danger of ceasing operation, Defendant Tolbert doubled down on College


Station’s local news station, KBTX, by stating, “the reason we did that [suspended in-person


enrollment for ground campuses] is to make sure we had all the financial resources at our disposal


to make sure the students currently enrolled in school get exactly what the paid for.”3 That, of

course, did not happen as Defendants shut down all campuses and programs without notice to


students on October 8, 2021.             Tolbert had made yet another promise to the students that he and


Defendants failed to keep.



3 See https://www.kbtx.cotn/2021/08/10/vista-college-siispends-in-person-enrollment-furloughs-employees-across-
texjis/
   [certify this is a true copy
  Witness my Hand and Seal of Office


          April 01,2022
   JAMIE SMITH , DISTRICT CLERK
    JEFFERSON COUNTY .TEXAS


                 S—^Page12Of28
                Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 25 of 135 PageID #: 36




                          32.       Defendants’ decision to abruptly close their campuses down betrayed thousands of

                students and teachers.            Students were stripped of their opportunity to complete their programs.


                These students paid thousands of dollars towards their programs and/or took out student loans and


                remain in debt.         Thus, many of these students still owe money to their loan servicer(s) despite


                losing the opportunity to obtain their degree, certificate, and/or diploma. Teachers unexpectedly


                lost their employment.

                          33.       The same week as campus closures, The Federal Trade Commission placed Vista


                College, along with dozens of other for-profit schools, on their “List of October 2021 Recipients


                of the FTC’s Notice of Penalty Offenses in the Higher Education Marketplace.” The Commission


                stated in a press release, “The Federal Trade Commission put 70 for-profit higher education


                institutions on notice that the agency is cracking down on any false promises they make about their


                graduates’ job and earnings prospects and other outcomes and will hit violators with significant


                financial penalties.”4 The FTC Chair stated in said press release, ““For too long, unscrupulous

                for-profit schools have preyed on students with impunity, facing no penalties when they defraud


                their students and drive them into debt,” said FTC Chair Lina M. Khan. “The FTC is resurrecting


                a dormant authority to deter wrongdoing and hold accountable bad actors who abuse students and


                taxpayers.””5

                                BRIEF SUMMARY OF THE CLAIMS AND REMEDIES SOUGHT


                          34.       Defendants’ denial and refusal to remain open long enough for Plaintiff and the


                Proposed Class to complete their program and/or course constitutes a breach of contract because


                Defendants, through the contract with Plaintiff and the Proposed Class, were contractually


                obligated to provide what was paid for.



                4 See https://www.ftc.gov/news-events/Dress-releases/2021/10/ftc-targets-false-claiins-Drofit-colleges.
                'Id.
 /'''TpFFEo'X     1 CERTIFY THIS IS A TRUE COPY
/ qJI             Witness my Hand and Seal of Office

                        April 01 , 2022
                   JAMIE SMITH, DISTRICT CLERK
                   JEFFERSON COUNTY .TEXAS


                         r            J ' Page 13 of 28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 26 of 135 PageID #: 37




          35.        Defendants’ denial and refusal to (1 ) remain open long enough for Plaintiff and the

Proposed Class to complete their program and/or course, and (2) refund Plaintiff and the Proposed


Class’ tuition costs constitute a breach of contract because Defendants, through the contract with


Plaintiff and the Proposed Class, were contractually obligated to provide what was paid for.

Defendants failed to honor and breached its contractual obligations to Plaintiff and the Proposed


Class, resulting in harm and damages to Plaintiff and the Proposed Class.

          36.        In refusing to (1 ) remain open long enough for Plaintiff and the Proposed Class to


complete their program and/or course, and (2) refund Plaintiff and the Proposed Class’s tuition


costs, Defendants breached the covenant of good faith and fair dealing and acted in bad faith


towards Plaintiff and the Proposed Class. Defendants’ conduct demonstrates that their denial of


tuition refund was prompted not by honest mistake, bad judgment or negligence, but rather by


conscious and deliberate conduct which unfairly frustrated the agreed common purposes and


disappointed the reasonable expectations of consumers/students such as Plaintiff and the Proposed


Class thereby depriving Plaintiff and the Proposed Class of the benefits of their course and/or


program       they purchased           in   reliance on   Defendants’   representations, advertisements,   and


marketing.


          37.        As shown. Defendants negligently and/or intentionally lead Plaintiff and the


Proposed Class to believe they would be able to complete their programs and receive their


diplomas, degrees and/or certificate before closure.               Moreover, Defendants negligently and/or


intentionally lead Plaintiff and the Proposed Class to believe if the campus closed down,


Defendants would reimburse Plaintiff and the Proposed Class for all costs.                  Plaintiff and the


Proposed Class relied on those representations and continued to pay their tuition and other


educational costs.           Defendants then knowingly and intentionally closed down all campuses,


  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS

                 S-^Page14ot28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 27 of 135 PageID #: 38




denying Plaintiff and the Proposed Class their opportunity to complete their course and/or


program.        Plaintiff and the Proposed Class were injured as a result of Defendants’ fraudulent


behavior.


          38.        Through written materials and oral communications, Defendants represented (1)


Vista College would continue to offer Plaintiff and the Proposed Class the courses needed to


graduate; (2) Plaintiff and the Proposed Class would not experience significant changes to their

educational experience; (3) Plaintiff and the Proposed Class would be able to complete their


programs before campus closures and/or graduate; (4) Plaintiff and the Proposed Class would


obtain employment as a result of course and/or program completion; (5) in the event of an early


campus closure, Defendants would reimburse Plaintiff and the Proposed Class their tuition and


costs; (6) guaranteed or promised jobs and/or job placement that never occurred and/or (7)


guaranteed or promised salary levels or ranges that never materialized; (8) failed and/or refused to


make credits transferrable and/or otherwise ensure that those courses completed or near


completion could be adequately transferred or completed at other equivalent institutions with a


accreditation; and (9) other acts and/or omissions to be stated after discovery or at the time of trial.


Defendants’ misrepresentations were made in the course of Defendants’ business and were made


with a purpose to affect the financial decisions of Plaintiff and the Proposed Class (all of whom


are “consumers” under DTP A and other Texas law).              Defendants’ misrepresentations were


objectively material to Plaintiff, and the Proposed Class, and the reasonable consumer. Defendants


failed to exercise reasonable care in communicating these misrepresentations and Plaintiff and the


Proposed Class were damaged as a proximate cause thereof. Importantly, Defendants benefitted


monetarily as a result of these misrepresentations.




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 15 0(28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 28 of 135 PageID #: 39




          39.        A fiduciary duty, created by law and/or contract, existed between Plaintiff and the


Proposed Class and Defendants at the time of campus closures.               Defendants breached their


fiduciary duty by their actions set forth herein and Plaintiff and the Proposed Class were injured


as a result. Defendants benefitted from their breach by collecting the tuition of Plaintiff and the

Proposed Class, then refusing to pay it back, and closing down all campuses to save overhead


expenses.



         40.         Defendants committed several      violations under the Texas     Deceptive Trade


Practices-Consumer Protection Act (“DTP A”). At all material times, Plaintiff and the Proposed


Class constitute “consumers” as defined in Tex. Bus. & Com. Code § 17.46(A)(4).              Defendants


knowingly and intentionally committed these DTPA violations.               As a result of Defendants’


noncompliance with the DTPA, Plaintiff and the Proposed Class are entitled to economic damages,


which include the amount of the benefits wrongly withheld.            For knowing conduct violations,


Plaintiff and the Proposed Class ask for three times their economic damages.            For intentional


conduct violations, Plaintiff and the Proposed Class are entitled to their economic damages, and


Plaintiffs ask for three times their amount of economic damages. Plaintiff and the Proposed Class


are also entitled to court costs and attorney’s fees. Tex. Bus. & Com. Code Ann. § 1 7 . 50(b )( 1 ).


         41.         Defendants constitute as an “enterprise” under the Federal “RICO” Act and


engaged in a pattern of racketeering activities through wires, radio, television promotions, internet


marketing, and U.S. mail causing damage and injury to Plaintiff and the Proposed Class.


Defendants violated Title 18 U.S.C. Section 1962(a) by receiving money directly and indirectly


from a pattern of racketeering activity and used or invested, directly or indirectly, a part of such


income or the proceeds of such income, in acquisition of an interest in, or the establishment or


operation of, an enterprise which is engaged in, or the activities of which affect, interstate or



  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                                16 of 28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 29 of 135 PageID #: 40




foreign commerce.            As a proximate and direct result of Defendants’ wrongful acts and conduct,


Plaintiff and the Proposed Class have sustained damages. Plaintiff and the Proposed Class


defrauded by Defendants’ scheme and fraud are entitled to treble damages, costs of suit, and


reasonable attorneys’ fees pursuant to Title 18 U.S.C., Section 1964(c).

         42.         As a result of the conduct set forth herein, Defendants have been, and will continue


to be unjustly enriched at the expense of Plaintiff and the Proposed Class.

                                       FIRST GROUP OF CAUSES OF ACTION
  (Breach of Contract including the Breach of Expressed Terms and the Implied Terms -
                          Breach of the Covenant of Good Faith and Fair Dealing)


         43.         Paragraphs 1 through 42 are incorporated by reference.


         44.         Contracts existed between Plaintiff and the Proposed Class and Defendants.


Plaintiff and the Proposed Class entered into agreements with Vista College for various programs


and/or courses.


         45.         Under each contract, Plaintiff and the Proposed Class were required to pay the


amount of each program and/or course referenced in each contract.             Plaintiff and the Proposed


Class’s contracts were in full force and effect at the time Defendants closed down their campuses.


         46.         All conditions precedent to Defendants’ obligation were satisfied.


         47.         Defendants breached the terms of their contracts with Plaintiff and the Proposed


Class by failing to provide them with the promised products and services as contracted. Moreover,


Defendants’ failure to provide adequate refunds constitute as a breach.


         48.         Plaintiff and the Proposed Class have sustained actual damages as the result of


Defendants’ breach of contract.


         49.         In misrepresenting through its representations that Vista College would remain


open through Plaintiff and the Proposed Class’s scheduled curriculum, and in abruptly closing



  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 17 of 28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 30 of 135 PageID #: 41




down all of its’ campuses without ensuring a smooth transition of credits or courses to other


schools, Defendants breached and failed to honor its implied covenant of good faith and fair


dealing under Texas law.


          50.        The law implies a covenant of good faith and fair dealing in every contract.

Defendants violated this covenant of good faith and fair dealing in its contract with Plaintiff and


the Proposed Class by, inter alia, misrepresenting to Plaintiff and the Proposed Class that their

campuses would remain open (at least) through the courses currently in progress. Despite these


representations, Defendants closed down all campuses with no forewarnings.


          51.        Defendants breached their duty of good faith and fair dealing and acted in bad faith


in the following respects:


                     a.   Representing through its advertising, marketing, and other representations that


                          the campuses would not close down until (at the earliest) the completion of


                          Plaintiff and the Proposed Class’s curriculum.


                     b.   Acting in such a manner as to damage Plaintiff and the Proposed Class and/or


                          committing acts which unjusti fiably denied Plainti ff and the Proposed Class the


                          benefits to which they were entitled under the Contract.


                     c.   Failing to provide full and complete training and/or education, as stated in the


                          Contract.


                     d.   Failing to provide full reimbursement(s) for any and all tuition and costs to


                          Plaintiff and the Proposed Class after abruptly closing down all campuses.


                     e.   Failing to provide adequate notice to Plaintiff and the Proposed Class that all


                          campuses would be closed down.




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS

                 &"^Page18ol28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 31 of 135 PageID #: 42




                     f.   Failing to attempt in good faith to compromise Plaintiff and the Proposed Class

                          for their lost money and/or time towards their program(s).


                     g.   Failing to ensure a smooth transition of Plaintiffs and the Proposed Class’


                          credits or courses to other institutions.

          52.        Defendants’ bad-faith denial of Plaintiff and the Proposed Class’s training and/or


education was done as part of Defendants’ business practices. Defendants’ wrongful conduct was


authorized and ratified by its management and was done with disregard of Plaintiff and the


Proposed Class’s rights.               Such conduct was done to take advantage of the financially weaker or


vulnerable position of Plaintiff and the Proposed Class and constitutes a pattern or practice of


misconduct through trickery or deceit to deny Plaintiff and the Proposed Class the benefit of their


training and/or education.


          53.        Plaintiff and the Proposed Class performed all, or substantially all, of the significant


duties required under their agreements with Defendants.

          54.        Defendants did not provide and/or unfairly interfered with the rights of Plaintiff


and the Proposed Class to receive the benefits under their agreements with Defendants.

          55.        Defendants acted with oppression, fraud and malice, including with conscious and


willful disregard of the rights of Plaintiff and the Proposed Class and to their harm and detriment.


Plaintiff and the Proposed Class are accordingly entitled to recovery of exemplary and punitive


damages.


                                  SECOND GROUP OF CAUSES OF ACTION
         (Fraud, Misrepresentation Deceit, Quantum Meruit, and Promissory Estoppel)


          56.        Paragraphs 1 through 55 are incorporated by reference.


          57.        Defendants intentionally, through advertisements, documents, oral statements, and


promotion, lead Plaintiff and the Proposed Class to believe that they would be able to complete

  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                                19 of 28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 32 of 135 PageID #: 43




their programs, receive their diploma, degrees and/or certificates, and obtain employment as a


result.    Defendants told Plaintiff and the Proposed Class that their campuses would be open, at


least, through the completion of the paid-for programs and/or courses. These representations were


material and, of course, false.

           58.       Plaintiff and the Proposed Class relied on those representations.      Moreover,


Defendants intended for Plaintiff and the Proposed Class to rely on those representations in order

to ‘dupe’ them into purchasing their programs and/or courses before closing down all operations.


           59.       Plaintiff and the Proposed Class were injured as a result of those false and


misleading representations.


           60.       Defendants knowingly and intentionally denied Plaintiff and the Proposed Class


their programs, diplomas, degrees and/or certificates, and employment when Defendants closed


down all of its campuses the same week the Federal Trade Commission placed them on their “List


of October 2021 Recipients of the FTC’s Notice of Penalty Offenses in the Higher Education


Marketplace.”


           61.       Defendants’ conduct constitutes, inter alia, fraud and deceit.

           62.       For Defendants’ fraud and deceit, Plaintiff and the Proposed Class are entitled to


recovery of exemplary and punitive damages.


           63.       Through written materials and oral discussions, Defendants guaranteed their


consumers their campuses would remain open through (at least) the completion of their


curriculum.


           64.       Defendants’ misrepresentations were made in the course of the Defendants’


business.




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


          April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS

                 S»^Page20or28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 33 of 135 PageID #: 44




          65.        Defendants misrepresentations were supplied and/or conveyed for the purpose of

affecting Plaintiff and the Proposed Class’s financial decisions.


          66.        Defendants failed to exercise reasonable care and/or diligence in communicating


their misrepresentations.


          67.        Defendants’          misrepresentations   were   objectively   material   to   the reasonable


consumer, and therefore reliance upon such representations may be presumed as a matter of law.


          68.        Defendants intended that Plaintiff and the Proposed Class would rely on its


misrepresentations.


          69.        Plaintiff and the Proposed Class reasonably and justifiably relied to their detriment


on Defendants’ misrepresentations.


          70.        As a proximate result of Defendants’ misrepresentations, Plaintiff and the Proposed


Class were damaged in an amount to be proven at trial.


          71.        Plaintiff and the Proposed Class provided valuable services and/or materials to


Defendants who accepted the services and/or materials.                       Under the circumstances herein,


Defendants were notified that Plaintiff and the Proposed Class expected to be fully reimbursed

and/or provided their programs and/or courses.


          72.        Defendants made multiple promises to Plaintiff and the Proposed Class described


herein.


          73.        Plaintiff and the Proposed Class reasonably and substantially relied on the


promise(s) to their detriment.


          74.        Plaintiff and the Proposed Class and the Proposed Class’s reliance was foreseeable


by Defendants.




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 21 of 28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 34 of 135 PageID #: 45




          75.        Injustice can be avoided only by enforcing Defendants’ promise(s) to Plaintiff and

the Proposed Class.


          76.        Defendants directly benefitted from,               and were unjustly enriched by, their


misrepresentations.

          77.        All     the       foregoing   plead   and    stated   in   this    petition    constitute   fraud,


misrepresentation / deceit, quantum meruit, and promissory estoppel, for which claims are brought.


                                   THIRD GROUP OF CAUSES OF ACTION
                                   (Negligent and Intentional Misrepresentation)


          78.        Paragraphs 1 through 77 are incorporated by reference.


          79.        Through written materials and oral discussions, Defendants represented, in part,


they were remaining open long enough for Plaintiff and the Proposed Class to complete their


program and/or course and there would be no significant change to their educational experience.


          80.        Defendants’ misrepresentations were made in the course of the Defendants’


business.


          81.        Defendants’ misrepresentations were supplied and/or conveyed for the purpose of

affecting Plaintiff and the Proposed Class’s financial decisions.


          82.        Defendants failed to exercise reasonable care and/or diligence in communicating


their misrepresentations, and/or made them intentionally.


          83.        Defendants’         misrepresentations      were   objectively    material    to   the reasonable


consumer, and therefore reliance upon such representations may be presumed as a matter of law.


          84.        Defendants intended that Plaintiff and the Proposed Class would rely on their


misrepresentations.


          85.        Plaintiff and the Proposed Class reasonably and justifiably relied to their detriment


on Defendants’ misrepresentations.

  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS

                 S»^Page22o(28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 35 of 135 PageID #: 46




          86.        As      a    proximate     result   of   Defendants’   negligent   and/or   intentional


misrepresentations, Plaintiff and the Proposed Class were damaged in an amount to be proven at


trial.


          87.        Defendants directly benefitted from,          and were unjustly enriched by,      their

misrepresentations.


                                           FOURTH CAUSE OF ACTION
                                              (Breach of fiduciary duty)


          88.        Paragraphs 1 through 87 are incorporated by reference.


          89.        At all times relevant to this case, a fiduciary relationship created by law and/or


contract existed between Plaintiff (and the Proposed Class) and Defendants.

          90.        Defendants breached their fiduciary duties to Plaintiff and the Proposed Class when


they abruptly closed down their campuses with no warning to Plaintiff and the Proposed Class.


The students were stripped of their opportunity to complete and/or continue their programs.


          91.        Defendants’ breach resulted in injury to Plaintiff and the Proposed Class. Plaintiff


and the Proposed Class lost thousands of dollars, promised jobs, education, and their future.

          92.        Defendants’ benefitted from their breach by collecting the tuition paid for by


Plaintiff and the Proposed Class, while failing to provide the paid-for product and cutting overhead


by closing down all operations.


                                            FIFTH CAUSE OF ACTION
                                       (Violations of the Texas Deceptive Trade
                                  Practices Consumer Protection Act (“DTPA”))


          93.        Paragraphs 1 through 92 are incorporated by reference.


          94.        Defendants’ conduct constitutes multiple violations of the Texas Deceptive Trade


Practices-Consumer Protection Act (“DTP A”).                  Tex. Bus. & Com. Code §17.41-17.63.       All


violations of this chapter are made actionable by Tex. Bus. & Com. Code § 17.50(a)(1).

  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


         April 01,2022
   JAMIE SMITH , DISTRICT CLERK
    JEFFERSON COUNTY .TEXAS


                          Page 23 0(28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 36 of 135 PageID #: 47




          95.        At all material times, Plaintiff and the Proposed Class and others similarly situated in

Texas, were “consumers” as defined in Tex. Bus. & Com. Code §17.45(4).


          96.        Defendants’ failure to disclose information concerning goods or services, as described


above, which was known at the time of the transaction, and which was intended to induce Plaintiff

and the Proposed Class into a transaction into which Plaintiff and the Proposed Class would not


have entered had the information been disclosed, constitutes a false, misleading, or deceptive act and

practice. Tex. Bus. & Com. Code § 17.46(b)(2).


          97.        Defendants’ misrepresentations and omissions, as described above, caused confusion


or misunderstanding as to the source, sponsorship, approval, or certification of goods or services,


constitutes a false, misleading, or deceptive act and practice. Tex. Bus. & Com. Code § 1 7.46(b)(7).


          98.        Defendants’ advertising goods or services with intent not to sell them as advertised,


constitutes as a false, misleading, or deceptive act and practice.               Tex. Bus. & Com. Code


§ 17.46(b)(9).


          99.        Defendants’          misrepresentations that an agreement confers or involves rights,


remedies, or obligations which it does not have or involve, or which are prohibited by law, constitutes

as a false, misleading, or deceptive act and practice. Tex. Bus. & Com. Code § 1 7.46(b)(l 2).


          100.       Defendants’ failure to disclose information concerning goods or services, as described


above, which was known at the time of the transaction, and which was intended to induce Plaintiff


and the Proposed Class into a transaction into which Plaintiff and the Proposed Class would not


have entered had the information been disclosed, constitutes a false, misleading, or deceptive act and


practice. Tex. Bus. & Com. Code § 17.46(b)(24).




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 24 of 28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 37 of 135 PageID #: 48




          101.       As a result of Defendants’ noncompliance with the DTP A, Plaintiff and the

Proposed Class are entitled to economic damages, which include the amount of the benefits


wrongly withheld.


          102.       For knowing conduct violations, with regard to these breaches of duty, Plaintiff and


the Proposed Class ask for three times their economic damages.


          103.       For intentional conduct violations, with regard to these breaches of duty, Plaintiff


and the Proposed Class are entitled to their economic damages, and Plaintiff and the Proposed


Class ask for three times their amount of economic damages. Plaintiff and the Proposed Class are


also entitled to court costs and attorney’s fees. Tex. Bus. & Com. Code Ann. § 1 7.50(b)( 1 ).


                                          SIXTH CAUSE OF ACTION
                                             (Unjust Enrichment)


          104.       Paragraphs 1 through 103 are incorporated by reference.


          105.       A party cannot induce, accept or encourage another to furnish or render something


of value to such party and avoid payment for the value received.


          106.       As a result of the conduct described above, Defendants have been, and will continue

to be, unjust enriched at the expense of Plaintiff and the Proposed Class.


          107.       Defendants have received, and are holding, funds belonging to Plaintiff and the


Proposed Class which in equity Defendants should not be permitted to keep but should be required


to refund Plaintiff and the Proposed Class.


                                         DEMAND FOR TRIAL BY JURY


          108.       Plaintiff and the Proposed Class hereby demand trial by jury on all claims for which


the law provides a right to jury trial.




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 25 0(28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 38 of 135 PageID #: 49




                                         PRAYER FOR RELIEF


          WHEREFORE, PREMISES CONSIDERED, Plaintiff and the Proposed Class herein, on


behalf of themselves and those similarly situated, respectfully pray:


                                         Claims of Proposed Class

          a.   That the Court enter an order certifying this action as a Class Action in accordance with


               Rule 42;


          b.   That Defendants be cited to appear and answer herein;


          c.   For an order requiring Defendants to disclose to Plaintiffs counsel the name, address,


               telephone number, and school location of all persons potentially within this Class as


               described hereinabove;


          d.   For an order requiring Defendants, at Defendants’ expense, to bear the expense of the


               preparation, mailing or other means of transmittal, and all administrative costs


               associated with the provision of notice (the substance of such notice to be approved by


               the Court) to potential members of the Class as described hereinabove;


          e.   For an order awarding all relief deemed appropriate and proper by the Court pursuant


               to Texas law, and any other applicable law;


          f.   For an injunction and order requiring Defendants to immediately cease and desist from


               destroying or deleting any student or other relevant information, or making further


               misrepresentations to Plaintiff and the proposed class;


          g.   For an order awarding Plaintiffs attorneys’ fees and costs from Defendants;


          h.   For an order awarding Plaintiff and the Proposed Class general, special, compensatory,


               nominal, treble, and/or punitive damages against Defendants;


          i.   For an order awarding Plaintiff and the Proposed Class pre- and post-judgment interest;


  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 26 o(28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 39 of 135 PageID #: 50




         j-    For an order providing such further relief, including if applicable injunctive relief,


               restitution, disgorgement and return of funds collected, and all such other and


               additional relief as this Court deems proper, at law or in equity, to which Plaintiffs or


               the proposed class may justly be entitled: and

          k.   For money damages in an amount to be determined by a jury;


                                       Individual Claims of Plaintiff


          a.   For general and special damages according to proof at trial;


         b.    For general, special, nominal, and compensatory damages including, but not limited


               to, out-of-pocket expenses, contractual damages, lost wages and/or profits, travel


               and/or school-enrollment expenses, mental and emotional distress in an amount


               according to proof, and all other damages available under Texas law;


          c.   For punitive and/or treble damages to be awarded to Plaintiffs in an amount appropriate


               to punish and set an example of Defendants to deter further misconduct;


          d.   For interest on the actual damages at the legal rate from October 12, 2021;


          e.   For costs of suit and reasonable attorneys’ fees as permitted by law; and


          f.   For such other and further relief, including if applicable injunctive relief, restitution,


               return of tuition, and further relief as the Court may deem just and proper;


          g.   For an order providing such further relief, including if applicable injunctive relief,


               restitution, disgorgement and return of funds collected, and all such other and


               additional relief as this Court deems proper, at law or in equity, to which Plaintiffs or


               the proposed class may justly be entitled; and


          h.   For money damages in an amount to be determined by a jury.




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS

                 S»^Page27ot28
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 40 of 135 PageID #: 51




                                          Respectfully submitted,

                                          THE FERGUSON LAW FIRM, LLP



                                          /s/ Mark C. Sparks
                                          Mark Sparks
                                          Texas Bar No. 24000273
                                          mark@thefergusonlawfirm.com
                                          Timothy M. Ferguson
                                          Texas Bar No. 24099479
                                          tferguson@thefergusonlawfirm.com
                                          350 Pine Street, Suite 1440
                                          Beaumont, Texas 77701
                                          (409) 832-9700 Phone
                                          (409) 832-9708 Fax

                                          and:

                                          BAILEY REYES, PLLC


                                          Christopher A. Bailey
                                          Texas Bar No. 24104549
                                          c hris@ba i le yre ye s, co m
                                          Jul liana Reyes
                                          Texas Bar No. 24103899
                                          jit I ic@bai leyreyes.com
                                          2125 Calder Avenue
                                          Beaumont, Texas 77701
                                          (409) 239-0123 Phone
                                          (409) 895-2363 Fax




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 28 of 28
            Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 41 of 135 PageID #: 52




                 J CERTIFY THIS SS A TRUE COPY
                 Witness my Hand and Seal of Office


                       April 01, 2022

                  JAMIE SMITH, KSSTF'Cr CLCRK

                   JEFfgRSON COUNTY .TEXAS

                             .11




Certified Document Number: 2368159 Total Pages: 28




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk@co.jefferson.tx.us
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 42 of 135 PageID #: 53




      FIRST AMENDED
        COMPLAINT
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 43 of 135 PageID #: 54
                                                              FILED
                                                                         DISTRICT CLERK OF
                                                                         JEFFERSON CO TEXAS
                                                                         3/30/2022 8:20 AM
                                                                         JAMIE SMITH
                                                                         DISTRICT CLERK
                                         CAUSE NO. D-208582
                                                                         D-208582

 RONDA          RACCA,           INDIVIDUALLY ON   §             IN THE DISTRICT COURT OF
 BEHALF OF ALL                                     §
 SIMILARLY SITUATED PERSONS,                       §
                                                   §
            Plaintiffs,                            §
 v.                                                §
                                                   §
 EFG GENERAL PARTNER CORP.,                        §            JEFFERSON COUNTY, TEXAS
 EDUCATION FUTURES                                 §
 MANAGEMENT, COMPANY,                              §
 EDUCATION FUTURES GROUP, LLC,                     §
 COMPUTER CAREER CENTER, L.P.                      §
 D/B/A        VISTA        COLLEGE,    PROSPECT    §
 PARTNERS, LLC, JIM TOLBERT,                       §
 MICHAEL MCINERNEY, AND LOUIS                      §
 KENTER,                                           §
                                                   §
            Defendants.                            §               136TH JUDICIAL DISTRICT



                   PLAINTIFF’S FIRST AMENDED CLASS ACTION PETITION


TO THE HONORABLE JUDGE BAYLOR WORTHAM:


           COMES NOW Plaintiff, RONDA RACCA, individually and on behalf of all similarly


situated persons (as defined in the Class below), complaining of the Defendants EFG GENERAL


PARTNER CORP, (hereinafter “EFG General”), EDUCATION FUTURES GROUP, LLC


(hereinafter “EFG’’), EDUCATION FUTURES MANAGEMENT, COMPANY (hereinafter


“EFM”), COMPUTER CAREER CENTER, L.P. D/B/A VISTA COLLEGE (hereinafter


“CCC”), PROSPECT PARTNERS, LLC (hereinafter “Prospect”), JIM TOLBERT (hereinafter


“Tolbert”), MICHAEL MCINERNEY (hereinafter “McInerney”), AND LOUIS RENTER


(hereinafter “Kenter”) (all defendants when referred to collectively hereinafter are called


“Defendants”), and in support thereof would respectfully show unto this Honorable Court the


following:




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


          April 01,2022
  JAMIE SMITH , DISTRICT CLERK
      JEFFERSON COUNTY .TEXAS


                          Page1of29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 44 of 135 PageID #: 55




                                                PARTIES


          1.         Representative Plaintiff RONDA RACCA is a resident of Beaumont, Jefferson


County, Texas; thus, Plaintiff RONDA RACCA is a Texas citizen. At the time of closure, Plaintiff


RONDA RACCA was an enrolled student in the cosmetology program at the Vista College


located 3871 Stagg Drive, Suite 194, Beaumont, Texas 77701.          Plaintiff RONDA RACCA was


five months away from graduation when her campus closed. Plaintiff RONDA RACCA’s tuition

was roughly $15,000 and took out student loans to aid paying said tuition.         Plaintiff RONDA

RACCA paid at least $ 1 0,000 in school supplies and textbooks and drove roughly sixty (60) miles


to class per day for five (5) days per week.


          2.         Defendant CCC is a corporation organized and existing under the laws of Delaware


with a principal place of business in Richardson, Texas. CCC is deemed a Texas citizen and


essentially at home in Texas. At all relevant times, CCC was a company that provided educational


services throughout Texas. CCC may be served with citation by serving its registered agent, C T


CORPORATION SYSTEM at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.


          3.         Defendant EFG is a corporation organized and existing under the laws of Delaware


with a principal place of business in Dallas, Texas. EFG is deemed a Texas citizen and essentially


at home in Texas. Al all relevant times, EFG was a company that provided educational services


throughout Texas. EFG may be served with citation at their principal place of business, 300 N


Coit Road, Suite 1400, Richardson, Texas 75080-5459.


         4.          Defendant EFG General is a corporation organized and existing under the laws of


Delaware with a principal place of business in Dallas, Texas.       EFG General is deemed a Texas


citizen and essentially at home in Texas. At all relevant times, EFG General was a company that


provided educational services throughout Texas. EFG General may be served with citation by


  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS

                 S-^Page2of29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 45 of 135 PageID #: 56




serving its registered agent, C T CORPORATION SYSTEM at 1999 Bryan Street, Suite 900,


Dallas, Texas 75201.


          5.         Defendant EFM is a corporation organized and existing under the laws of Delaware


with a principal place of business in Richardson, Texas.                    EFM is deemed a Texas citizen and


essentially at home in Texas. At all relevant times, EFM was a company that provided educational


services throughout Texas. EFM may be served with citation at their principal place of business,

300 N Coil Road, Suite 1400, Richardson, Texas 75080-5459.


          6.         Defendant PROSPECT is a private equity firm that owns Defendants EFG, EFG


General EFM, and CCC. Defendant PROSPECT operated, managed, and funded several


campuses throughout the State of Texas, including Vista College located in Beaumont, Jefferson


County, Texas.             Defendant PROSPECT is a foreign corporation, company, partnership,


proprietorship, or other entity maintaining its principle office at 200 West Madison Street, Suite


2710, Chicago, IL 60606. Defendant PROSPECT at all times material to this action, engaged in


business in Texas, as more particularly described below. Defendant PROSPECT does not have a


designated agent on whom service of citation may be made in this cause. The causes of action


asserted arose from, or are connected with, purposeful acts committed by PROSPECT in Texas


because        PROSPECT                conducted   business   in   Texas.    Claims   arising   from   Defendant


PROSPECT’S business in Texas are the basis of Plaintiffs’ cause of action. At all relevant times,


PROSPECT is a private equity company that manages, operates, and funds companies throughout


the United States with several in Texas. Accordingly, Defendant PROSPECT may be cited by


serving the Secretary of State of Texas.


          7.         Defendant TOLBERT is the Chief Executive Officer of Defendant EFG, EFG


General, EFM, and/or CCC. Defendant TOLBERT is and was a Texas citizen at all material


  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 3 of 29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 46 of 135 PageID #: 57




times and can be served with process through CCC’s registered agent, C T CORPORATION

SYSTEM at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.


          8.         Defendant MCINERNEY is the Vice President and Secretary of Defendant EFG,


EFG General, EFM, and/or CCC. Defendant MCINERNEY can be served with process through

CCC’s registered agent, C T Corporation System at 1999 Bryan Street, Suite 900, Dallas, Texas


75201.


          9.         Defendant KENTER is the Chairman of Defendant EFG, EFG General, EFM,


and/or CCC. Defendant KENTER is also a Founder of Defendant PROSPECT.                      Defendant


KENTER can be served with process through CCC’s registered agent, C T CORPORATION


SYSTEM at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.


                                         DISCOVERY CONTROL PLAN


          10.        For purposes of Rule 190.4, Plaintiffs allege that this matter is intended to be


conducted under Discovery Level 3 in accordance with Texas Rules of Civil Procedure 190.4.


                                          VENUE & JURISDICTION


          11.        The Court has jurisdiction over this cause of action because the amount in


controversy is within the jurisdictional limits of the Court.     Although the Plaintiffs realize any


ultimate recovery is up to the jury and this Honorable Court, recent “tort reform” forces


Plaintiffs—before any discovery is done and at the outset of trial        to specifically and publicly


identify a range of damages, or else Plaintiffs are denied various rights including the right to


proceed with this case and conduct discovery.         Accordingly, and pursuant to that requirement,


Plaintiffs plead they are seeking monetary relief over $1,000,000. Plaintiffs reserve the right to


amend their petition during and/or after the discovery process.




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 4 of 29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 47 of 135 PageID #: 58




          12.        There is a lack of diversity among the parties since Plaintiffs and Defendants

TOLBERT, EFG, EFG General EFM, and CCC are citizens of the State of Texas.                   As such,


removal of this action to federal court is perse improper. Moreover, this is a putative class action


in which— (I) greater than two-thirds of the members of all proposed plaintiff classes in the


aggregate are citizens of the State in which the action was originally Tiled (Texas); (II) at least one


defendant (specifically, TOLBERT, EFG, EFG General , EFM, and/or CCC) is a defendant—(aa)


from whom significant relief is sought by members of the plaintiff class; (bb) whose alleged


conduct forms a significant basis for the claims asserted by the proposed plaintiff class; and (cc)


who is a citizen of the State in which the action was originally filed; and (III) principal injuries


resulting from the alleged conduct or any related conduct of each defendant were incurred in the


State in which the action was originally filed (Texas). Accordingly, removal jurisdiction under


the so-called “Class Action Fairness Act” (“CAFA”) is improper because, inter alia, the local


controversy exception under 28 U.S.C. § 1332(d)(4)(A) prohibits removal.          Of course, Plaintiff


contends none of CAFA’s requirements are met so the exception is not even required, but


nonetheless plead CAFA’s local controversy exception bars removal.           Defendants TOLBERT,


EFG, EFG General, EFM, and/or CCC are essentially at home in the State of Texas. The assertion


of Texas court jurisdiction over these Defendants does not offend the notion of fair play and


substantial justice, and Defendants maintained systematic and continuous contacts with the State


of Texas, entered into contracts / entered into transactions for business and/or property in the State


of Texas, owned assets and/or property in the State of Texas, purposefully directed their activities


here in Texas, purposefully availed themselves of the laws of the State of Texas, and Texas courts


may properly assert both specific and general jurisdiction over all Defendants.




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS

                 S-^Page5of29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 48 of 135 PageID #: 59




          13.        Venue is proper in Jefferson County, Texas, pursuant to Section 15.002 of the

Texas Civil Practice and Remedies Code in that the cause of action accrued in Jefferson


County, Texas. Venue is proper in Jefferson County, Texas, because the incident giving rise to this


suit occurred in Jefferson County, Texas. At all times relevant to this case, Defendants had an

agent or transacted business in the State of Texas, including Jefferson County, Texas. This Court


has personal jurisdiction over Defendants because at all relevant times, they conducted (and

continue to conduct) business in Jefferson County, Texas. The cause of action asserted arose from


or is substantially connected with purposeful acts committed by the Defendants in Texas because


Defendants executed their contracts and conducted business within the State of Texas. The


Defendants’ negligence while conducting their business within the State of Texas is the basis of


the Representative Plaintiffs cause of action.


                                         DEFINITION OF CLASS


          14.         The Proposed Class Members (hereinafter referred to as the “Class” and/or “Class


Members”) include a class of “Students” who agreed to pay money - out of pocket or through


loans     to Defendants in return for an education who were denied their education due to campus


closure. This class is further defined as follows:


          All students of any Vista College located in Texas who were enrolled at the time Vista


          College closed on or about October 8, 2021.



          15.        Exclusions from the Class: The following persons and entities are expressly

excluded from the Class (1) Defendants, their affiliates, subsidiaries, agents, representatives, and

all other persons acting in concert with it, or under its control, whether directly or indirectly,

including any attorney; (2) persons or entities who make a timely election to be excluded from

either proposed class; (3) governmental entities; and (4) the Court to which this case is assigned,

the judicial officer(s) who preside over this Court, and all personnel of the Court.

  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 6 of 29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 49 of 135 PageID #: 60




                                           CLASS ACTION ALLEGATIONS


          16.        Pursuant to Tex. R. Civ. P. 42, Plaintiff brings this action as a class action on behalf


of herself and all members of the Class of similarly situated persons. Included in the class are


students who suffered monetary and non-monetary damages as a result of abrupt, unexcused

campus closures that occurred on, or about, October 8, 2021. Certification is appropriate under


Tex. R. Civ. P. 42.


          17.       42(a)(l ) - On information and belief, the proposed Class consists of more than three


thousand students who attended Vista Colleges in the State of Texas, the joinder of which in one


action is impracticable. The precise number and identities of the Class Members are currently


unknown to Plaintiff but can be easily derived through discovery and/or Defendants’ rosters.


          18.       42(a)(2) - Defendants violated the rights and interests of each Class Member in the


same     manner-       to     wit,     Defendants’   employees,   agents and   servants   breached enrollment


agreements, failed to properly manage campuses, failed to reasonably maintain and utilize


adequate finances, failed to provide their end of the bargain, made misrepresentations to lure


student enrollment, made misrepresentations to maintain enrollment, failed to properly teach out


their students, committed negligent undertaking, violated the Texas Deceptive Trade Practices-


Consumer Protection Act (“DTP A”), misused funds, and committed other acts and/or omissions


among many other uniform wrongful actions described below.


          19.        Common questions of law and fact predominate over any questions affecting


individual Class Members including:


          •     whether Defendants’ wrongful actions described below constitute (1) negligence; (2)
                gross negligence; (3) negligent misrepresentations; (4) breach of contract; (5) negligent
                undertaking; and (6) violations of the Texas Deceptive Trade Practices-Consumer
                Protection Act (“DTPA”);
          •     w'hether Defendants’ wrongful actions described below directly or proximately caused
                Plaintiffs and Class Members to suffer damages; and

  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                            Page 7 of 29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 50 of 135 PageID #: 61




          •     w-hether Plaintiffs and Class Members are entitled to           recover actual damages,
                consequential damages, punitive damages, treble damages, pre-and post- judgment
                interest, attorneys’ fees, litigation expenses, and court costs, and if so, the amount of
                the recovery.

          20.       42(a)(3) - Plaintiffs claims are typical of Class Members’ claims because Plaintiff


and Class Members are all victims of Defendants’ wrongful actions described below-.


          21.       42(a)(4) - Plaintiff and her counsel will fairly and adequately represent the interests


of Class Members. Plaintiff has no interests antagonistic to, or in conflict with, those of any of the


Class Members. Plaintiffs counsel is experienced in leading and prosecuting class actions and

complex litigation. A class action is superior to all other available methods for fairly and efficiently


adjudicating Plaintiffs and Class Members’ claims.


          22.       42(b)( 1 ) - Plaintiff and Class Members have been harmed as a direct and proximate


result of Defendants’ wrongful actions described below. The above-described common questions


of law or fact predominate over any questions affecting individual Class Members and a class


action is superior to other available methods for the fair and efficient adjudication of this


controversy. Litigating this case as a class action is appropriate because (i) it will avoid a


multiplicity of suits and the corresponding burden on the courts and Parties, (ii) it will be virtually


impossible for all Class Members to intervene as parties-plaintiff in this action, (iii) it will allow-


numerous persons with claims too small to adjudicate on an individual basis because of prohibitive

litigation costs to obtain redress for their injuries, and (iv) it will provide court oversight of the


claims process once Defendants’ liability is adjudicated.


          23.        As set forth herein, Plaintiff has met the prerequisites of Rule 42 and believe that a


class action is maintainable in accordance therewith.




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 8 of 29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 51 of 135 PageID #: 62




                                        NATURE OF THE CASE


          24.        The Representative Plaintiff brings this class action on behalf of herself, and all


similarly situated persons who were enrolled at Texas-based Vista College when the campuses


abruptly closed on or about October 8, 2021. The gravamen of the complaint is that Defendants

induced student enrollment, lied or misrepresented material facts to their students, failed to provide


educational services despite contractual obligations, and failed to provide tuition refunds per their

contracts.


          25.        The Representative Plaintiff, on behalf of herself and the Class members, seeks


damages for failing to receive the benefit of the bargain with respect to the contracts in place.


          26.        The Representative Plaintiff, on behalf of herself and the Class members, wishes to


protect his individual claims and cause of action in the alternative to the class action complaint to


adhere to the statute of limitations.


                                             BACKGROUND


    A.    What is Vista College?


          27.        Defendants EFG, EFG General, EFM, and/or CCC own and operate seven (7)


Vista College ‘ground campuses’ with one (1) in Fort Smith, Arkansas, one (1) in Las Cruces,


New Mexico, and five (5) in Texas: Beaumont, El Paso, College Station, Killeen, and Longview.


This putative class action is only sought for Texas citizens involving the Texas-based Vista


College campuses.


          28.        According to Vista College’s 2021 catalog, Vista College’s mission is “to provide


high quality, specialized career preparation or enhancement. Vista College recognizes this is an


era of accelerated changes and accepts the responsibility’ to aid its studen ts in preparation for


these changes by providing quality education and career guidance relative to the demands of an



  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


         April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS

                 S-^Page9of29
          Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 52 of 135 PageID #: 63




            evolving workplace.'"                       Vista College provided students with dozens of diplomas, license,

            certificates, and/or degree programs throughout their campuses. The courses, tuition, and fees vary


            depending on the campus, course title, number of hours, term, and other factors. The following


            tables illustrate various courses, tuitions rates, and expenses:

                                                                                                                                                                                ::S3
                                                                                                                  tn           W,W i                                             WWi :

                                                                                                                               w.i«        *    sm      N'A.    USSJ             S19.WJ                i


                                                                                                                                          T '^ /        Pi A                     539, ?»C i
                                                                                                                                                                ‘vw’    '; urisi"'
                                                                                                                                                        4W      UM
                                                                                                                                                                       J t,tt,i j
                                                                                                                                                                            I    IH.««                 j

                                           H^jiA7wK^e‘~
                                                                                                                               mm          i    vw      HA                  i MS.SOO

                                                                                                 - 75                          jts-bo      j            HA      U0»

                                                                             !k"~'      town :                    lit          S4sM !           $3^                         i M3.AiS I
                                                                                    .




                                                                                                                              _J
                                                                                                 • ifL            Hi                                    N-A                 I    J41.4 It
                                           liMt&ik-           • •••        ; ,
                                                                                                                  fl4          «           J                    S'®         j misk <

                                       ~Sg~"~~~                                                                   9*                            5159    H'A     S108   "t”Ko.we~
                                           ’•ASH
                                                                                                                  na                                            **»


                                                                                                - 46-             5?                            $2%     HA      $*!»              5X1500 •

                                                                                        C-jpfcwa 4ft              •»' .        SJX»O       S    S.'®    NfA                      531500

                                                                                                                                                S.’S*                            w.m                   '

                                                                                                              33                                W "'    %                        i:: too '
                                                                                                                  <           V5rw"~ Ti^r”              fm                       13^*33"' ;

                                       I                                  4 */•
                                                                                                                  *5                            52M>            use              524. IM j
                                       I £fflr*A<K4fiij^ <4*VA<' i
                                                                                                                                                                                ......   .-..   ....   ;



                                           krSiraasxw.                       (l'>
                                                                                                                                                tm

                                                                                                                  1?           SMX»        :    iM      JS®     StOO             SSI .STS I
                                           l&o-iwc*
                                           'i^ft'3^’w<i'4s-r^ ~
                                           Aw»®w»                                       '&&*** w                               s».m 1                                            SltSiO I
                                                                                                                                                                        1—J
                                                                                        t>p4ww»*-"*S              S®                            5W      N-A     U£»         ;    125.508 ?

                                                    .^y^itr>£ If.'mtie'ir
                                           f0w<4t*cr3
                                                                                        £5^»*       *‘f           *                        *    «w      HA
                                                                                                                                                                W                S2S_5C8 !
                                                                                                    <5             3S          5, './>.         SM      H'A     5’00             5J15&0                :



                                           S^eafce’i'i-trtz'«&
                                                                                        >;o-^       »'             7*                      I            H.‘A    0»               5:5.508

                                                j; ir-v jr »•/< '             4
                                                                                                                  85                                    M.A     UM          i 524 S<?0 j

                                                                                                                   «'          «**»        ;    *8®     SA      »f®              M4.5O0 j

                                                       TfdWo-x*e
                                                                                                                  W                             »»      HA                       «>» SOO
                                                                      -

                                           ’^a?w1K7^ech*'*P3«
                                                                                        sytMroft                  «            iu.ia       i    «w
                                                                                                                                                14 »            SI®              tM.508                '

                                                                                                                  >, ~i                                 .HA     51%                                    !
                                       | VocattosiC AJ-lrw                              cwm . » ~ ~s~'T' »w                                             'nT                      sscisfi 1

                                                                                                                                          A _ T"'^                     J.

                                                                                                                  ISOi         msw         ;    »S0     SI.W.   S»«»             515,008 j

                                           <=w»®foe BMdwwS                                                        ijo>    ;    SAW         j    S!59
                                                                                                                                                v»      *S5W    SI®
                                                                                                                                                                S'®              SJl.l®


                                                                                                                                          .J/
                                                                                         .      z         .   Z^^


                                                   A^fe ? etnwg                                                                            1    MA              SA                   »!»
                                                          fa $•!&»?!:*?
                                                                                                              i               JSOS         : m          HA      H-A                  JSW!
                                                                                                                                                                                                           I




            1 This chart is from Vista College’s 2021 Texas Student Catalog.
X^PFFEoX.     1 CERTIFY THIS IS A TRUE COPY
/   ,rf       Witness my Hand and Seal of Office


KM                  April 01, 2022
              JAMIE SMITH , DISTRICT CLERK
               JEFFERSON COUNTY .TEXAS


                                      Page 10 of 29
                  Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 53 of 135 PageID #: 64




                               29.          Defendant Tolbert was the Chief Executive Officer of Vista College at the time of


                   closure.        Upon reason and belief, Defendant Tolbert communicated with the students - both


                   personally and/or in the Student Catalog:


                             Wdcome from the Chief Executive Officer

                             > 'to Ca&tjs          uanptoi       pastfcti.h          q            sad it      ws mum t®            s?. ®ar                 &m'£ nut
                             SacoM fs -te wsA -jl a r :s-. >W it frta.se ass/5i          U i, r-rtarscch- »»nuBgrKadom y. : be® !ai jo teitr,? flat t£i few .-skS isr «
                             Basaspd snf Mjpy /usee !.r« dieted. Uh                      laOuA fes&ajSstaW;nrKiMrsis & esp&tjiratesn, TcAry it & ln^&thua
                             list r<e-. twri-e*. be stff-re&esi. Oarjmssfc ssd wtesui' esensmla- demand a Sow- ;kk jasuK m&U ntas » assarc Otrww^e.? t«
                             fwaes          Si:® ,T.- carp ai                jaiam? Tbere areArte stotflt tact -eii-sih netted tedsin wsi an •i”’a. ta a» yqasniiy
                             sspswgji M£»at immi dM.wft’SStaf                si

                             Tn n»s               ttjw io              in perdue Warsaw fe txayxe wax Kan vtthyw ‘a&emsU Ifv.ia s-t iv.ereK.cd i» nweed^w
                             »2®jw iafrtgdSdBta Way and                    K ta«mw> OweysaW trvre yew ttw«W mjwj ss                             Its Sn^wteK inembes
                             xmmdjarAsmviM fe srMjBii wrtreiBM. Fl&aiX cxpfevr Spots® p.'WWMi ta &e ftidyaa                                  and bem tiwlUd vM wfi
                             yoar aw.Zu't»>a.               sw ieitd v»tcn br»ern teatned de- wt '*w is                  Sm woe! «                   c*,

                                 «.”« ‘.traiiscri sj Xif bwfj »3ni tS&tash,                 prei^rty          mastiiai -irrfss awt efiie rersjss®              e-pifii’m. Sv
                             ’eiergKi^yAe'iSGi k .ettt^eyeia                       lea&rre tasn
                             need is jx-ste’e ^eneiin w.&ni’y si-Sd t) y^e arc ‘c cifKbcte: is :fce«a!^Ei -. tejinjjc-t1 mritei, gainer. • and ks&ii<y livn« be-.sstse ef
                                               Kayou              ia               tc s^tff'cvA ef -wn&i

                             '- V.U Cr’ligey eMei itaaf’tK vtt't dx i<w.j-Mty ie iea/ x hssisimai cj^ssrs in t« orvai -?f wdSr'se. eai'ci. avl tor'm, !
                             ihsfifsgf yw io be i% tei raaH-sa tas b« X'ai tsij                        t isis CsBsge. ba: ais -««s. .® mer     Kb Kar te as a ^nsfcs

                             ,M VisM Ce&®. Eia&ntj a«e in a tmirxee ssmBHih- Oar                        u sas et&.d        i? sb ixicers^i. w itesiKHS of ssr ssfe-ci &ar<-
                             iisto- b® A&Mtad sw4’. nMv-ant!. ’V?w(H treal yea wii>. leg rrswt; aM d&gni!K y              ae-sen-f, i>argeui is sohmW r<er; staj&E be yrcM
                             i; be s pa'! cp W C&^. Oar iwar^s *6                         yeas tssjflip&tems snsi r.ufa sb's Hxd fremi yw afeseiK-rt,         e vani is be
                             ysKir eda. ssons; ;-tred_ . Zewr&er, y     are ifte

                             .7ysa£SBas^ysa?|ciUffl.--!^^i^^«iu*>?i4»twW'XMfis«aHKg-^>uj^^.ife-&cy^£s&Wc:?!!jcatii;iw;asii.3?:sg^r


                             AU WOSHAT1ON CONTAINED IN THIS SPJDENT CATA1GC f$ TRUE AND CORRECT TO THE BEST OF
                             HY KNOWLEDGE




                                         ei

                             jim Totem
                             CM Exeottwe Office-                                                                                                                               2




                   Tolbert made additional representations (indirectly or directly) to the students, through direct or


                   school communications, about students graduating and receiving the services for which Plaintiff


                   and others paid but did not receive.




                   2 (emphasis added). Id.
  /-^PFFEoX.          1 CERTIFY THIS IS A TRUE COPY
/ qJc .?               Witness my Hand and Seal of Office

                             April 01 , 2022
V--\                   JAMIE SMITH, DISTRICT CLERK
               .'jS/    JEFFERSON COUNTY .TEXAS
           ,' g^/                                 Page 110(29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 54 of 135 PageID #: 65




          30.       Defendants KENTER and MCINERNEY are listed in the Texas Vista College

Catalog as Board of Directors and Corporate Officers:

                            COLLEGE GOVERNANCE

                            Vista College and its subsidiaries are owned by Education Futures Management. Co.

                            SOARD OF DIRECTORS
                            Mr. Jim Tolbert
                            Chief Executive Officer

                            Mr. Louis Kenter

                            Chairman

                            Mr. Michael P. McInerney
                            Vtce President and Secretary


                            CORPORATE OFFICERS
                            Mr. Louis Kenter                                            Mr. Jim Tolbert
                            Chairman                                                    Chief Executive Officer

                            Mr. Timothy Armstrong                                       Mr. Michael P. McInerney
                            Vice President of Operations                                Vice President and Secretary

                            Andrew Gray

                            Chief Financial Officer and Assistant Secretary




Thus, Defendants KENTER and MCINERNEY were directly - and individually                                                   involved with


both Prospect Partners and the school entities.


          b. The Closure of Vista College


          31.        In August 2021, Defendants announced its plans to stop enrollment of new students


  the decision to transition to ‘online only’ was made, in part, because of inadequate finances,


student population decline, changing regulations, and mismanagement.                                               As a result of this


‘fundamental shift’, Defendants’ executives perpetrated an email message to its students that - in


part - provided: “ WY will continue to offer the courses you need to graduate from your programs,


including students who started their programs in August 202 1 .. . Most students in good academic


standing who are currently active at the campuses will have the opportunity to complete their


programs and should not experience significant changes to their educational experience. You will


continue to receive quality academic programs academic, financial aid, student services and


career placement support.'"               Upon information and belief, all Defendants—including Tolbert-


approved and/or participated in these communications.


  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 12 of 29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 55 of 135 PageID #: 66




           32.       Also, in August 2021, Defendant Tolbert held a Zoom meeting with faculty

members at each campus.                   In said meeting, Defendant Tolbert informed the majority of faculty


members that they were furloughed effective immediately. Despite knowing their schools were in


clear and present danger of ceasing operation. Defendant Tolbert doubled down on College


Station’s local news station, KBTX, by stating, “the reason we did that [suspended in-person


enrollment for ground campuses] is to make sure we had all the financial resources at our disposal


to make sure the students currently enrolled in school get exactly what the paid for.”3 That, of

course, did not happen as Defendants shut down all campuses and programs without notice to


students on October 8, 2021.                Tolbert had made yet another promise to the students that he and


Defendants failed to keep.


           33.       Class Members received the below message from Defendants drafted and/or


perpetrated by Defendant Tolbert:



                                                 Vista College Closure




                                                      i*» <««««         p« it#* » eW «
                                                                        Mil,
                                              r. w            a^t       acwwAMirrnM
                                              "SXt /wsww                we ift mask* «B

                                              WtfeW a.B {a Ww^tsrwnstosrs®


                                              ft v            ft- ihs

                                                     <w fwm      Gt. f liftw contig


                                              m                         w         to
                                              WWs                fee             to




3 See https://www.kbtx.coin/2021/08/10/vista-college-suspends-in-person-enrollment-furloughs-employees-across-
texjis/
   [certify this is a true copy
  Witness my Hand and Seal of Office


          April 01,2022
   JAMIE SMITH , DISTRICT CLERK
    JEFFERSON COUNTY .TEXAS


                          Page 13 or 29
           Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 56 of 135 PageID #: 67




             Defendants’ decision to abruptly close their campuses down betrayed thousands of students and

             teachers. Students were stripped of their opportunity to complete their programs. These students


             paid thousands of dollars towards their programs and/or took out student loans and remain in debt.


             Thus, many of these students still owe money to their loan servicer(s) despite losing the

             opportunity to obtain their degree, certificate, and/or diploma. Teachers unexpectedly lost their


             employment.


                         34.       The same week as campus closures, The Federal Trade Commission placed Vista


             College, along with dozens of other for-profit schools, on their “List of October 2021 Recipients


             of the FTC’s Notice of Penalty Offenses in the Higher Education Marketplace.” The Commission


             stated in a press release, “The Federal Trade Commission put 70 for-profit higher education


             institutions on notice that the agency is cracking down on any false promises they make about their


             graduates’ job and earnings prospects and other outcomes and will hit violators with significant


             financial penalties.”4 The FTC Chair stated in said press release, ““For too long, unscrupulous

             for-profit schools have preyed on students with impunity, facing no penalties when they defraud


             their students and drive them into debt,” said FTC Chair Lina M. Khan. “The FTC is resurrecting


             a dormant authority to deter wrongdoing and hold accountable bad actors who abuse students and


             taxpayers.””5

                               BRIEF SUMMARY OF THE CLAIMS AND REMEDIES SOUGHT


                         35.       Defendants’ denial and refusal to remain open long enough for Plaintiff and the


             Proposed Class to complete their program and/or course constitutes a breach of contract because


             Defendants, through the contract with Plaintiff and the Proposed Class, were contractually


             obligated to provide what was paid for.



             4 See https://www.ftc.gov/news-events/Dress-releases/2021/10/ftc-targets-false-claiins-Drofit-colleges.
             'Id.
                 1 CERTIFY THIS IS A TRUE COPY
/ qJI            Witness my Hand and Seal of Office

                       April 01 , 2022
                 JAMIE SMITH, DISTRICT CLERK

        .-•ij/    JEFFERSON COUNTY .TEXAS
                        r              ' Page 14 of 29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 57 of 135 PageID #: 68




          36.        Defendants’ denial and refusal to (1 ) remain open long enough for Plaintiff and the

Proposed Class to complete their program and/or course, and (2) refund Plaintiff and the Proposed


Class’ tuition costs constitute a breach of contract because Defendants, through the contract with


Plaintiff and the Proposed Class, were contractually obligated to provide what was paid for.

Defendants failed to honor and breached its contractual obligations to Plaintiff and the Proposed


Class, resulting in harm and damages to Plaintiff and the Proposed Class.

          37.        In refusing to (1 ) remain open long enough for Plaintiff and the Proposed Class to


complete their program and/or course, and (2) refund Plaintiff and the Proposed Class’s tuition


costs, Defendants breached the covenant of good faith and fair dealing and acted in bad faith


towards Plaintiff and the Proposed Class. Defendants’ conduct demonstrates that their denial of


tuition refund was prompted not by honest mistake, bad judgment or negligence, but rather by


conscious and deliberate conduct which unfairly frustrated the agreed common purposes and


disappointed the reasonable expectations of consumers/students such as Plaintiff and the Proposed


Class thereby depriving Plaintiff and the Proposed Class of the benefits of their course and/or


program       they purchased           in   reliance on   Defendants’   representations, advertisements,   and


marketing.


          38.        As shown. Defendants negligently and/or intentionally lead Plaintiff and the


Proposed Class to believe they would be able to complete their programs and receive their


diplomas, degrees and/or certificate before closure.               Moreover, Defendants negligently and/or


intentionally lead Plaintiff and the Proposed Class to believe if the campus closed down,


Defendants would reimburse Plaintiff and the Proposed Class for all costs.                  Plaintiff and the


Proposed Class relied on those representations and continued to pay their tuition and other


educational costs.           Defendants then knowingly and intentionally closed down all campuses,


  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                 S-^Page15<rf29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 58 of 135 PageID #: 69




denying Plaintiff and the Proposed Class their opportunity to complete their course and/or


program. Plaintiff and the Proposed Class were injured as a result of Defendants’ behavior.


          39.        Through written materials and oral communications, Defendants represented (1)


Vista College would continue to offer Plaintiff and the Proposed Class the courses needed to

graduate; (2) Plaintiff and the Proposed Class would not experience significant changes to their


educational experience; (3) Plaintiff and the Proposed Class would be able to complete their

programs before campus closures and/or graduate; (4) Plaintiff and the Proposed Class would


obtain employment as a result of course and/or program completion; (5) in the event of an early


campus closure, Defendants would reimburse Plaintiff and the Proposed Class their tuition and


costs; (6) guaranteed or promised jobs and/or job placement that never occurred and/or (7)


guaranteed or promised salary levels or ranges that never materialized; (8) failed and/or refused to


make credits transferrable and/or otherwise ensure that those courses completed or near


completion could be adequately transferred or completed at other equivalent institutions with a


accreditation; and (9) other acts and/or omissions to be stated after discovery or at the time of trial.


Defendants’ misrepresentations were made in the course of Defendants’ business and were made

with a purpose to affect the financial decisions of Plaintiff and the Proposed Class (all of whom


are “consumers” under DTP A and other Texas law).                Defendants’ misrepresentations were


objectively material to Plaintiff, and the Proposed Class, and the reasonable consumer. Defendants


failed to exercise reasonable care in communicating these misrepresentations and Plaintiff and the


Proposed Class were damaged as a proximate cause thereof. Importantly, Defendants bene fitted


monetarily as a result of these misrepresentations.


         40.         A fiduciary duty, created by law and/or contract, existed between Plaintiff and the


Proposed Class and Defendants at the time of campus closures.               Defendants breached their


  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 16 ol 29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 59 of 135 PageID #: 70




fiduciary duty by their actions set forth herein and Plaintiff and the Proposed Class were injured


as a result.     Defendants benefitted from their breach by collecting the tuition of Plaintiff and the


Proposed Class, then refusing to pay it back, and closing down all campuses to save overhead


expenses.



         41.         Defendants committed several      violations under the Texas      Deceptive Trade


Practices-Consumer Protection Act (“DTP A”). At all material times, Plaintiff and the Proposed


Class constitute “consumers” as defined in Tex. Bus. & Com. Code § 17.46(A)(4).              Defendants


knowingly and intentionally committed these DTPA violations.               As a result of Defendants’


noncompliance with the DTPA, Plaintiff and the Proposed Class are entitled to economic damages,


which include the amount of the benefits wrongly withheld.             For knowing conduct violations,


Plaintiff and the Proposed Class ask for three times their economic damages.             For intentional


conduct violations, Plaintiff and the Proposed Class are entitled to their economic damages, and


Plaintiffs ask for three times their amount of economic damages. Plaintiff and the Proposed Class


are also entitled to court costs and attorney’s fees. Tex. Bus. & Com. Code Ann. § 1 7.50(b)(1).


         42.         As a result of the conduct set forth herein, Defendants have been, and will continue


to be unjustly enriched at the expense of Plaintiff and the Proposed Class.


                                       FIRST GROUP OF CAUSES OF ACTION
  (Breach of Contract including the Breach of Expressed Terms and the Implied Terms -
                          Breach of the Covenant of Good Faith and Fair Dealing)


         43.         Paragraphs 1 through 42 are incorporated by reference.


         44.         Contracts existed between Plaintiff and the Proposed Class and Defendants.


Plaintiff and the Proposed Class entered into agreements with Vista College for various programs


and/or courses.




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 17 of 29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 60 of 135 PageID #: 71




         45.         Under each contract, Plaintiff and the Proposed Class were required to pay the


amount of each program and/or course referenced in each contract.            Plaintiff and the Proposed


Class’s contracts were in full force and effect at the time Defendants closed down their campuses.


         46.         All conditions precedent to Defendants’ obligation were satisfied.


         47.         Defendants breached the terms of their contracts with Plaintiff and the Proposed


Class by failing to provide them with the promised products and services as contracted. Moreover,

Defendants’ failure to provide adequate refunds constitute as a breach.


         48.         Plaintiff and the Proposed Class have sustained actual damages as the result of


Defendants’ breach of contract.


         49.         In misrepresenting through its representations that Vista College would remain


open through Plaintiff and the Proposed Class’s scheduled curriculum, and in abruptly closing


down all of its’ campuses without ensuring a smooth transition of credits or courses to other


schools, Defendants breached and failed to honor its implied covenant of good faith and fair


dealing under Texas law.


          50.        The law implies a covenant of good faith and fair dealing in every contract.


Defendants violated this covenant of good faith and fair dealing in its contract with Plaintiff and


the Proposed Class by, inter alia, misrepresenting to Plaintiff and the Proposed Class that their


campuses would remain open (at least) through the courses currently in progress. Despite these


representations, Defendants closed down all campuses with no forewarnings.


          51.        Defendants breached their duty of good faith and fair dealing and acted in bad faith


in the following respects:




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS

                 S-^Page18of29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 61 of 135 PageID #: 72




                     a.   Representing through its advertising, marketing, and other representations that


                          the campuses would not close down until (at the earliest) the completion of


                          Plaintiff and the Proposed Class’s curriculum.


                     b.   Acting in such a manner as to damage Plaintiff and the Proposed Class and/or

                          committing acts which unjustifiably denied Plaintiff and the Proposed Class the


                          benefits to which they were entitled under the Contract.

                     c.   Failing to provide full and complete training and/or education, as stated in the


                          Contract.


                     d.   Failing to provide full reimbursement(s) for any and all tuition and costs to


                          Plaintiff and the Proposed Class after abruptly closing down all campuses.


                     e.   Failing to provide adequate notice to Plaintiff and the Proposed Class that all


                          campuses would be closed down.


                     f.   Failing to attempt in good faith to compromise Plaintiff and the Proposed Class


                          for their lost money and/or lime towards their program(s).


                     g.   Failing to ensure a smooth transition of Plaintiff s and the Proposed Class’


                          credits or courses to other institutions.


          52.        Defendants’ bad-faith denial of Plaintiff and the Proposed Class’s training and/or


education was done as part of Defendants’ business practices. Defendants’ wrongful conduct was


authorized and ratified by its management and was done with disregard of Plaintiff and the


Proposed Class’s rights.               Such conduct was done to take advantage of the financially weaker or


vulnerable position of Plaintiff and the Proposed Class and constitutes a pattern or practice of


misconduct through trickery or deceit to deny Plaintiff and the Proposed Class the benefit of their


training and/or education.



  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 19 or 29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 62 of 135 PageID #: 73




          53.        Plaintiff and the Proposed Class performed all, or substantially all, of the significant

duties required under their agreements with Defendants.


          54.        Defendants did not provide and/or unfairly interfered with the rights of Plaintiff


and the Proposed Class to receive the benefits under their agreements with Defendants.

          55.        Defendants acted with oppression and malice, including with conscious and willful


disregard of the rights of Plaintiff and the Proposed Class and to their harm and detriment. Plaintiff

and the Proposed Class are accordingly entitled to recovery of exemplary and punitive damages.


                                  SECOND GROUP OF CAUSES OF ACTION
                                  (Negligent and Intentional Misrepresentation)


          56.        Paragraphs 1 through 55 are incorporated by reference.

          57.        Through written materials and oral discussions, Defendants - including Defendant


Tolbert - represented, in part, to Class Members the schools were remaining open long enough for


Plaintiff and the Proposed Class to complete their program and/or course and there would be no


significant change to their educational experience.              Defendants - including Defendant Tolbert -


also represented to Class Members they would be eligible to transfer “up to 75% of the credits

required to complete your degree”, which is not true. Moreover, Defendants - including Defendant


Tolbert - represented inflated, misleading, and false placement rates for Class Members’


programs.



          58.        As     stated        herein,   Defendant   Tolbert   made   the   following   additional


misrepresentations:


                     a.   Email to Class Members from August 2021: “We will continue to offer the

                          courses you need to graduate from your programs, including students who

                          started their programs in August 2021... Most students in good academic

                          standing who are currently active at the campuses will have the opportunity’ to

                          complete their programs and should not experience significant changes to their

  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                               20 of 29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 63 of 135 PageID #: 74




                          educational experience.             You    will    continue      to   receive   quality   academic

                          programs academic, financial aid, student services and career placement

                          support.'"

                    b.    August 2021 interview with College Station’s local news station: “the reason

                          we did that [suspended in-person enrollment for ground campuses] is to make

                          sure we had all the financial resources at our disposal to make sure the students

                          currently enrolled in school get exactly what the paid for.”6 Defendant Tolbert

                          effectively tells Class Members they will ‘get what they paid for’ despite

                          informing faculty members the majority of them were immediately furloughed

                          just days before.

                     c.   October 2021 closure statement:



                                              Vista College Closure




                                                                         wtti 8* stew S?
                                                    » CcSbbks
                                          *•(.            «ftbahattmttshiw
                                                                         «• i>«Sa




                                                        ran     Utn ««           tt®



                                          W«                        W aauMLtar .
                                                    rtswtwiwwtag eg
                                                    Mate                         *s»
                                                     *’                   ratartte
                                          V      CffegB WsfeSt.;
                                                    W' pwfisg             rfziiW' la
                                          ihtateit!



           59.       Defendants’ misrepresentations - including Defendant Tolbert’s - were made in


the course of the Defendants’ business.




6 See https://www.kbtx.cotn/2021/08/10/vista-college-suspends-in-person-enrollment-furloughs-employees-across-
texjis/
   [certify this is a true copy
  Witness my Hand and Seal of Office


          April 01,2022
   JAMIE SMITH , DISTRICT CLERK
    JEFFERSON COUNTY .TEXAS


                          Page 21 of 29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 64 of 135 PageID #: 75




          60.        Defendants’ misrepresentations          including Defendant Tolbert’s       were supplied


and/or conveyed for the purpose of affecting Plaintiff and the Proposed Class’s financial decisions.


          61.        Defendants           including Defendant Tolbert       failed to exercise reasonable care


and/or diligence in communicating their misrepresentations, and/or made them intentionally.


          62.        Defendants’          -   including   Defendant    Tolbert’s   -   misrepresentations   were


objectively material to the reasonable consumer, and therefore reliance upon such representations

may be presumed as a matter of law.


          63.        Defendants           including Defendant Tolbert         intended that Plaintiff and the


Proposed Class would rely on their misrepresentations.


          64.        Plaintiff and the Proposed Class reasonably and justifiably relied to their detriment


on Defendants’            including Defendant Tolbert’s - misrepresentations.


          65.        As a proximate result of Defendants’ - including Defendant Tolbert’s - negligent


and/or intentional misrepresentations, Plaintiff and the Proposed Class were damaged in an amount


to be proven at trial.


          66.        Defendants directly benefitted from,             and were unjustly enriched by, their


misrepresentations.


                                              THIRD CAUSE OF ACTION
                                               (Breach of fiduciary duty)


          67.        Paragraphs 1 through 66 are incorporated by reference.


          68.        At all times relevant to this case, a fiduciary relationship created by law and/or


contract existed between Plaintiff (and the Proposed Class) and Defendants.


          69.        Defendants breached their fiduciary duties to Plaintiff and the Proposed Class when


they abruptly closed down their campuses with no warning to Plaintiff and the Proposed Class.


The students were stripped of their opportunity to complete and/or continue their programs.

  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 22 of 29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 65 of 135 PageID #: 76




          70.        Defendants’ breach resulted in injury to Plaintiff and the Proposed Class. Plaintiff

and the Proposed Class lost thousands of dollars, promised jobs, education, and their future.


          71.        Defendants benefitted from their breach by collecting the tuition paid for by


Plaintiff and the Proposed Class, while failing to provide the paid-for product and cutting overhead

by closing down all operations.


                                           FOURTH CAUSE OF ACTION
                                       (Violations of the Texas Deceptive Trade
                                 Practices Consumer Protection Act (“DTPA”))


          72.        Paragraphs 1 through 7 1 are incorporated by reference.


          73.        Defendants’ conduct constitutes multiple violations of the Texas Deceptive Trade


Practices-Consumer Protection Act (“DTP A”).                Tex. Bus. & Com. Code §17.41-17.63.          All


violations of this chapter are made actionable by Tex. Bus. & Com. Code § 17.50(a)(1).


          74.        At all material times, Plaintiff and the Proposed Class and others similarly situated in


Texas, were “consumers’’ as defined in Tex. Bus. & Com. Code §17.45(4).


          75.        Defendants’ failure to disclose information concerning goods or services, as described


above, which was known at the time of the transaction, and which was intended to induce Plaintiff


and the Proposed Class into a transaction into which Plaintiff and the Proposed Class would not


have entered had the information been disclosed, constitutes a false, misleading, or deceptive act and


practice. Tex. Bus. & Com. Code § 17.46(b)(2).


          76.        Defendants’ misrepresentations and omissions, as described above, caused confusion


or misunderstanding as to the source, sponsorship, approval, or certification of goods or services,


constitutes a false, misleading, or deceptive act and practice. Tex. Bus. & Com. Code § 1 7.46(b)(7).




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 23 0(29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 66 of 135 PageID #: 77




          77.        Defendants’ advertising goods or services with intent not to sell them as advertised,

constitutes as a false, misleading, or deceptive act and practice.             Tex. Bus. & Com. Code


§ 17.46(b)(9).


          78.        Defendants’ misrepresentations that an agreement confers or involves rights,

remedies, or obligations which it does not have or involve, or which are prohibited by law, constitutes


as a false, misleading, or deceptive act and practice. Tex. Bus. & Com. Code § 1 7.46(b)(l 2).

          79.        Defendants’ failure to disclose information concerning goods or services, as described


above, which was known at the time of the transaction, and which was intended to induce Plaintiff


and the Proposed Class into a transaction into which Plaintiff and the Proposed Class would not


have entered had the information been disclosed, constitutes a false, misleading, or deceptive act and


practice. Tex. Bus. & Com. Code § 1 7.46(b)(24).


          80.        As a result of Defendants’ noncompliance with the DTPA, Plaintiff and the


Proposed Class are entitled to economic damages, which include the amount of the benefits


wrongly withheld.


          81.        For knowing conduct violations, with regard to these breaches of duty, Plaintiff and


the Proposed Class ask for three times their economic damages.


          82.        For intentional conduct violations, with regard to these breaches of duly, Plaintiff


and the Proposed Class are entitled to their economic damages, and Plaintiff and the Proposed


Class ask for three times their amount of economic damages. Plaintiff and the Proposed Class are


also entitled to court costs and attorney’s fees. Tex. Bus. & Com. Code Ann. § 17.50(b)(1).


                                       FIFTH GROUP OF CAUSES OF ACTION
                                   (Quantum Meruit, and Promissory Estoppel)


          83.        Paragraphs 1 through 82 are incorporated by reference.




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 24 of 29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 67 of 135 PageID #: 78




          84.        Plaintiff and the Proposed Class provided valuable services and/or materials to

Defendants who accepted the services and/or materials.               Under the circumstances herein,


Defendants were notified that Plaintiff and the Proposed Class expected to be fully reimbursed


and/or provided their programs and/or courses.


          85.        Defendants made multiple promises to Plaintiff and the Proposed Class described


herein.


          86.        Plaintiff and the Proposed Class reasonably and substantially relied on the


promise(s) to their detriment.


          87.        Plaintiff and the Proposed Class and the Proposed Class’s reliance was foreseeable


by Defendants.


          88.        Injustice can be avoided only by enforcing Defendants’ promise(s) to Plaintiff and


the Proposed Class.


          89.        Defendants directly benefitted from,     and were unjustly enriched by, their


misrepresentations.


          90.        All the foregoing plead and stated in this petition constitute quantum meruit and


promissory estoppel, for which claims are brought.


                                       SIXTH CAUSE OF ACTION
                                           (Unjust Enrichment)


          91.        Paragraphs 1 through 90 are incorporated by reference.


          92.        A party cannot induce, accept or encourage another to furnish or render something


of value to such party and avoid payment for the value received.


          93.        As a result of the conduct described above, Defendants have been, and will continue


to be, unjust enriched at the expense of Plaintiff and the Proposed Class.




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS

                 S-^Page25o(29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 68 of 135 PageID #: 79




          94.        Defendants have received, and are holding, funds belonging to Plaintiff and the

Proposed Class which in equity Defendants should not be permitted to keep but should be required


to refund Plaintiff and the Proposed Class.


                                         DEMAND FOR TRIAL BY JURY

          95.        Plaintiff and the Proposed Class hereby demand trial by jury on all claims for which


the law provides a right to jury trial.

                                            PRAYER FOR RELIEF


          WHEREFORE, PREMISES CONSIDERED, Plaintiff and the Proposed Class herein, on


behalf of themselves and those similarly situated, respectfully pray:


                                            Claims of Proposed Class


          a.    That the Court enter an order certifying this action as a Class Action in accordance with


                Rule 42;


         b.     That Defendants be cited to appear and answer herein;


          c.    For an order requiring Defendants to disclose to Plaintiffs counsel the name, address,


                telephone number, and school location of all persons potentially within this Class as


                described hereinabove;


          d.    For an order requiring Defendants, at Defendants’ expense, to bear the expense of the


                preparation, mailing or other means of transmittal, and all administrative costs


                associated with the provision of notice (the substance of such notice to be approved by


                the Court) to potential members of the Class as described hereinabove;


          e.    For an order awarding all relief deemed appropriate and proper by the Court pursuant


                to Texas law, and any other applicable law;




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 26 of »
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 69 of 135 PageID #: 80




          f.   For an injunction and order requiring Defendants to immediately cease and desist from


               destroying or deleting any student or other relevant information, or making further


               misrepresentations to Plaintiff and the proposed class;


          g-   For an order awarding Plaintiffs attorneys’ fees and costs from Defendants;


          h.   For an order awarding Plaintiff and the Proposed Class general, special, compensatory,


               nominal, treble, and/or punitive damages against Defendants;

          i.   For an order awarding Plaintiff and the Proposed Class pre- and post-judgment interest;


         j-    For an order providing such further relief, including if applicable injunctive relief,


               restitution, disgorgement and return of funds collected, and all such other and


               additional relief as this Court deems proper, at law or in equity, to which Plaintiffs or


               the proposed class may justly be entitled; and


          k.   For money damages in an amount to be determined by a jury;


                                       Individual Claims of Plaintiff


          a.   For general and special damages according to proof at trial;


         b.    For general, special, nominal, and compensatory damages including, but not limited


               to, out-of-pocket expenses, contractual damages, lost wages and/or profits, travel


               and/or school-enrollment expenses, mental and emotional distress in an amount


               according to proof, and all other damages available under Texas law;


          c.   For punitive and/or treble damages to be awarded to Plaintiffs in an amount appropriate


               to punish and set an example of Defendants to deter further misconduct;


          d.   For interest on the actual damages at the legal rate from October 12, 2021;


          e.   For costs of suit and reasonable attorneys’ fees as permitted by law; and




  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS

                 S»^Page27ot29
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 70 of 135 PageID #: 81




          f.   For such other and further relief, including if applicable injunctive relief, restitution,


               return of tuition, and further relief as the Court may deem just and proper;


          g.   For an order providing such further relief, including if applicable injunctive relief,


               restitution, disgorgement and return of funds collected, and all such other and


               additional relief as this Court deems proper, at law or in equity, to which Plaintiffs or


               the proposed class may justly be entitled; and

          h.   For money damages in an amount to be determined by a jury.




                                                  Respectfully submitted,

                                                  THE FERGUSON LAW FIRM, LLP



                                                  /s/ Mark C. Sparks
                                                  Mark Sparks
                                                  Texas Bar No. 24000273
                                                  mark@thefergusonlawfinn.com
                                                  Timothy M. Ferguson
                                                  Texas Bar No. 24099479
                                                  tferguson@thefergusonlawfirm.com
                                                  350 Pine Street, Suite 1440
                                                  Beaumont, Texas 77701
                                                  (409) 832-9700 Phone
                                                  (409) 832-9708 Fax

                                                  and:

                                                  BAILEY REYES, PLLC


                                                  Christopher A. Bailey
                                                  Texas Bar No. 24104549
                                                  chris@baileyreyes.com
                                                  Jul liana Reyes
                                                  Texas Bar No. 24103899
                                                  julie@baileyreyes.com
                                                  2125 Calder Avenue
                                                  Beaumont, Texas 77701
                                                  (409)239-0123 Phone
                                                  (409) 895-2363 Fax


                                                  ATTORNEYS FOR PLAINTIFFS
  I CERTIFY THIS IS A TRUE COPY
  Witness my Hand and Seal of Office


        April 01,2022
  JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page 28 or 29
  Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 71 of 135 PageID #: 82

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Jamie Schiesler on behalf of Timothy Ferguson
Bar No. 24099479
jschiesler@thefergusonlawfirm.com
Envelope ID: 63081064
Status as of 3/30/2022 8:28 AM CST

Associated Case Party: RONDARACCA


Name                       BarNumber         Email                               TimestampSubmitted     Status

Jamie Schiesler                              jschiesler@thefergusonlawfirm.com   3/30/2022 8:20:03 AM   SENT

Jamie Schiesler                              Jschiesler@thefergusonlawfirm.com   3/30/2022 8:20:03 AM   SENT

Timothy MFerguson                            tferguson@thefergusonlawfirm.com    3/30/2022 8:20:03 AM   SENT

Jamie Schiesler                              jschiesler@thefergusonlawfirm.com   3/30/2022 8:20:03 AM   SENT

Mark C.Sparks                                mark@thefergusonlawfirm.com         3/30/2022 8:20:03 AM   SENT

Kara Mace                                    kmace@thefergusonlawfirm.com        3/30/2022 8:20:03 AM   SENT




     I CERTIFY THIS IS A TRUE COPY
     Witness my Hand and Seal of Office


            April 01,2022
       JAMIE SMITH , DISTRICT CLERK
       JEFFERSON COUNTY .TEXAS


                             Page 29 or 29
            Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 72 of 135 PageID #: 83




                 J CERTIFY THIS SS A TRUE COPY
                 Witness my Hand and Seal of Office


                       April 01, 2022

                  JAMIE SMITH, KSSTF'Cr CLCRK

                   JEFfgRSON COUNTY .TEXAS

                             .11




Certified Document Number: 2433380 Total Pages: 29




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk@co.jefferson.tx.us
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 73 of 135 PageID #: 84




        OTHER STATE
       COURT FILINGS
        Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 74 of 135 PageID #: 85
                                                                                            *00208582—00007*
                                                                                                                          C0208582—00007
CITATION

                                                     THE STATE OF TEXAS

         No. D-0208582

                  RONDA RACCA INDIVIDU
         VS. EFG GENERAL PARTNER CORP ET AL
                                                              CITATION

                                              136th JUDICIAL DISTRICT COURT
                                                  of JEFFERSON COUNTY, TEXAS

To:    MCINERNEY, MICHAEL
       BY SERVING ITS REGISTERED AGENT
       CT CORPORATION SYSTEM

by serving at:
1999 BRYAN STREET
SUITE 900
DALLAS, TX            75201                                                                                              DEFENDANT:



NOTICE:

         You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who
issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were served this citation and
petition, a default judgment may be taken against you. In addition to filing a written answer with the clerk, you may be required to
make initial disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after you file
your answer with the clerk. Find out more at TexasLawHelp.org.” Said answer may be filed by E-filing through efiletexas.gov, if
represented by an attorney: or if filed pro se by delivering or mailing same to: District Clerk's Office, 1085 Pearl, Room 203,
Beaumont. TX 77701. The case is presently pending before the 136th District Court of Jefferson County sitting in Beaumont. Texas,
and was filed on the 1 2th day of October, 202 1 .    It bears cause number D-0208582 and is styled:
                                                                                                                                  Plaintiff:
                     RONDA RACCA INDIVIDU t                            f'
         VS.
                     EFG GENERAL PARTNER CORP ET AL
Defendant:


         The name and address of the attorney for plainti ff (or plaintiff if pro se) is:

                                          FERGUSON, TIMOTHY M„ Atty. ’
                                          350 PINE STREET SUITE 1440 ’
                                          BEAUMONT, TX        77704 4905

         The nature of the demands of said plaintiff is shown by a true and correct copy of Plaintiff s PETITION (PLAINTIFF'S
ORIGINAL) accompanying this citation and made a part thereof.               ” i

         Issued under my hand and the seal of said court, at Beaumont. T cxas. this the 1 3 th day of October, 202 1



                                                                   JAMIE SMITH. DISTRICT CLERK
                                                                   JEFFERSON COUNTY, TEXAS




                                                       A

                                                                   BY                                                  Deputy

             I CERTIFY THIS IS A TRUE COPY
             Witness my Hand and Seal of Office


                   April 01,2022
                                                   MU;             Erin
             JAMIE SMITH , DISTRICT CLERK
              JEFFERSON COUNTY .TEXAS


                                     Page1of2
         Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 75 of 135 PageID #: 86

                                                               RETURN OF SERVICE

 D-0208582                        136th JUDICIAL DISTRICT COURT
 RONDA RACCA INDIVIDU
 EFG GENERAL PARTNER CORP ET AL
 Executed when copy was delivered:
 This is a true copy of the original citation, was delivered to defendant                                               , on the         day of

                  , 20       .
                                                                                                                                   , Officer
                                                                                                                          , County, Texas
                                                                                            By:                                     , Deputy
 ADDRESS FOR SERVICE
 MCINERNEY, MICHAEL
 BY SERVING ITS REGISTERED AGENT
  1999 BRYAN STREET
 SUITE 900
 DALLAS, TX 75201 0000
                                                                OFFICER’S RETURN

 Caine to hand on the                 day of                    , 20      , at                    , o’clock    .m., and executed in
                                 , County, Texas by delivering to each of the within named defendants in person, a tine copy of this Citation
 with the date of delivery endorsed thereon, together with the accompanying copy of the Citation at the following times and places, to-wit:

 Name                                           Date/Time                               Place, Course and Distance from Courthouse



 And not executed as to the defendant(s),

 The diligence used in finding said defendant(s) being:



 and the cause or failure to execute this process is:



 and the information received as to the whereabouts of said defendant(s) being:


 FEES:
 Serving Petition and Copy S
 Total                            S                                                                                    , Officer
                                                                                                                 , County, Texas



                                                                                  By:                                    , Deputy



                                                                                  Affiant

         COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
 In accordance with Rule 107: The officer of authorized person who serves, or attempts to serve, a citation shall sign and return. The signature
 is not required to be verified. If the return is signed by a person other than a sheriff, constable or the clerk of the court, the return shall be
 signed under penalty of perjury and contain the following statement:
 “My name is                                                    , my date of birth is                           , and my address is
                        (First, Middle, Last)


 (Street, City, Zip)
 I DECLARE UNDER PENALTY OF PERJURY THAT THE FORGOING IS TRUE AND CORRECT.


 Executed in                            , County, State of         , on the             day of



                                                                                  Declarant/Authorized Process Server


               I CERTIFY THIS IS A TRUE COPY                                      (Id # expiration of certification)
               Witness my Hand and Seal of Office




fil                    April 01,2022
               JAMIE SMITH , DISTRICT CLERK
                JhbbhHSUN CUUN I Y , I tXAb


                                         Page2of2
             Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 76 of 135 PageID #: 87




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH, KSSTF'Cr CLCRK

                    JEFfgRSON COUNTY .TEXAS

                               .11




Certified Document Number: 2368464 Total Pages: 2




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
        Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 77 of 135 PageID #: 88
                                                                                            *00208582—00006*
                                                                                                                          C0208582—00006
CITATION

                                                     THE STATE OF TEXAS

         No. D-0208582

                  RONDA RACCA INDIVIDU
         VS. EFG GENERAL PARTNER CORP ET AL
                                                              CITATION

                                              136th JUDICIAL DISTRICT COURT
                                                  of JEFFERSON COUNTY, TEXAS

To:    RENTER, LOUIS
       BY SERVING ITS REGISTERED AGENT
       CT CORPORATION SYSTEM

by serving at:
1999 BRYAN STREET
SUITE 900
DALLAS, TX            75201                                                                                              DEFENDANT:



NOTICE:

         You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who
issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were served this citation and
petition, a default judgment may be taken against you. In addition to filing a written answer with the clerk, you may be required to
make initial disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after you file
your answer with the clerk. Find out more at TexasLawHelp.org.” Said answer may be filed by E-filing through efiletexas.gov, if
represented by an attorney: or if filed pro se by delivering or mailing same to: District Clerk's Office, 1085 Pearl, Room 203,
Beaumont, TX 77701. The case is presently pending before the 136th District Court of Jefferson County sitting in Beaumont, Texas,
and was filed on the 1 2th day of October, 202 1 .    It bears cause number D-0208582 and is styled:
                                                                                                                                  Plaintiff:
                     RONDA RACCA INDIVIDU t                            f'
         VS.
                     EFG GENERAL PARTNER CORP ET AL
Defendant:


         The name and address of the attorney for plainti ff (or plaintiff if pro se) is:

                                          FERGUSON, TIMOTHY M., Atty. ’
                                          350 PINE STREET SUITE 1440 ’
                                          BEAUMONT, TX        77704 4905

         The nature of the demands of said plaintiff is shown by a true and correct copy of Plaintiff s PETITION (PLAINTIFF'S
ORIGINAL) accompanying this citation and made a part thereof.               ” i

         Issued under my hand and the seal of said court at Beaumont, T exas, this the 1 3 th day of October, 202 1



                                                                   JAMIE SMITH. DISTRICT CLERK
                                                                   JEFFERSON COUNTY, TEXAS




                                                       A

                                                                   BY                                                  Deputy

             I CERTIFY THIS IS A TRUE COPY
             Witness my Hand and Seal of Office


                   April 01,2022
                                                   MU;             Erin
             JAMIE SMITH , DISTRICT CLERK
              JEFFERSON COUNTY .TEXAS


                                     Page1of2
         Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 78 of 135 PageID #: 89

                                                               RETURN OF SERVICE

 D-0208582                        136th JUDICIAL DISTRICT COURT
 RONDA RACCA INDIVIDU
 EFG GENERAL PARTNER CORP ET AL
 Executed when copy was delivered:
 This is a true copy of the original citation, was delivered to defendant                                               , on the         day of

                   , 20      .
                                                                                                                                   , Officer
                                                                                                                          , County, Texas
                                                                                            By:                                     , Deputy
 ADDRESS FOR SERVICE
 RENTER, LOUIS
 BY SERVING ITS REGISTERED AGENT
  1999 BRYAN STREET
 SUITE 9(X)
 DALLAS, TX 75201 0000
                                                                OFFICER’S RETURN

 Caine to hand on the                 day of                    , 20      , at                    , o’clock    .m., and executed in
                                 , County, Texas by delivering to each of the within named defendants in person, a true copy of this Citation
 with the date of delivery endorsed thereon, together with the accompanying copy of the Citation at the following times and places, to-wit:

 Name                                           Date/Time                               Place, Course and Distance from Courthouse



 And not executed as to the defendant(s),

 The diligence used in finding said defendant(s) being:



 and the cause or failure to execute this process is:



 and the information received as to the whereabouts of said defendant(s) being:


 FEES:
 Serving Petition and Copy S
 Total                            S                                                                                    , Officer
                                                                                                                 , County, Texas



                                                                                  By:                                    , Deputy



                                                                                  Affiant

         COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
 In accordance with Rule 107: The officer of authorized person who serves, or attempts to serve, a citation shall sign and return. The signature
 is not required to be verified. If the return is signed by a person other than a sheriff, constable or the clerk of the court, the return shall be
 signed under penalty of perjury and contain the following statement:
 “My name is                                                    , my date of birth is                           , and my address is
                        (First, Middle, Last)


 (Street, City, Zip)
 I DECLARE UNDER PENALTY OF PERJURY THAT THE FORGOING IS TRUE AND CORRECT.


 Executed in                            , County, State of         , on the             day of



                                                                                  Declarant/Authorized Process Server


               I CERTIFY THIS IS A TRUE COPY                                      (Id # expiration of certification)
               Witness my Hand and Seal of Office




fil                    April 01,2022
               JAMIE SMITH , DISTRICT CLERK
                JhbbhHSUN CUUN I Y , I tXAb


                                         Page2of2
             Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 79 of 135 PageID #: 90




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH, KSSTF'Cr CLCRK

                    JEFfgRSON COUNTY .TEXAS

                               .11




Certified Document Number: 2368463 Total Pages: 2




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
        Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 80 of 135 PageID #: 91
                                                                                            *00208582—00006*
                                                                                                                          C0208582—00006
CITATION

                                                     THE STATE OF TEXAS

         No. D-0208582

                  RONDA RACCA INDIVIDU
         VS. EFG GENERAL PARTNER CORP ET AL
                                                              CITATION

                                              136th JUDICIAL DISTRICT COURT
                                                  of JEFFERSON COUNTY, TEXAS

To:    RENTER, LOUIS
       BY SERVING ITS REGISTERED AGENT
       CT CORPORATION SYSTEM

by serving at:
1999 BRYAN STREET
SUITE 900
DALLAS, TX            75201                                                                                              DEFENDANT:



NOTICE:

         You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who
issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were served this citation and
petition, a default judgment may be taken against you. In addition to filing a written answer with the clerk, you may be required to
make initial disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after you file
your answer with the clerk. Find out more at TexasLawHelp.org.” Said answer may be filed by E-filing through efiletexas.gov, if
represented by an attorney: or if filed pro se by delivering or mailing same to: District Clerk's Office, 1085 Pearl, Room 203,
Beaumont, TX 77701. The case is presently pending before the 136th District Court of Jefferson County sitting in Beaumont, Texas,
and was filed on the 1 2th day of October, 202 1 .    It bears cause number D-0208582 and is styled:
                                                                                                                                  Plaintiff:
                     RONDA RACCA INDIVIDU t                            f'
         VS.
                     EFG GENERAL PARTNER CORP ET AL
Defendant:


         The name and address of the attorney for plainti ff (or plaintiff if pro se) is:

                                          FERGUSON, TIMOTHY M., Atty. ’
                                          350 PINE STREET SUITE 1440 ’
                                          BEAUMONT, TX        77704 4905

         The nature of the demands of said plaintiff is shown by a true and correct copy of Plaintiff s PETITION (PLAINTIFF'S
ORIGINAL) accompanying this citation and made a part thereof.               ” i

         Issued under my hand and the seal of said court at Beaumont, T exas, this the 1 3 th day of October, 202 1



                                                                   JAMIE SMITH. DISTRICT CLERK
                                                                   JEFFERSON COUNTY, TEXAS




                                                       A

                                                                   BY                                                  Deputy

             I CERTIFY THIS IS A TRUE COPY
             Witness my Hand and Seal of Office


                   April 01,2022
                                                   MU;             Erin
             JAMIE SMITH , DISTRICT CLERK
              JEFFERSON COUNTY .TEXAS


                                     Page1of2
         Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 81 of 135 PageID #: 92

                                                               RETURN OF SERVICE

 D-0208582                        136th JUDICIAL DISTRICT COURT
 RONDA RACCA INDIVIDU
 EFG GENERAL PARTNER CORP ET AL
 Executed when copy was delivered:
 This is a true copy of the original citation, was delivered to defendant                                               , on the         day of

                   , 20      .
                                                                                                                                   , Officer
                                                                                                                          , County, Texas
                                                                                            By:                                     , Deputy
 ADDRESS FOR SERVICE
 RENTER, LOUIS
 BY SERVING ITS REGISTERED AGENT
  1999 BRYAN STREET
 SUITE 9(X)
 DALLAS, TX 75201 0000
                                                                OFFICER’S RETURN

 Caine to hand on the                 day of                    , 20      , at                    , o’clock    .m., and executed in
                                 , County, Texas by delivering to each of the within named defendants in person, a true copy of this Citation
 with the date of delivery endorsed thereon, together with the accompanying copy of the Citation at the following times and places, to-wit:

 Name                                           Date/Time                               Place, Course and Distance from Courthouse



 And not executed as to the defendant(s),

 The diligence used in finding said defendant(s) being:



 and the cause or failure to execute this process is:



 and the information received as to the whereabouts of said defendant(s) being:


 FEES:
 Serving Petition and Copy S
 Total                            S                                                                                    , Officer
                                                                                                                 , County, Texas



                                                                                  By:                                    , Deputy



                                                                                  Affiant

         COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
 In accordance with Rule 107: The officer of authorized person who serves, or attempts to serve, a citation shall sign and return. The signature
 is not required to be verified. If the return is signed by a person other than a sheriff, constable or the clerk of the court, the return shall be
 signed under penalty of perjury and contain the following statement:
 “My name is                                                    , my date of birth is                           , and my address is
                        (First, Middle, Last)


 (Street, City, Zip)
 I DECLARE UNDER PENALTY OF PERJURY THAT THE FORGOING IS TRUE AND CORRECT.


 Executed in                            , County, State of         , on the             day of



                                                                                  Declarant/Authorized Process Server


               I CERTIFY THIS IS A TRUE COPY                                      (Id # expiration of certification)
               Witness my Hand and Seal of Office




fil                    April 01,2022
               JAMIE SMITH , DISTRICT CLERK
                JhbbhHSUN CUUN I Y , I tXAb


                                         Page2of2
             Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 82 of 135 PageID #: 93




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH. MSTRICT CLERK
                    JEFFERSON COUNTY .TEXAS

                               .11




Certified Document Number: 2368463 Total Pages: 2




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
        Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 83 of 135 PageID #: 94
                                                                                           *00208582—00004*
                                                                                                                          C0208582—00004
CITATION

                                                        THE STATE OF TEXAS

         No. D-0208582

                  RONDA RACCA INDIVIDU
         VS. EFG GENERAL PARTNER CORP ET AL
                                                              CITATION

                                              136th JUDICIAL DISTRICT COURT
                                                  of JEFFERSON COUNTY, TEXAS

To:    EDUCATION FUTURES MANAGEMENT COMPANY

by serving at:
300 N COIT ROAD
SUITE 1400
RICHARDSON, TX                75080                                                                                      DEFENDANT:



NOTICE:

          You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who
issued this citation by 10:00 a m. on the Monday next following the expiration of twenty days after you were served this citation and
petition, a default judgment may be taken against ybu. In addition to filing a written answer with the clerk, you may be required to
make initial disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after you file
your answer with the clerk. Find out more at TexasLawHelp.org.” Said answer may be filed by E-filing through efiletexas.gov, if
represented by an attorney; or if filed pro se by delivering or mailing same to: District Clerk's Office, 1085 Pearl, Room 203,
Beaumont, TX 77701 . The case is presently pending before the 136th District Court of Jefferson County sitting in Beaumont, Texas,
and was filed on the 1 2th day of October, 202 1. It bears cause number D-0208582 and is styled:
                                                                                                                                  Plaintiff:
                     RONDA RACCA INDIVIDU
         VS.
                     EFG GENERAL PARTNER CORP ET AL
Defendant:               i       s  s   <f     '' • ...                 »

         The name and address of the attorney for plaintiff (or plaintiff if pro se) is:

                                           FERGUSON, TIMOTHY M., Atty.
                                          350 PINE STREET SUITE 1440
                                          BEAUMONT, TX       77704 4905

         The nature of the demands of said plaintiff is shown by a true and correct copy of Plaintiff's PETITION (PLAINTIFF'S
ORIGINAL)        accompanying this citation and made a part thereof.                  X'      '         /

         Issued under my hand and the seal of said court, at Beaumont, Texas, this the 13th day of October, 2021.



                                                                  JAMIE SMITH, DISTRICT CLERK
                                                                  JEFFERSON COUNTY, TEXAS




                                                   /v    A   v\
                                                                   BY                                                  Deputy




             I CERTIFY THIS IS A TRUE COPY                        Erin
             Witness my Hand and Seal of Office


                   April 01,2022
             JAMIE SMITH , DISTRICT CLERK
              JEFFERSON COUNTY .TEXAS


                                     Page1of2
        Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 84 of 135 PageID #: 95

                                                              RETURN OF SERVICE

D-0208582                        136th JUDICIAL DISTRICT COURT
RONDA RACCA INDIVIDU
EFG GENERAL PARTNER CORP ET AL
Executed when copy was delivered:
This is a true copy of the original citation, was delivered to defendant                                               , on the         day of

                 , 20       .

                                                                                                                                  , Officer
                                                                                                                         , County, Texas
                                                                                           By:                                     , Deputy
ADDRESS FOR SERVICE
EDUCATION FUTURES MANAGEMENT COMPANY

300 N CO1T ROAD
SUITE 1400
RICHARDSON, TX 75080 0000
                                                                OFFICER’S RETURN

Caine to hand on the                 day of                    , 20      , at                    , o’clock    .m., and executed in
                                , County, Texas by delivering to each of the within named defendants in person, a true copy of this Cita tion
with the date of delivery endorsed thereon, together with the accompanying copy of the Citation at the following times and places, to-wit:

Name                                           Date/Time                               Place, Course and Distance from Courthouse



And not executed as to the defendant(s),

Tlie diligence used in finding said defendant(s) being:



and the cause or failure to execute this process is:



and the information received as to the whereabouts of said defendant(s) being:


FEES:

Serving Petition and Copy $
Total                            S                                                                                    , Officer
                                                                                                               , County, Texas



                                                                                 By:                                    , Deputy



                                                                                 Affiant

        COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
In accordance with Rule 107: The officer of authorized person who serves, or attempts to serve, a citation shall sign and return. The signature
is not required to be verified. If the return is signed by a person other than a sheriff, constable or the clerk of the court, the return shall be
signed under penalty of perjury and contain the following statement:
“My name is                                                    , my date of birth is                          , and my address is
                       (First, Middle, Last)

(Street, City, Zip)
I DECLARE UNDER PENALTY OF PERJURY THAT THE FORGOING IS TRUE AND CORRECT.


Executed in                            , County, State of         , on the             day of



                                                                                 Declarant/Authorized Process Server



              I CERTIFY THIS IS A TRUE COPY                                      (Id # expiration of certification)
              Witness my Hand and Seal of Office




Oi                    April 01,2022
              JAMIE SMITH , DISTRICT CLERK
               JhbbhHSUN CUUN I Y , I tXAb


                                        Page2of2
             Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 85 of 135 PageID #: 96




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH, KSSTF'Cr CLCRK

                    JEFfgRSON COUNTY .TEXAS

                               .11




Certified Document Number: 2368461 Total Pages: 2




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
        Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 86 of 135 PageID #: 97
                                                                                            *00208582—00003*
                                                                                                                          C0208582—00003
CITATION

                                                     THE STATE OF TEXAS

         No. D-0208582

                  RONDA RACCA INDIVIDU
         VS. EFG GENERAL PARTNER CORP ET AL
                                                              CITATION

                                              136th JUDICIAL DISTRICT COURT
                                                  of JEFFERSON COUNTY, TEXAS

To:    EFG GENERAL PARTNER CORP
       BY SERVING ITS REGISTERED AGENT
       CT CORPORATION SYSTEM

by serving at:
1999 BRYAN STREET
SUITE 900
DALLAS, TX            75201                                                                                              DEFENDANT:



NOTICE:

         You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who
issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were served this citation and
petition, a default judgment may be taken against you. In addition to filing a written answer with the clerk, you may be required to
make initial disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after you file
your answer with the clerk. Find out more at TexasLawHelp.org.” Said answer may be filed by E-filing through efiletexas.gov, if
represented by an attorney; or if filed pro se by delivering or mailing same to: District Clerk's Office, 1085 Pearl, Room 203,
Beaumont. TX 77701. The case is presently pending before the 136th District Court of Jefferson County sitting in Beaumont. Texas,
and was filed on the 1 2th day of October, 202 1 .    It bears cause number D-0208582 and is styled:
                                                                                                                                  Plaintiff:
                     RONDA RACCA INDIVIDU t                            f'
         VS.
                     EFG GENERAL PARTNER CORP ET AL
Defendant:


         The name and address of the attorney for plainti ff (or plaintiff if pro se) is:

                                          FERGUSON, TIMOTHY M., Atty.
                                          350 PINE STREET SUITE 1440 ’
                                          BEAUMONT, TX        77704 4905

         The nature of the demands of said plaintiff is shown by a true and correct copy of Plaintiff s PETITION (PLAINTIFF'S
ORIGINAL) accompanying this citation and made a part thereof.               ” i

         Issued under my hand and the seal of said court, at Beaumont. Texas, this the 1 3th day of October, 202 1



                                                                   JAMIE SMITH. DISTRICT CLERK
                                                                   JEFFERSON COUNTY, TEXAS




                                                       A

                                                                   BY                                                  Deputy

             I CERTIFY THIS IS A TRUE COPY
             Witness my Hand and Seal of Office


                   April 01,2022
                                                   MU;             Erin
             JAMIE SMITH , DISTRICT CLERK
              JEFFERSON COUNTY .TEXAS


                                     Page1of2
         Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 87 of 135 PageID #: 98

                                                               RETURN OF SERVICE

 D-0208582                        136th JUDICIAL DISTRICT COURT
 RONDA RACCA INDIVIDU
 EFG GENERAL PARTNER CORP ET AL
 Executed when copy was delivered:
 This is a true copy of the original citation, was delivered to defendant                                               , on the         day of

                  , 20       .

                                                                                                                                   , Officer
                                                                                                                          , County, Texas
                                                                                            By:                                     , Deputy
 ADDRESS FOR SERVICE
 EFG GENERAL PARTNER CORP
 BY SERVING ITS REGISTERED AGENT
  1999 BRYAN STREET
 SUITE 9(X)
 DALLAS, TX 75201 0000
                                                                OFFICER’S RETURN

 Caine to hand on the                 day of                    , 20      , at                    , o’clock    .m., and executed in
                                 , County, Texas by delivering to each of the within named defendants in person, a true copy of this Citation
 with the date of delivery endorsed thereon, together with the accompanying copy of the Citation at the following times and places, to-wit:

 Name                                           Date/Time                               Place, Course and Distance from Courthouse



 And not executed as to the defendant(s),

 The diligence used in finding said defendant(s) being:



 and the cause or failure to execute this process is:



 and the information received as to the whereabouts of said defendant(s) being:


 FEES:
 Serving Petition and Copy S
 Total                            S                                                                                    , Officer
                                                                                                                 , County, Texas



                                                                                  By:                                    , Deputy



                                                                                  Affiant

         COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
 In accordance with Rule 107: The officer of authorized person who selves, or attempts to serve, a citation shall sign and return. The signature
 is not required to be verified. If the return is signed by a person other than a sheriff, constable or the clerk of the court, the return shall be
 signed under penalty of perjury and contain the following statement:
 “My name is                                                    , my date of birth is                           , and my address is
                        (First, Middle, Last)


 (Street, City, Zip)
 I DECLARE UNDER PENALTY OF PERJURY THAT THE FORGOING IS TRUE AND CORRECT.


 Executed in                            , County, State of         , on the             day of



                                                                                  Declarant/Authorized Process Server


               I CERTIFY THIS IS A TRUE COPY                                      (Id # expiration of certification)
               Witness my Hand and Seal of Office




fil                    April 01,2022
               JAMIE SMITH , DISTRICT CLERK
                JhbbhHSUN CUUN I Y , I tXAb


                                         Page2of2
             Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 88 of 135 PageID #: 99




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH, KSSTF'Cr CLCRK

                    JEFfgRSON COUNTY .TEXAS

                               .11




Certified Document Number: 2368460 Total Pages: 2




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
       Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 89 of 135  PageID #: 100
                                                                      FILED




CITATION
                                                                                                                       11/10/2021 SWr58®07
                                                                                                                             SMITH               >=
                                                            THE STATE OF TEXAS                                         DISTRICT CLERK
                                                                                                                       D-208582
         No. D-0208582

                   RONDA RACCA INDIVIDU
         VS. EFG GENERAL PARTNER CORP ET AL
                                                                   CITATION

                                                     136th JUDICIAL DISTRICT COURT
                                                       of JEFFERSON COUNTY, TEXAS

To:    MCINERNEY, MICHAEL
       BY SERVING ITS REGISTERED AGENT
       CT CORPORATION SYSTEM

by serving at:
1999 BRYAN STREET
SUITE 900
DALLAS, TX            75201                                                                                                        DEFENDANT:



NOTICE:                                                /                           ’
                                                            \ \     '          :
         You have been sued. You iriay employ an attorney.. If.you or. your attorney do not file a written answer with the clerk who
issued this citation by 10:00 a.m.,o'n the Monday next following the expiration of twenty days after you were served this citation and
petition, a default judgment may be taken against-ydu. In addition to filing a writteh answer with the clerk, you may be required to
make initial disclosures to the/other parties of.tfiis suit. These disclosures generally must be made no later than 30 days after you file
your answer with the clerk. Find.put more at'TexasLawHelp.ofg.” Said answer, may be filed by E-filing through efiletexas.gov, if
represented by an attorney; or if filed pro,se by deliyermg or mailing same to: District Clerk's Office, 1085 Pearl, Room 203,
Beaumont, TX 77701. The case is presently pending before the 136th District Court Of Jefferson County sitting in Beaumont, Texas,
and was filed on the 12th'day of October, 2021 . It bears cause number D-0208582 and is styled:
                                                                                                                                           Plaintiff:
                        J         ‘                                                    its.                   i-   ’
                     RONDA RACCA INDiylDU                                               iz
           VS.
                           L               ' -
                     EFG GENERAL PARTNER CQRPET AL
                                                        -W I
Defendant:                 I                   I               (        Jr             W
                              1                  I          < 'U    **
           The name and address of the attorney fohplaintiff (or plaintiff if pro se) is:

                                              FERGUSON, TIMOTHY M„ Atty.
                                                                                                  •a'-' - .
                                  \           350 PINE STREETSUITE 1440
                                      \       BEAUMONT, TX         77*704.4905                <

           The nature of the demands of said plaintiffis shown by a true and correct copy of Plaintiff’s- PETITION (PLAINTIFF’S
ORIGINAL) accompanying this Citation and ma'deapart-thereof.                                  .

           Issued under my hand and the seal of said court, at Beaumont, Texias, this the 3 3th day of October, 202 1 .


                                                                             JAMIE SMITH, DISTRICT CLERK
                                                                             JEFFERSON COUNTY, TEXAS




                                                        M
                                                                                                                                  Deputy
                                                               Er hi
              I CERTIFY THIS IS A TRUE COPY
             Witness my Hand and Seal of Office


                     April 01,2022                                           Erin

              JAMIE SMITH , DISTRICT CLERK
                 JEFFERSON COUNTY .TEXAS


                                          Pagel of 4
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 90 of 135 PageID #: 101




                                                                          • f         v




                                  .<   d'.’ • ;
                                                                .r"   '




                                                                           •    •••

                                                                          !'•




                                                            ' : u; ic:




                                                  ^7*   C


  I CERTIFY THIS IS A TRUE COP5£       '
  Witness my Hand and Seal of Office


        April 01,2022
   JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                          Page2of4
        Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 91 of 135 PageID #: 102

                                                               RETURN OF SERVICE

D-0208582                         136th JUDICIAL DISTRICT COURT
RONDA RACCA INDIVIDU
EFG GENERAL PARTNER CORP ET AL
Executed when copy was delivered:
This is a true copy of the original citation, was delivered to defendant                                               , on the          day of

                 , 20        .
                                                                                                                                   , Officer
                                                                                                                           County, Texas
                                                                                            By:                                     , Deputy
ADDRESS FOR SERVICE:
MCINERNEY, MICHAEL
BY SERVING ITS REGISTERED AGENT
 1999 BRYAN STREET
SUITE 900
DALLAS, TX 75201 0000
                                                                OFFICER’S RETURN

Came to hand on the                   day of                    , 20     , at                     , o’clock   ,m., and executed in
                                 , County, Texas by delivering to each of the within named defendants in person, a true copy of this Citation
with the date of delivery endorsed thereon, together with the accompanying copy of the Citation at the following times and places, to-wit:
Name                                            Date/Time                               Place, Course and Distance from Courthouse



And not executed as to the defendants),

The diligence used in finding said defendants) being:



and the cause or failure to execute this process is:



and the information received as to the whereabouts of said defendant(s) being:


FEES:
Serving Petition and Copy $.
Total                             $                                                                                    , Officer
                                                                                                                , County, Texas



                                                                                  By:                                   ., Deputy


                                                                                  Affiant

        COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
In accordance with Rule 107: The officer of authorized person who serves, or attempts to serve, a citation shall sign and return. The signature
is not required to be verified. If the return is signed by a person other than a sheriff, constable or the clerk of the court, the return shall be
signed under penalty of peijury and contain the following statement:
“My name is                                                     , my date of birth is                          , and my address is
                        (First, Middle, Last)

(Street, City, Zip)
I DECLARE UNDER PENALTY OF PERJURY THAT THE FORGOING IS TRUE AND CORRECT.

Executed in                             , County, State of         , on the             day of



                                                                                  Declarant/Authorized Process Server


              I CERTIFY THIS IS A TRUE COPY
              Witness my Hand and Seal of Office                                  (Id # expiration of certification)

                      April 01,2022
              JAMIE SMITH , DISTRICT CLERK
               JEFFERSON COUNTY TEXAS


                                         Page3of4
     Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 92 of 135 PageID #: 103

                                              CAUSE NUMBER: D-0208582

 RONDA RACCA, INDIVIDUALLY AND ON
 BEHALF OF ALL SIMILARLY SITUATED
 PERSONS
 PLAINTIFF
                                                           IN THE BOTH JUDICIAL DISTRICT
                                                            COURT OF JEFFERSON COUNTY, TEXAS
 VS.


 EFG GENERAL PARTNER CORP., ET AL
 DEFENDANT
                                                RETURN OF SERVICE

My name is GUY CONNELLY. I am over die age of eighteen (1 8), I am not a party to this case, and have no
interest in its outcome. I am in all ways competent to make this affidavit and this affidavit is based on personal
knowledge. The facts stated herein are true and correct. My business address is: 1 320 QUITMAN ST. STE
100, HOUSTON, HARRIS COUNTY, TX 77009, U.S.A.

ON Monday November 08, 2021 AT 04:31 PM - CITATION, PLAINTIFF'S ORIGINAL CLASS
ACTION PETITION came to hand for service upon LOUIS RENTER BY SERVING ITS
REGISTERED AGENT CT CORPORATION SYSTEM.

On Wednesday November 10, 2021 at 11:05 AM - The above named documents were hand delivered to:
LOUIS RENTER BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM @
1999 BRYAN STREET SUITE 900, DALLAS , TX 75201, in Person. By delivering to Latoya Stems,
Intake Specialist.

FURTHER AFFIANT SAYETII NOT.


STATE OF TEXAS                                      DECLARATION

"My name is GUY CONNELLY, my date of birth is 11/04/1951 my business address is 1320 QUITMAN STREET,
HOUSTON, TX 77009, and I declare under penalty of perjury that this affidavit is true and correct."

Executed in Collin County, State of Texas on Wednesday November 10, 2021



 /s/GUY CONNELLY                                  PSC#22O1 EXP. 09/30/22
Declarant                                              Appointed in accordance with State Statutes

                                                             2021.11.604338




         I CERTIFY THIS IS A TRUE COPY
         Witness my Hand and Seal of Office


                April 01,2022
         JAMIE SMITH , DISTRICT CLERK
            JEFFERSON COUNTY .TEXAS


                                 Page4of4
            Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 93 of 135 PageID #: 104




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH, KSSTF'Cr CLCRK

                    JEFfgRSON COUNTY .TEXAS

                               .11




Certified Document Number: 2388886 Total Pages: 4




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
       Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 94 of 135  PageID #: 105
                                                                      FILED


                                                                                                                                            iiiiniiMK
                                                                                                                                                    11/10/2021 iWW00003
CITATION
                                                                                                                                                    ^AMt€ SMITH
                                                              THE STATE OF TEXAS                                                                    DISTRICT CLERK
                                                                                                                                                    D-208582
         No. D-0208582

                   RONDA RACCA INDIVIDU
         VS. EFG GENERAL PARTNER CORP ET AL
                                                                            CITATION

                                                   136th JUDICIAL DISTRICT COURT
                                                    of JEFFERSON COUNTY, TEXAS

To:    EFG GENERAL PARTNER CORP
       BY SERVING ITS REGISTERED AGENT
      CT CORPORATION SYSTEM

by serving at:
1999 BRYAN STREET
SUITE 900
DALLAS, TX            75201                                                                                                                                     DEFENDANT:



NOTICE:                                                       . >                          :       \

          You have been sued. Youmay employ an attorney. If you-or your attorney do not file a jyritten answer with the clerk who
issued this citation by 10:00 a.m.,on the Monday next following the expiration of twenty days after you were served this citation and
petition, a default judgment ma/be-taken against you. In addition to filing a writtemqnswer, with the clerk, you may be required to
make initial disclosures to the'other parties o£tlus suit. These disclosures generally must be made nojafer than 30 days after you file
your answer with the clerk. Findout more afTexastiwHelp.org.” Saiid anfcwet may be filed by E-filing through efiletexas.gov, if
represented by an attomeyAr if fTled.proie by deli£erifigot mailing same to: jDistrict Clerk’s Office, 1085; Pearl, Room 203,
Beaumont, TX 77701. The caSe is presently ppnding^efbre the 136th District Court i>fJefferson County.sitting in Beaumont, Texas,
and was filed on the 12th/dajrof October, 2021 Alfbears cause nuiqber D-0208582 and is styled: -
                        |            J     '                      ft                                          \               Plaintiff:
                     RONDA RXCCAJNDiyiDV                                                       ’                                   --
                                                                                                                                        '       -
           vs.             i              ‘   |                                                    •;>r-
                     efg General partner corp etal                                                                     4       ?            ?
Defendant:                  |                                 i' 5
                            I           . ,    i       ' ..      U                  "
           The name and address of the Attorney for plaintiff(or plaintiff if pro se)is:                                                /              /
                                t                  \            t        “A -                              '       '           4
                                \
                                    \
                                    \
                                              FERGUSON, TO^dtHY M., Atty. . . A
                                              350 PINE STREET-SUITE 1440
                                              BEAUtVIQNT, TX                777044'905               -         ’
                                                                                                                           '                         /
           The nature of the demands of said plaintiff is. shown by a true and correct Copy of Plaintiffs-PETITION (PLAINTIFF'S
ORIGINAL) accompanying this citation and made a part thereof.
                                                   / * r * 'h.       ’'      -          i’- •
           Issued under my hand and the se?l of said court?’' at Beaumont, Texas, this the 13th day of October, 2021.

                                                                     ‘
                                                                                . .\ .
                                                                                v       JAMIE SMITH-, DISTRICT CLERK
                                                                                        JEFFERSON COUNTY, TEXAS




                                                       A/       A         \*\
                                                       l»l                  l-dj        BY                                                                     Deputy

             I CERTIFY THIS IS A TRUE COPY
             Witness my Hand and Seal of Office


                     April 01,2022                                                      Erin
              JAMIE SMITH , DISTRICT CLERK
                 JEFFERSON COUNTY .TEXAS


                                         Pagel of 4
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 95 of 135 PageID #: 106
                        •   s   ii-
                                                                                 I'




                                              •   '




                                                                           > ,    t •



                                                              ••• •




                                                                                      l   ..p




                                                         i.




                                                                 : . li




                                         ft
                                         /?
  I CERTIFY THIS IS A TRUE COPt
  Witness my Hand and Seal of Office ;


        April 01, 2022
   JAMIE SMITH , DISTRICT CLERK
   JEFFERSON COUNTY .TEXAS


                            Page2of4
        Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 96 of 135 PageID #: 107

                                                             RETURN OF SERVICE

D-0208582                        136th JUDICIAL DISTRICT COURT
RONDA RACCA INDIV1DU
EFG GENERAL PARTNER CORP ET AL
Executed when copy was delivered:
This is a true copy of the original citation, was delivered to defendant                                              , on the           day of

                 , 20        .
                                                                                                                                  , Officer
                                                                                                                         ., County, Texas
                                                                                          By:                                      , Deputy
ADDRESS FOR SERVICE:
EFG GENERAL PARTNER CORP
BY SERVING ITS REGISTERED AGENT
 1999 BRYAN STREET
SUITE 900
DALLAS, TX 75201 0000
                                                              OFFICER’S RETURN

Came to hand on the                   day of                  ..20,      at                     ., o’clock   .m., and executed in
                           , County, Texas by delivering to each of the within named defendants in person, a true copy of this Citation
with the date of delivery endorsed thereon, together with the accompanying copy of the Citation at the following times and places, to-wit:
Name                                            Date/Time                             Place, Course and Distance from Courthouse



And not executed as to the defendant(s),

The diligence used in finding said defendant(s) being:



and the cause or failure to execute this process is:



and the information received as to the whereabouts of said defendants) being:


FEES:
Serving Petition and Copy S.
Total                            $.                                                                                   , Officer
                                                                                                               , County, Texas


                                                                                By:                                     , Deputy



                                                                                Affiant

        COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
In accordance with Rule 107: The officer of authorized person who serves, or attempts to serve, a citation shall sign and return. The signature
is not required to be verified. If the return is signed by a person other than a sheriff, constable or the clerk of the court, the return shall be
signed under penalty of peijury and contain the following statement:
"My name is                                                   , my date of birth is                           , and my address is
                        (First, Middle, Last)

(Street, City, Zip)
I DECLARE UNDER PENALTY OF PERJURY THAT THE FORGOING IS TRUE AND CORRECT.

Executed in                             , County, State of        , on the             day of.



                                                                                 Declarant/Authorized Process Server


              I CERTIFY THIS IS A TRUE COPY
              Witness my Hand and Seal of Office                                 (Id # expiration of certification)

                      April 01,2022
              JAMIE SMITH , DISTRICT CLERK
               JEFFERSON COUNTY. TEXAS


                                         Page3of4
     Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 97 of 135 PageID #: 108

                                              CAUSE NUMBER: D-0208582

 RONDA RACCA, INDIVIDUALLY AND ON
 BEHALF OF ALL SIMILARLY SITUATED
 PERSONS
 PLAINTIFF
                                                           IN THE BOTH JUDICIAL DISTRICT
                                                            COURT OF JEFFERSON COUNTY, TEXAS
 VS.


 EFG GENERAL PARTNER CORP., ET AL
 DEFENDANT
                                                RETURN OF SERVICE

My name is GUY CONNELLY. I am over die age of eighteen (1 8), I am not a party to this case, and have no
interest in its outcome. I am in all ways competent to make this affidavit and this affidavit is based on personal
knowledge. The facts stated herein are true and correct. My business address is: 1 320 QUITMAN ST. STE
100, HOUSTON, HARRIS COUNTY, TX 77009, U.S.A.

ON Monday November 08, 2021 AT 04:31 PM - CITATION, PLAINTIFF'S ORIGINAL CLASS
ACTION PETITION came to hand for service upon EFG GENERAL PARTNER CORP BY SERVING
ITS REGISTERED AGENT CT CORPORATION SYSTEM.

On Wednesday November 10, 2021 at 11:05 AM - The above named documents were hand delivered to:
EFG GENERAL PARTNER CORP BY SERVING ITS REGISTERED AGENT CT
CORPORATION SYSTEM @ 1999 BRYAN STREET SUITE 900, DALLAS , TX 75201, in Person.
By delivering to Latoya Stems, Intake Specialist.

FURTHER AFFIANT SAYETII NOT.


STATE OF TEXAS                                      DECLARATION

"My name is GUY CONNELLY, my date of birth is 11/04/1951 my business address is 1320 QUITMAN STREET,
HOUSTON, TX 77009, and I declare under penalty of perjury that this affidavit is true and correct."

Executed in Collin County, State of Texas on Wednesday November 10, 2021



 /s/GUY CONNELLY                                  PSC#22O1 EXP. 09/30/22
Declarant                                              Appointed in accordance with State Statutes

                                                             2021.11.604344




         I CERTIFY THIS IS A TRUE COPY
         Witness my Hand and Seal of Office


                April 01,2022
         JAMIE SMITH , DISTRICT CLERK
            JEFFERSON COUNTY .TEXAS


                                 Page4of4
            Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 98 of 135 PageID #: 109




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH, KSSTF'Cr CLCRK

                    JEFfgRSON COUNTY .TEXAS

                               .11




Certified Document Number: 2388883 Total Pages: 4




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
       Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 99 of 135  PageID #: 110
                                                                      FILED




CITATION
                                                                                                                       11/10/2021 SWr58®07
                                                                                                                             SMITH               >=
                                                            THE STATE OF TEXAS                                         DISTRICT CLERK
                                                                                                                       D-208582
         No. D-0208582

                   RONDA RACCA INDIVIDU
         VS. EFG GENERAL PARTNER CORP ET AL
                                                                   CITATION

                                                     136th JUDICIAL DISTRICT COURT
                                                       of JEFFERSON COUNTY, TEXAS

To:    MCINERNEY, MICHAEL
       BY SERVING ITS REGISTERED AGENT
       CT CORPORATION SYSTEM

by serving at:
1999 BRYAN STREET
SUITE 900
DALLAS, TX            75201                                                                                                        DEFENDANT:



NOTICE:                                                /                           ’
                                                            \ \     '          :
         You have been sued. You iriay employ an attorney.. If.you or. your attorney do not file a written answer with the clerk who
issued this citation by 10:00 a.m.,o'n the Monday next following the expiration of twenty days after you were served this citation and
petition, a default judgment may be taken against-ydu. In addition to filing a writteh answer with the clerk, you may be required to
make initial disclosures to the/other parties of.tfiis suit. These disclosures generally must be made no later than 30 days after you file
your answer with the clerk. Find.put more at'TexasLawHelp.ofg.” Said answer, may be filed by E-filing through efiletexas.gov, if
represented by an attorney; or if filed pro,se by deliyermg or mailing same to: District Clerk's Office, 1085 Pearl, Room 203,
Beaumont, TX 77701. The case is presently pending before the 136th District Court Of Jefferson County sitting in Beaumont, Texas,
and was filed on the 12th'day of October, 2021 . It bears cause number D-0208582 and is styled:
                                                                                                                                           Plaintiff:
                        J         ‘                                                    its.                   i-   ’
                     RONDA RACCA INDiylDU                                               iz
           VS.
                           L               ' -
                     EFG GENERAL PARTNER CQRPET AL
                                                        -W I
Defendant:                 I                   I               (        Jr             W
                              1                  I          < 'U    **
           The name and address of the attorney fohplaintiff (or plaintiff if pro se) is:

                                              FERGUSON, TIMOTHY M„ Atty.
                                                                                                  •a'-' - .
                                  \           350 PINE STREETSUITE 1440
                                      \       BEAUMONT, TX         77*704.4905                <

           The nature of the demands of said plaintiffis shown by a true and correct copy of Plaintiff’s- PETITION (PLAINTIFF’S
ORIGINAL) accompanying this Citation and ma'deapart-thereof.                                  .

           Issued under my hand and the seal of said court, at Beaumont, Texias, this the 3 3th day of October, 202 1 .


                                                                             JAMIE SMITH, DISTRICT CLERK
                                                                             JEFFERSON COUNTY, TEXAS




                                                        M
                                                                                                                                  Deputy
                                                               Er hi
              I CERTIFY THIS IS A TRUE COPY
             Witness my Hand and Seal of Office


                     April 01,2022                                           Erin

              JAMIE SMITH , DISTRICT CLERK
                 JEFFERSON COUNTY .TEXAS


                                          Pagel of 4
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 100 of 135 PageID #: 111




                                                                           • f         v




                                   .<   d'.’ • ;
                                                                 .r"   '




                                                                            •    •••

                                                                           !'•




                                                             ' : u; ic:




                                                   ^7*   C


   I CERTIFY THIS IS A TRUE COP5£       '
   Witness my Hand and Seal of Office


         April 01,2022
   JAMIE SMITH , DISTRICT CLERK
    JEFFERSON COUNTY .TEXAS


                           Page2of4
        Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 101 of 135 PageID #: 112

                                                               RETURN OF SERVICE

D-0208582                         136th JUDICIAL DISTRICT COURT
RONDA RACCA INDIVIDU
EFG GENERAL PARTNER CORP ET AL
Executed when copy was delivered:
This is a true copy of the original citation, was delivered to defendant                                               , on the          day of

                 , 20        .
                                                                                                                                   , Officer
                                                                                                                           County, Texas
                                                                                            By:                                     , Deputy
ADDRESS FOR SERVICE:
MCINERNEY, MICHAEL
BY SERVING ITS REGISTERED AGENT
 1999 BRYAN STREET
SUITE 900
DALLAS, TX 75201 0000
                                                                OFFICER’S RETURN

Came to hand on the                   day of                    , 20     , at                     , o’clock   ,m., and executed in
                                 , County, Texas by delivering to each of the within named defendants in person, a true copy of this Citation
with the date of delivery endorsed thereon, together with the accompanying copy of the Citation at the following times and places, to-wit:
Name                                            Date/Time                               Place, Course and Distance from Courthouse



And not executed as to the defendants),

The diligence used in finding said defendants) being:



and the cause or failure to execute this process is:



and the information received as to the whereabouts of said defendant(s) being:


FEES:
Serving Petition and Copy $.
Total                             $                                                                                    , Officer
                                                                                                                , County, Texas



                                                                                  By:                                   ., Deputy


                                                                                  Affiant

        COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
In accordance with Rule 107: The officer of authorized person who serves, or attempts to serve, a citation shall sign and return. The signature
is not required to be verified. If the return is signed by a person other than a sheriff, constable or the clerk of the court, the return shall be
signed under penalty of peijury and contain the following statement:
“My name is                                                     , my date of birth is                          , and my address is
                        (First, Middle, Last)

(Street, City, Zip)
I DECLARE UNDER PENALTY OF PERJURY THAT THE FORGOING IS TRUE AND CORRECT.

Executed in                             , County, State of         , on the             day of



                                                                                  Declarant/Authorized Process Server


              I CERTIFY THIS IS A TRUE COPY
              Witness my Hand and Seal of Office                                  (Id # expiration of certification)

                      April 01,2022
              JAMIE SMITH , DISTRICT CLERK
               JEFFERSON COUNTY TEXAS


                                         Page3of4
    Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 102 of 135 PageID #: 113

                                              CAUSE NUMBER: D-0208582

 RONDA RACCA, INDIVIDUALLY AND ON
 BEHALF OF ALL SIMILARLY SITUATED
 PERSONS
 PLAINTIFF
                                                           IN THE BOTH JUDICIAL DISTRICT
                                                            COURT OF JEFFERSON COUNTY, TEXAS
 VS.


 EFG GENERAL PARTNER CORP., ET AL
 DEFENDANT
                                                RETURN OF SERVICE

My name is GUY CONNELLY. I am over die age of eighteen (1 8), I am not a party to this case, and have no
interest in its outcome. I am in all ways competent to make this affidavit and this affidavit is based on personal
knowledge. The facts stated herein are true and correct. My business address is: 1 320 QUITMAN ST. STE
100, HOUSTON, HARRIS COUNTY, TX 77009, U.S.A.

ON Monday November 08, 2021 AT 04:31 PM - CITATION, PLAINTIFF'S ORIGINAL CLASS
ACTION PETITION came to hand for service upon MICHAEL MCINERNEY BY SERVING ITS
REGISTERED AGENT CT CORPORATION SYSTEM .

On Wednesday November 10, 2021 at 11:05 AM - The above named documents were hand delivered to:
MICHAEL MCINERNEY BY SERVING ITS REGISTERED AGENT CT CORPORATION
SYSTEM @ 1999 BRYAN STREET SUITE 900, DALLAS , TX 75201, in Person. By delivering to
Latoya Stems, Intake Specialist.

FURTHER AFFIANT SAYETII NOT.


STATE OF TEXAS                                      DECLARATION

"My name is GUY CONNELLY, my date of birth is 11/04/1951 my business address is 1320 QUITMAN STREET,
HOUSTON, TX 77009, and I declare under penalty of perjury that this affidavit is true and correct."

Executed in Collin County, State of Texas on Wednesday November 10, 2021



 /s/GUY CONNELLY                                  PSC#22O1 EXP. 09/30/22
Declarant                                              Appointed in accordance with State Statutes

                                                             2021.11.604353




         I CERTIFY THIS IS A TRUE COPY
         Witness my Hand and Seal of Office


                April 01,2022
         JAMIE SMITH , DISTRICT CLERK
            JEFFERSON COUNTY .TEXAS


                                 Page4of4
           Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 103 of 135 PageID #: 114




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH, KSSTF'Cr CLCRK

                    JEFfgRSON COUNTY .TEXAS

                               .11




Certified Document Number: 2388882 Total Pages: 4




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
          Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 104 of 135 PageID #: 115
                                                                         FILED


      I
                                                                                                                        IIIIHiiHM
                                                                                                                                    11/10/2021
CITATION
                                                                                                                                    JAMIE SMITH
                                                           THE STATE OF TEXAS                                                       DISTRICT CLERK
                                                                                                                                    D-208582
           No. D-0208582

                   RONDA RACCA INDIVIDU
           VS. EFG GENERAL PARTNER CORP ET AL
                                                                     CITATION

                                                136th JUDICIAL DISTRICT COURT
                                                    of JEFFERSON COUNTY, TEXAS

To:       COMPUTER CAREER CENTER LP
          DBA VISTA COLLEGE
          BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM

by serving at:
1999 BRYAN STREET
SUITE 900
DALLAS, TX            75201                                                                                                                       DEFENDANT:



NOTICE:                                                    ..             I

          You have been sued. You may employ an attorney. If you.or.ypur attorney do’ not file a written answer with the clerk who
issued this citation by 10:00 a.m. on the Noonday next, following the expiration of twenty days after you were served this citation and
petition, a default judgment may'be taken against you. In addition to filing a written answer.with the clerk, you may be required to
make initial disclosures to the-bther pities ofithis suit. These disclosures generally must be made no later than 30 days after you file
your answer with the clerk. Finiout more atZ'exasLawHelp.ofg.” Said answer may be filed by E-filing through efiletexas.gov, if
represented by an attomey/or if fhed.prp/e by dblij'erihg'or mailing same to:...District Clerk's Office, 1085 Pearl, Room 203,
Beaumont, TX 77701. Th.e caSe is presently.pending before the 130th District Court of Jefferson County sitting in Beaumont, Texas,
and was filed on the 12thfday'ofOctober, 20^1 .?’tlt‘bears cause number D-0208582 and is styled: -                              '       \
                        /        ’/         •                                                                                            j                Plaintiff:
                  RONDA RACCA INDiyiDU '                                           ' f         \                                          *
           VC               ’               ?       I \    A                     S’              '       i,
           vs-              ‘               5                                                                                              ‘
                      EFG GENERAL PARTNER CORP ET AL                             -,   '                       ’   -     ?
Defendant:
                             !_             \         ‘Z L                Z Z,.                                       . I                 ;
           The name and address of the attorney for plaintiff (or plaintiff if prose) is:

                                  1
                                           FERGUSON, TIMOTHY M-, Atty.
                                  X        350 PINE STREET SUITE 1440                     .X .                 /
                                           BEAUMONT, TX 77704.4>05                                            7                     /

           The nature of the demands of said plaintiff is shown By a true and correct copy of Plaintiff s/PETITION (PLAINTIFF'S
ORIGINAL) accompanying this'bjtation and made a.part therfeof.^ .                                    ‘                      /
                                           x . . /                  r >
           Issued under my hand and the seal of said court,' at Beaumont, Texas, this the ‘1 3 th day of October, 2021.


                                                                              JAMIE SMITH; DISTRICT CLERK
                                                                              JEFFERSON COUNTY, TEXAS



                                                      A/
                                                      w/
                                                                A   v\
                                                                    \ i
                                                                              BY                                                                 Deputy

             I CERTIFY THIS IS A TRUE COPY            \*\           Zp/
             Witness my Hand and Seal of Office


                     April 01,2022                                            Erin
                JAMIE SMITH , DISTRICT CLERK
                 JEFFERSON COUNTY .TEXAS


                                      Page 1 of 4
                                                                                                ;   t

  Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 105 of 135 PageID #: 116
                              :


                                                                                            4




                                                                  •J




                                                          »;• ’

                                                                             r'-:       ’


                                                                       • •          ;




                                                ___Jv

      I CERTIFY THIS IS A TRUE COPY =
      Witness my Hand and Seal of Office    C


            April 01,2022


(ml   JAMIE SMITH , DISTRICT CLERK
       JEFFERSON COUNTY .TEXAS

                              page 2 of 4
           Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 106 of 135 PageID #: 117

                                                                  RETURN OF SERVICE

D-0208582                            136th JUDICIAL DISTRICT COURT
RONDA RACCA IND1VIDU
EFG GENERAL PARTNER CORP ET AL
Executed when copy was delivered:
This is a true copy of the original citation, was delivered to defendant                                                 , on the          day of
                     , 20       .
                                                                                                                                     , Officer
                                                                                                                             County, Texas

                                                                                              By:                                     , Deputy
ADDRESS FOR SERVICE:
COMPUTER CAREER CENTER LP
DBA VISTA COLLEGE
    1999 BRYAN STREET
    SUITE 900
DALLAS, TX 75201 0000
                                                                   OFFICER’S RETURN

Came to hand on the                      day of                    , 20      , at                   , o’clock   .m., and executed in
                                    , County, Texas by delivering to each of the within named defendants in person, a true copy of this Citation
with the date of delivery endorsed thereon, together with the accompanying copy of the Citation at the following times and places, to-wit:
    Name                                            Date/Time                             Place, Course and Distance from Courthouse


    And not executed as to the defendant(s),

    The diligence used in finding said defendant(s) being:



    and the cause or failure to execute this process is:



    and the information received as to the whereabouts of said defendant(s) being;


FEES:
Serving Petition and Copy S.
Total                                $                                                                                   , Officer
                                                                                                                  , County, Texas



                                                                                    By:                                   , Deputy


                                                                                    Affiant

            COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
In accordance with Rule 107: The officer of authorized person who serves, or attempts to serve, a citation shall sign and return. The signature
is not required to be verified. If the return is signed by a person other than a sheriff, constable or the clerk of the court, the return shall be
signed under penalty of peijury and contain the following statement:
“My name is                                                        , my date ofbirth is                          , and my address is
                            (First, Middle, Last)


(Street, City, Zip)
    I DECLARE UNDER PENALTY OF PERJURY THAT THE FORGOING IS TRUE AND CORRECT.

    Executed in                            , County, State of          , on the            day of


                                                                                    Declarant/Authorized Process Server


                  I CERTIFY THIS IS A TRUE COPY
                  Witness my Hand and Seal of Office                                (Id # expiration of certification)


f                       April 01,2022
                  JAMIE SMITH , DISTRICT CLERK
                   JEFFERSON COUNTY .TEXAS


                                            Page3of4
    Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 107 of 135 PageID #: 118

                                              CAUSE NUMBER: D-0208582

 RONDA RACCA, INDIVIDUALLY AND ON
 BEHALF OF ALL SIMILARLY SITUATED
 PERSONS
 PLAINTIFF
                                                           IN THE BOTH JUDICIAL DISTRICT
                                                            COURT OF JEFFERSON COUNTY, TEXAS
 VS.


 EFG GENERAL PARTNER CORP., ET AL
 DEFENDANT
                                                RETURN OF SERVICE

My name is GUY CONNELLY. I am over die age of eighteen (1 8), I am not a party to this case, and have no
interest in its outcome. I am in all ways competent to make this affidavit and this affidavit is based on personal
knowledge. The facts stated herein are true and correct. My business address is: 1 320 QUITMAN ST. STE
100, HOUSTON, HARRIS COUNTY, TX 77009, U.S.A.

ON Monday November 08, 2021 AT 04:31 PM - CITATION, PLAINTIFF'S ORIGINAL CLASS
ACTION PETITION came to hand for service upon COMPUTER CAREER CENTER LP BY
SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM.

On Wednesday November 10, 2021 at 11:05 AM - The above named documents were hand delivered to:
COMPUTER CAREER CENTER LP BY SERVING ITS REGISTERED AGENT CT
CORPORATION SYSTEM @ 1999 BRYAN STREET SUITE 900, DALLAS , TX 75201, in Person.
By delivering to Latoya Stems, Intake Specialist.

FURTHER AFFIANT SAYETII NOT.


STATE OF TEXAS                                      DECLARATION

"My name is GUY CONNELLY, my date of birth is 11/04/1951 my business address is 1320 QUITMAN STREET,
HOUSTON, TX 77009, and I declare under penalty of perjury that this affidavit is true and correct."

Executed in Collin County, State of Texas on Wednesday November 10, 2021



 /s/GUY CONNELLY                                  PSC#22O1 EXP. 09/30/22
Declarant                                              Appointed in accordance with State Statutes

                                                             2021.11.604341




         I CERTIFY THIS IS A TRUE COPY
         Witness my Hand and Seal of Office


                April 01,2022
         JAMIE SMITH , DISTRICT CLERK
            JEFFERSON COUNTY .TEXAS


                                 Page4of4
           Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 108 of 135 PageID #: 119




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH, KSSTF'Cr CLCRK

                    JEFfgRSON COUNTY .TEXAS

                               .11




Certified Document Number: 2388881 Total Pages: 4




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
  Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 109 of 135 PageID #: 120
                                                                 FILED
                                                                                             DISTRICT CLERK OF
                                                                                             JEFFERSON CO TEXAS
                                                         JAMIE SMITH                         10/12/2021 3:22 PM
                                              JEFFERSON COUNTY DISTRICT CLERK                UlO I KIU I   ULtKA
                /*
  \*
                *7           1085 PEARL STREET, ROOM 203, BEAUMONT,TX 7770408582


                                                REQUEST FOR PROCESS
                             All sections must be completed for processing this request.

Section 1:
Cause No.                                                                         Date   October 12, 2021

Style:

Ronda Racca, Individually and on Behalf of all Similarly Situated Persons
vs

EFG General Partner Corp, et al

Section 2:

Check Process Type:

X Citation              Precept to Serve / Notice of Hearing/Notice to Show Cause
  Temporary Restraining Order
  Application for Protective Order /Temporary (Ex Parte) Protective Order
   Notice of Registration of Foreign Judgment               Citation by Posting
  Writ of                                                   Other
Citation by Publication*- Newspaper:

ULh&dk box if you would like the District Clerk's Office to make copies for your service. ($1.00 per page
 per pleading for copies for service)




Section 3:

Title of Document/Pleading to be attached for service: Plaintiffs Original Class Action
                                                                                  Petition



                        Note: You must furnish one copy of the document/pleading for each party served.



Section 4: PARTIES TO BE SERVED (Please type or print):
1 . Name: EFG GENERAL PARTNER CORP. (Registered Agent: C T CORPORATION SYSTEM)

                         1 999 Bryan Street, Suite 900
    Address:

     City;     Dallas                                       state: Texas                        Zip: 75201
2 . Name: EDUCATION FUTURES MANAGEMENT, COMPANY


    Address:            300 N Coit Road, Suite 1400


                Richardson                                           Texas
     City:.                                                 State:                              Zip: 75080



         I CERTIFY THIS IS A TRUE COPY
         Witness my Hand and Seal of Office

               April 01,2022
         JAMIE SMITH , DISTRICT CLERK
          JEFFERSON COUNTY .TEXAS


                                 Page1of2
  Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 110 of 135 PageID #: 121

                   COMPUTER CAREER CENTER. L.P. D/B/A VISTA COLLEGE (Registered Agent: CT Corporation System)
3. Name:

     Add reSS: 1999 BrVan Street, Suite 900

     City: Da"as                                                  State:       Texas         Zip: 75201

4. Name: LOUIS KENTER (Registered Agent: CT Corporation System)

     Address:         1999 Bryan Street, Suite 900
                                                                                                    75201
     City: Dallas                                                 State:   Texas             Zip:
5 Name: MICHAEL MCINERNEY (Registred Agent: C T CORPORATION SYSTEM)

                      1999 Bryan Street, Suite 900
     Address:

                 Dallas
     City:.                                                       State:       Texas
                                                                                             Zip: 75201

Section 5


Check Service Type:

            No Service                                                Secretary of State

            Sheriff                                                   Commissioner of Insurance

            Constable Pct.                                            Out of County

            Out of State                                               Private Process     Other
            Certified Mail

Section 6 (ONLY if Section 7 does not apply)

Attorney Name: Timothy M. Ferguson

Address : Edison Plaza, 350 Pine Street, suite 1440
                                                             Street/P.O. Box

                  Beaumont
                                                                               Texas               77701
                                        City                                     State


Attorney’s Telephone No. 409-832-9700                                 Attorney’s Bar No. 24099479

Section 7 (ONLY if Section 6 does not apply)


Pro-Se Name:

Address:



                                        City                                     State                Zip


Telephone No.
Section 8

Check Delivery Type: Please call Jamie Schiesler @ (409) 832-9700 when citation is ready.

0     Hold for pick up                         Mail to Attorney

        I CERTIFY THIS IS A TRUE COPY
        Witness my Hand and Seal of Office

                April 01,2022
         JAMIE SMITH , DISTRICT CLERK
            JEFFERSON COUNTY .TEXAS


                                Page2of2
           Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 111 of 135 PageID #: 122




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH, KSSTF'Cr CLCRK

                    JEFfgRSON COUNTY .TEXAS

                               .11




Certified Document Number: 2368160 Total Pages: 2




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
         Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 112 of 135 PageID #: 123
                                                                        FILED
                                                                                                     DISTRICT CLERK OF
                                                                                                     JEFFERSON CO TEXAS
                                                                                                     11/23/2021 2:31 PM
                                                                                                     JAMIE SMITH
                                                                                                         DISTRICT CLERK
                                                             CAUSE NO. D-208582
                                                                                                         D-208582

          RONDA RACCA, INDIVIDUALLY AND                                  §                 IN THE DISTRICT COURT OF
          ON BEHALF OF ALL SIMILARLY                                     §
          SITUATED PERSONS,                                              §
                                                                         §
                      Plaintiffs,                                        §                 JEFFERSON COUNTY, TEXAS
          v.                                                             §
                                                                         §
          EFG GENERAL PARTNER CORP.,                                     §
          EDUCATION FUTURES                                              §
          MANAGEMENT, COMPANY,                                           §
          COMPUTER CAREER CENTER, L.P.                                   §
          D/B/A         VISTA         COLLEGE,             PROSPECT      §
          PARTNERS, LLC, JIM TOLBERT,                                    §
          MICHAEL MCINERNEY, AND LOUIS                                   §
          RENTER,
                                                                                               172ND JUDICIAL DISTRICT
                      Defendants.

                                  NOTICE OF PARTIAL NON-SUIT WITHOUT PREJUDICE


          TO THE HONORABLE JUDGE MITCH TEMPLETON:


                       Plaintiffs, Ronda Racca, Individually and On Behalf of All Similarly Situated Persons,


          move         the    Court       to    non-suit    without   prejudice   Defendants   EDUCATION        FUTURES


          MANAGEMENT, COMPUTER CAREER CENTER, L.P. D/B/A VISTA COLLEGE, EFG


          FUTURES GROUP, LLC, AND EFG GENERAL PARTNER CORP., and as grounds would

          show the following:


                                                    NON-SUIT WITHOUT PREJUDICE


                       Plaintiffs, Ronda Racca, Individually and On Behalf of All Similarly Situated Persons,


          file this notice of non-suit without prejudice on all claims against Defendants, EDUCATION


          FUTURES              MANAGEMENT,                 COMPUTER          CAREER   CENTER,     L.P.     D/B/A    VISTA


          COLLEGE, EFG FUTURES GROUP, LLC, AND EFG GENERAL PARTNER CORP.,                                              as


          Plaintiffs no longer wish to pursue their claims at this time against Defendants, EDUCATION


          FUTURES              MANAGEMENT,                 COMPUTER          CAREER   CENTER,     L.P.     D/B/A    VISTA
               I CERTIFY THIS IS A TRUE COPY
/ qJc          Witness my Hand and Seal of Office

                     April 01 , 2022
               JAMIE SMITH, DISTRICT CLERK
    f'          JEFFERS0NC0UNTYTEXAS
                                       Page1of6
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 113 of 135 PageID #: 124




 COLLEGE, EFG FUTURES GROUP, LLC, AND EFG GENERAL PARTNER CORP.


           All court costs, attorney fees, and expenses are to be taxed against the party incurring same.


                                                      PRAYER


           Plaintiffs, Ronda Racca, Individually and On Behalf of All Similarly Situated Persons,

 pray    that    the    Court      sign   an   Order acknowledging   Plaintiffs’   Non-Suit   of Defendants


 EDUCATION FUTURES MANAGEMENT, COMPUTER CAREER CENTER, L.P. D/B/A


 VISTA COLLEGE, EFG FUTURES GROUP, LLC, AND EFG GENERAL PARTNER CORP.,


 from the above cause.


                                                       Respectfully submitted,

                                                       THE FERGUSON LAW FIRM, LLP


                                                       /s/ Mark C. Sparks
                                                       Mark Sparks
                                                       Texas Bar No. 24000273
                                                       mark@thefergusonlawfinn.com
                                                       Timothy M. Ferguson
                                                       Texas Bar No. 24099479
                                                       tferguson@thefergusonlawfirm.com
                                                       350 Pine Street, Suite 1440
                                                       Beaumont, Texas 77701
                                                       (409) 832-9700 Phone
                                                       (409) 832-9708 Fax

                                                       and:

                                                       BAILEY REYES, PLLC


                                                       Christopher A. Bailey
                                                       Texas Bar No. 24104549
                                                       chris@baileyreyes.com
                                                       Jul liana Reyes
                                                       Texas Bar No. 24103899
                                                       julie@baileyreyes.com
                                                       2125 Calder Avenue
                                                       Beaumont, Texas 77701
                                                       (409)239-0123 Phone
                                                       (409) 895-2363 Fax


                                                       ATTORNEYS FOR PLAINTIFFS
   I CERTIFY THIS IS A TRUE COPY
   Witness my Hand and Seal of Office
                                                          2
         April 01,2022
   JAMIE SMITH , DISTRICT CLERK
    JEFFERSON COUNTY .TEXAS


                           Page2of6
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 114 of 135 PageID #: 125




                                        CERTIFICATE OF SERVICE

           I hereby certify that on the 23rd day of November 2021, a true and correct copy of the
 foregoing document was forwarded to all counsel of record in accordance with the Texas Rules of
 Civil Procedure.



                                                Z$7 Timothy M. Ferguson
                                                Timothy M. Ferguson




   I CERTIFY THIS IS A TRUE COPY
   Witness my Hand and Seal of Office
                                                   3
         April 01,2022
   JAMIE SMITH , DISTRICT CLERK
    JEFFERSON COUNTY .TEXAS


                           Page3of6
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 115 of 135 PageID #: 126




                                                    CAUSE NO. D-208582


 RONDA RACCA, INDIVIDUALLY AND                                  §            IN THE DISTRICT COURT OF
 ON BEHALF OF ALL SIMILARLY                                     §
 SITUATED PERSONS,                                              §
                                                                §
             Plaintiffs,                                        §           JEFFERSON COUNTY, TEXAS
 v.                                                             §
                                                                §
 EFG GENERAL PARTNER CORP.,                                     §
 EDUCATION FUTURES                                              §
 MANAGEMENT, COMPANY,                                           §
 COMPUTER CAREER CENTER, L.P.                                   §
 D/B/A         VISTA         COLLEGE,             PROSPECT      §
 PARTNERS, LLC, JIM TOLBERT,                                    §
 MICHAEL MCINERNEY, AND LOUIS                                   §
 RENTER,
                                                                               172ND JUDICIAL DISTRICT
             Defendants.


                          ORDER OF PARTIAL NON-SUIT WITHOUT PREJUDICE


               The Court having reviewed Plaintiffs’ Notice ofPartial Non-Suit Without Prejudice as to


 Defendants EDUCATION FUTURES MANAGEMENT, COMPUTER CAREER CENTER,


 L.P. D/B/A VISTA COLLEGE, EFG FUTURES GROUP,                               LLC,   AND EFG GENERAL


 PARTNER CORP., and is of the opinion that it should be acknowledged. It is therefore:


              ORDERED that all of Plaintiffs’ claims against Defendants EDUCATION FUTURES


 MANAGEMENT, COMPUTER CAREER CENTER, L.P. D/B/A VISTA COLLEGE, EFG


 FUTURES GROUP, LLC, AND EFG GENERAL PARTNER CORP., are dismissed without


 prejudice         to    refile     and    that   Defendants,   EDUCATION   FUTURES   MANAGEMENT,


 COMPUTER CAREER CENTER, L.P. D/B/A VISTA COLLEGE, EFG FUTURES GROUP,


 LLC, AND EFG GENERAL PARTNER CORP., are hereby non-suited without prejudice from


 this cause of action.




      I CERTIFY THIS IS A TRUE COPY
      Witness my Hand and Seal of Office
                                                                4
            April 01,2022
      JAMIE SMITH , DISTRICT CLERK
       JEFFERSON COUNTY .TEXAS


                              Page4of6
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 116 of 135 PageID #: 127




           Nothing herein shall defeat nor diminish any other claims against any other parties to this


 case. All court costs, attorney fees, and expenses are to be taxed against the party incurring same.



           SIGNED the                   day of                   , 2021.




                                                 HONORABLE JUDGE MITCH TEMPLETON




   I CERTIFY THIS IS A TRUE COPY
   Witness my Hand and Seal of Office
                                                       5
         April 01,2022
   JAMIE SMITH , DISTRICT CLERK
    JEFFERSON COUNTY .TEXAS


                           PageSof6
 Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 117 of 135 PageID #: 128

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Casandra Fontenot on behalf of Timothy Ferguson
Bar No. 24099479
cfontenot@thefergusonlawfirm.com
Envelope ID: 59435468
Status as of 1 1/23/2021 2:42 PM CST

Associated Case Party: RONDARACCA


Name                       BarNumber      Email                               TimestampSubmitted      Status

Timothy MFerguson                         tferguson@thefergusonlawfirm.com    11/23/2021 2:31:43 PM   SENT

Casandra Fontenot                         cfontenot@thefergusonlawfirm.com    11/23/2021 2:31:43 PM   SENT

Mark C.Sparks                             mark@thefergusonlawfirm.com         11/23/2021 2:31:43 PM   SENT

Jamie Schiesler                           jschiesler@thefergusonlawfirm.com   11/23/2021 2:31:43 PM   SENT

Jamie Schiesler                           Jschiesler@thefergusonlawfirm.com   11/23/2021 2:31:43 PM   SENT

Jamie Schiesler                           jschiesler@thefergusonlawfirm.com   11/23/2021 2:31:43 PM   SENT




     I CERTIFY THIS IS A TRUE COPY
     Witness my Hand and Seal of Office


            April 01,2022
       JAMIE SMITH , DISTRICT CLERK
       JEFFERSON COUNTY .TEXAS


                             Page6of6
           Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 118 of 135 PageID #: 129




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH, KSSTF'Cr CLCRK

                    JEFfgRSON COUNTY .TEXAS

                               .11




Certified Document Number: 2393630 Total Pages: 6




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 119 of 135 PageID #: 130
                                                               FILED
                                                                                      DISTRICT CLERK OF
                                                                                      JEFFERSON CO TEXAS
                                                                                      11/23/2021 4:29 PM
                                                                                      JAMIE SMITH
                                                                                      DISTRICT CLERK
                                                    CAUSE NO. D-208582
                                                                                      D-208582

 RONDA RACCA, INDIVIDUALLY AND                                  §            IN THE DISTRICT COURT OF
 ON BEHALF OF ALL SIMILARLY                                     §
 SITUATED PERSONS,                                              §
                                                                §
             Plaintiffs,                                        §           JEFFERSON COUNTY, TEXAS
 v.                                                             §
                                                                §
 EFG GENERAL PARTNER CORP.,                                     §
 EDUCATION FUTURES                                              §
 MANAGEMENT, COMPANY,                                           §
 COMPUTER CAREER CENTER, L.P.                                   §
 D/B/A         VISTA         COLLEGE,             PROSPECT      §
 PARTNERS, LLC, JIM TOLBERT,                                    §
 MICHAEL MCINERNEY, AND LOUIS                                   §
 RENTER,
                                                                               172ND JUDICIAL DISTRICT
             Defendants.


                          ORDER OF PARTIAL NON-SUIT WITHOUT PREJUDICE


               The Court having reviewed Plaintiffs’ Notice ofPartial Non-Suit Without Prejudice as to


 Defendants EDUCATION FUTURES MANAGEMENT, COMPUTER CAREER CENTER,


 L.P. D/B/A VISTA COLLEGE, EFG FUTURES GROUP,                               LLC,   AND EFG GENERAL


 PARTNER CORP., and is of the opinion that it should be acknowledged. It is therefore:


              ORDERED that all of Plaintiffs’ claims against Defendants EDUCATION FUTURES


 MANAGEMENT, COMPUTER CAREER CENTER, L.P. D/B/A VISTA COLLEGE, EFG


 FUTURES GROUP, LLC, AND EFG GENERAL PARTNER CORP., are dismissed without


 prejudice         to    refile     and    that   Defendants,   EDUCATION   FUTURES   MANAGEMENT,


 COMPUTER CAREER CENTER, L.P. D/B/A VISTA COLLEGE, EFG FUTURES GROUP,


 LLC, AND EFG GENERAL PARTNER CORP., are hereby non-suited without prejudice from


 this cause of action.




      I CERTIFY THIS IS A TRUE COPY
      Witness my Hand and Seal of Office
                                                                4
            April 01,2022
      JAMIE SMITH , DISTRICT CLERK
       JEFFERSON COUNTY .TEXAS


                              Page1of3
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 120 of 135 PageID #: 131




           Nothing herein shall defeat nor diminish any other claims against any other parties to this


 case. All court costs, attorney fees, and expenses are to be taxed against the party incurring same.



           SIGNED the 23rd day of        November                , 2021.




                                         HONORABLE JUDGE XXXOCXXXXXXXXXX




   I CERTIFY THIS IS A TRUE COPY
   Witness my Hand and Seal of Office
                                                    5
         April 01,2022
   JAMIE SMITH , DISTRICT CLERK
    JEFFERSON COUNTY .TEXAS


                           Page2of3
 Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 121 of 135 PageID #: 132

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 59445750
Status as of 1 1/24/2021 1 1 :28 AM CST

Associated Case Party: RONDARACCA


Name                       BarNumber      Email                               TimestampSubmitted      Status

Jamie Schiesler                           jschiesler@thefergusonlawfirm.com   11/23/2021 4:29:26 PM   SENT

Jamie Schiesler                           Jschiesler@thefergusonlawfirm.com   11/23/2021 4:29:26 PM   SENT

Timothy MFerguson                         tferguson@thefergusonlawfirm.com    11/23/2021 4:29:26 PM   SENT

Jamie Schiesler                           jschiesler@thefergusonlawfirm.com   11/23/2021 4:29:26 PM   SENT

Mark C.Sparks                             mark@thefergusonlawfirm.com         11/23/2021 4:29:26 PM   SENT

Casandra Fontenot                         cfontenot@thefergusonlawfirm.com    11/23/2021 4:29:26 PM   SENT




     I CERTIFY THIS IS A TRUE COPY
     Witness my Hand and Seal of Office


            April 01,2022
       JAMIE SMITH , DISTRICT CLERK
       JEFFERSON COUNTY .TEXAS


                             Page3of3
           Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 122 of 135 PageID #: 133




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH, KSSTF'Cr CLCRK

                    JEFfgRSON COUNTY .TEXAS

                               .11




Certified Document Number: 2393913 Total Pages: 3




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
            Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 123 of 135 PageID #: 134
                                                                           FILED
                                                                                                                   DISTRICT CLERK OF
                                                                                                                   JEFFERSON CO TEXAS
                                                                                                                   3/31/2022 10:28 AM
                                                                                                                   JAMIE SMITH
                                                                                                                   DISTRICT CLERK
                                                              CAUSE NO. D-208582
                                                                                                                   D-208582

                   RONDA          RACCA,          INDIVIDUALLY ON               §                       IN THE DISTRICT COURT OF
                   BEHALF OF ALL                                                §
                   SIMILARLY SITUATED PERSONS,                                  §
                                                                                §
                              Plaintiffs,                                       §
                   v.                                                           §
                                                                                §
                   EFG GENERAL PARTNER CORP.,                                   §                      JEFFERSON COUNTY, TEXAS
                   EDUCATION FUTURES                                            §
                   MANAGEMENT, COMPANY,                                         §
                   EDUCATION FUTURES GROUP, LLC,                                §
                   COMPUTER CAREER CENTER, L.P.                                 §
                   D/B/A        VISTA         COLLEGE,     PROSPECT             §
                   PARTNERS, LLC, JIM TOLBERT,                                  §
                   MICHAEL MCINERNEY, AND LOUIS                                 §
                   KENTER,                                                      §
                                                                                §
                              Defendants.                                       §                          136TH JUDICIAL DISTRICT



                    NOTICE OF UNITED STATES BANKRUPTCY COURT ORDER AND OF LIFTING
                                                     AUTOMATIC STAY OF PROCEEDINGS


               TO THE HONORABLE JUDGE BAYLOR WORTHAM:


                             COMES NOW Plaintiff, RONDA RACCA, individually and on behalf of all similarly


               situated persons (as defined in the Class below), and files this, her Notice of United States

               Bankruptcy Court Order and Lifting of Stay of Proceedings and, in support thereof would how this


               Honorable Court as follows:


                             On October 1 1, 2021, Defendants EFG GENERAL PARTNER CORP.,


               EDUCATION FUTURES MANAGEMENT CO., EDUCATION FUTURES GROUP,


               LLC, and COMPUTER CAREER CENTER, L.P., and other Debtors1 each filed a voluntary




               1    The complete list of debtors in the bankruptcy cases, along with the last four digits of their federal tax
               identification number are: Vista Professional Development, LLC (1334); Vista Professional International. LLC
               (7452); New Day Vista, LLC (7094); Computer Career Center, L.P. (3502); EFG General Partner Corp. (3315);
               EFG Limited Partner Corp. (3 194); Certified Careers Institute. LLC (3122); Education Futures Management Co.
               (6336); and Education Futures Group, LLC (3445).
                 1 CERTIFY THIS IS A TRUE COPY
/ qJc .?         Witness my Hand and Seal of Office

                            April 01 , 2022

t-A                 JAMIE SMITH, DISTRICT CLERK
           .'jS/        JEFFERSON COUNTY .TEXAS
                                            Pagel of 9
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 124 of 135 PageID #: 135




 petition for relief under Chapter 7 of Title 1 1 of the United States Code. The aforementioned


 bankruptcy cases are jointly administered as In re Vista Professional Development, LLC, et al.,


 Case No. 21-11318 (JTD), Docket Nos. 90 and 1 12, In the United States Bankruptcy Court for


 the District of Delaware.

           PLEASE TAKE NOTICE that on March 28, 2022, United States Bankruptcy Judge John


 T. Dorsey entered the attached “ORDER APPROVING STIPULATION REGARDING


 MOTION           FOR       RELIEF      TO   MODIFY   STAY    TO    PERMIT      PROSECUTION       OF


 LAWSUIT” in Defendant-Debtors’ Chapter 7 cases. A true and correct copy of the Order is


 attached hereto and is marked as Exhibit “A.” Due to entry of the foregoing Order, the stay of this


 action is now lifted.


                                                  Respectfully submitted,

                                                  THE FERGUSON LAW FIRM, LLP



                                                  /s/ Mark C. Sparks
                                                  Mark Sparks
                                                  Texas Bar No. 24000273
                                                  mark@thefergusonlawfirm.com
                                                  Timothy M. Ferguson
                                                  Texas Bar No. 24099479
                                                  tferguson@thefergusonlawfirm.com
                                                  350 Pine Street, Suite 1440
                                                  Beaumont, Texas 77701
                                                  (409) 832-9700 Phone
                                                  (409) 832-9708 Fax

                                                  and:

                                                  BAILEY REYES, PLLC


                                                  Christopher A. Bailey
                                                  Texas Bar No. 24104549
                                                  chris@baileyreyes.com
                                                  Jul liana Reyes
                                                  Texas Bar No. 24103899
                                                  jul ie@bai leyreyes.com
                                                  2125 Calder Avenue

   I CERTIFY THIS IS A TRUE COPY
   Witness my Hand and Seal of Office


         April 01,2022
   JAMIE SMITH , DISTRICT CLERK
    JEFFERSON COUNTY .TEXAS


                           Page2of9
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 125 of 135 PageID #: 136




                                                  Beaumont, Texas 77701
                                                  (409) 239-0123 Phone
                                                  (409) 895-2363 Fax


                                                  ATTORNEYS FOR PLAINTIFF




                                        CERTIFICATE OF SERVICE


           This is to certify that the original of the foregoing instrument has been served on opposing
 counsel on this the 31st day of March 2022, by facsimile and electronic filing.



                                           /s/Titnothv M. Ferguson
                                           Timothy M. Ferguson




   I CERTIFY THIS IS A TRUE COPY
   Witness my Hand and Seal of Office


         April 01,2022
   JAMIE SMITH , DISTRICT CLERK
    JEFFERSON COUNTY .TEXAS


                           Page3of9
Case 1:22-cv-00142-MAC   DocumentDoc
              Case 21-11318-JTD  1-1 126
                                      FiledFiled
                                           04/07/22   Page Page
                                                 03/28/22  126 of1 135
                                                                   of 1 PageID #: 137




                              IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE
                                                            x


   In re                                                         Chapter 7


   VISTA PROFESSIONAL                                            Case No. 21-11318 (JTD)
   DEVELOPMENT, LLC, etalf                                       (Jointly Administered)


                                Debtors.                         Re: Docket Nos. 90 and 112
                                                            x




           ORDER APPROVING STIPULATION REGARDING MOTION FOR RELIEF
                   TO MODIFY STAY TO PERMIT PROSECUTION OF LAWSUIT


            Upon consideration of the Stipulation regarding the FLF Movants ’ Motion for Relief to


 Modify Stay to Permit Prosecution ofLawsuit attached hereto as Exhibit 1 (the “Stipulation”); and


  the Court having determined that good and adequate cause exists for approval of the Stipulation;


  and the Court having determined that no further notice of the Stipulation must be given.


            IT IS HEREBY ORDERED that the Stipulation is APPROVED.




    Dated: March 28th, 2022                                        JOH
    Wilmington, Delaware                                           tM cD STATES BANKRUPTCY JUDGE.




  1 The debtors in these cases, along with the last four digits of the federal tax identification number for each of the
 debtors, where applicable are: Vista Professional Development, LLC (1334); Vista Professional International, LLC
 (7452); New Day Vista, LLC (7094); Computer Career Center, L.P. (3502); EFG General Partner Corp. (3315); EFG
  Limited Partner Corp. (3194); Certified Careers Institute, LLC (3122); Education Futures Management Co. (6336);
  and Education Futures Group, LLC (3445).
    I CERTIFY THIS IS A TRUE COPY
    Witness my Hand and Seal of Office                                                                            PLAINTIFF’S
                                                                                                                    EXHIBIT
           April 01,2022
    JAMIE SMITH , DISTRICT CLERK
                                                                                                                           A
     JEFFERSON COUNTY .TEXAS


                            Page4of9
Case 1:22-cv-00142-MAC   Document
             Case 21-11318-JTD    1-1126-1
                                Doc    Filed 04/07/22  Page 127
                                             Filed 03/28/22     of 1135
                                                             Page    of 4PageID #: 138




                                        EXHIBIT 1




   I CERTIFY THIS IS A TRUE COPY
   Witness my Hand and Seal of Office


         April 01,2022
    JAMIE SMITH , DISTRICT CLERK
    JEFFERSON COUNTY .TEXAS


                           PageSof9
        Case 1:22-cv-00142-MAC   Document
                     Case 21-11318-JTD    1-1126-1
                                        Doc    Filed 04/07/22  Page 128
                                                     Filed 03/28/22     of 2135
                                                                     Page    of 4PageID #: 139




                                      IN THE UNITED STATES BANKRUPTCY COURT
                                                 FOR THE DISTRICT OF DELAWARE
                                                                    x
           In re                                                          Chapter 7


           VISTA PROFESSIONAL                                             Case No. 21-11318 (JTD)
           DEVELOPMENT, LLC, etalf                                        (Jointly Administered)


                                        Debtors.                          Re: Docket Nos. 90 and 112
                                                                    x


                                                          STIPULATION


                    Alfred T. Giuliano, solely in his capacity as the chapter 7 trustee (the “Trustee”) of the


          estates of the above-captioned debtors (the “Debtors”) and FLF Movants2 hereby stipulate (the

          “Stipulation”) and agree, as follows:


                    WHEREAS, on October 11, 2021 (the “Petition Date”), Debtors each filed a voluntary


          petition for relief under chapter 7 of title 1 1 of the United States Code;


                    WHEREAS, on November 30, 2021, the FLF Movants filed a Motion for Relief to Modify


         Stay to Permit Prosecution ofLawsuit [D.I. 90] (the “Stay Relief Motion”)3; and,

                    WHEREAS, On February 9, 2022, the Chapter 7 Trustee filed an Objection to the FLF


         Movants ’ Motion for Relief To Modify Stay To Permit Prosecution of Lawsuit [D.I. 1 12],


                    NOW THEREFORE, in consideration of the foregoing and the mutual promises and


         covenants as set forth herein, and other good and valuable consideration, the adequacy and receipt


         of which the parties hereby acknowledge, the parties hereby agree as follows:




          1 The debtors in these cases, along with the last four digits of the federal tax identification number for each of the
          debtors, where applicable are: Vista Professional Development, LLC (1334); Vista Professional International, LLC
          (7452); New Day Vista, LLC (7094); Computer Career Center, L.P. (3502); EFG General Partner Corp. (33 1 5); EFG
          Limited Partner Corp. (3194); Certified Careers Institute, LLC (3122); Education Futures Management Co. (6336);
          and Education Futures Group, LLC (3445).
          2 As used herein, the term FLF Movants includes any additional plaintiffs that may be added to the Texas Action,
          including any class that may be certified or any class member, or any plaintiffs who retain FLF in relation to the
          allegations raised in the Texas action.
          3 Unless otherwise defined herein, capitalized terms shall the meanings ascribed to them in the Stay Relief Motion.
            i certify this is a true copy
y           Witness my Hand and Seal of Office


                   April 01 , 2022
             JAMIE SMITH, DISTRICT CLERK
    y        JEFFERS0NC0UNTYTEXAS


                                    Page6of9
Case 1:22-cv-00142-MAC   Document
             Case 21-11318-JTD    1-1126-1
                                Doc    Filed 04/07/22  Page 129
                                             Filed 03/28/22     of 3135
                                                             Page    of 4PageID #: 140




           1.         The automatic stay imposed pursuant to 11 U.S.C. § 362 shall be modified and

  lifted to permit all FLF clients to re-name Debtors as defendants in - and prosecute - the lawsuit


  now pending in the 172nd District Court of Jefferson County, Texas identified as Cause No. D-


  208582 (the “Texas Action”), as well as permit any FLF client to file any claim or lawsuit in a


  court or arbitration proceeding necessary to pursue the available insurance proceeds.         Except as


 expressly set forth herein, the automatic stay shall remain in place for all other purposes.

           2.         FLF Movants’ recovery in the Texas Action shall be expressly limited to available


 proceeds, if any, from insurance policies belonging to the Debtors, including the following:


                a.    Educators         Legal   Liability and   Employment Practices Insurance Policy No.


                      ELL0954761 issued by Indian Harbor Insurance Company;


                b.    Excess Policy No. MMX-02187-20 issued by Homeland Insurance Company of


                      New York; and


                c.    Excess Policy No. 100010496 issued by QBE Specialty Insurance Company.


           3.         FLF Movants shall be precluded from enforcing any judgment or asserting any


  claims against the Trustee, the Estates, or the Debtors, and FLF Movants hereby agree to forego


  any and all right to participate in a recovery from the assets of, or distributions from, the Debtors’


  Estates. Without limiting the foregoing, FLF Movants hereby waive any claim for amounts over


  the coverage limits or caps of any applicable insurance policy insofar as it relates to the Debtors


 and shall be barred from proceeding against the Debtors or their Estates for any such amounts.


  However, nothing herein shall constitute a waiver by FLF Movants, or any claimants represented


 by FLF Movants’ counsel, of their rights against the insurers under the Stowers doctrine available


  under Texas law, See G. A. Stowers Furniture Co. v. American Indemnity’ Co., 15 S.W.2d 544




    I CERTIFY THIS IS A TRUE COPY
   Witness my Hand and Seal of Office


         April 01,2022
    JAMIE SMITH , DISTRICT CLERK
     JEFFERSON COUNTY .TEXAS

                     S-^Page7of9
Case 1:22-cv-00142-MAC   Document
             Case 21-11318-JTD    1-1126-1
                                Doc    Filed 04/07/22  Page 130
                                             Filed 03/28/22     of 4135
                                                             Page    of 4PageID #: 141




  (Tex. App. 1929) (“Stowers”), or any similar law applicable to insurer duties to act prudently and


  reasonably to evaluate claims/litigation and reasonably resolve and/or adjust them.


             4.         Notwithstanding the foregoing, if any insurance policy requires the Debtors to pay


 a self-insured retention or deductible: (a) FLF Movants shall proceed only against the available

  insurance coverage under the policy; and (b) the automatic stay shall not be modified with respect


  to any deductible or self-insured retention. For the avoidance of doubt, the Trustee and the Debtors’

  Estates shall not be liable for and are not undertaking any obligation to pay any self-insured


  retention or deductible in connection with any insurance policy pursuant to this Stipulation or


 otherwise. Further, for the avoidance of doubt, nothing in this Stipulation shall give rise to an


  administrative expense claim in the Debtors’ chapter 7 cases.


              5.         When the FLF lawsuit or arbitration is completed, the FLF Movants shall withdraw


  any claims filed against the Debtors or the Estates.


              6.         The Trustee and Debtors make no representations about the availability of


  insurance coverage for any claims that might be asserted by the FLF Movants.


              7.         This Court shall retain exclusive jurisdiction over any dispute arising under this


  Stipulation or Order approving the same, and to enforce its terms for such time as the Debtors’


 bankruptcy cases remain open.


  March 25, 2022


   /s/ David W. Carickhoff                                  Zs/ Garvan F. McDaniel
   David W. Carickhoff (No. 3715)                           Garvan McDaniel (#4167)
   Bryan J. Hall (No. 6285)                                  Hogan McDaniel
   ARCHER & GREINER, P.C.                                    1311 Delaware Ave
   300 Delaware Avenue, Suite 1 100                         Wilmington, DE 19806
   Wilmington, DE 19801                                     (302) 656-7540
   (302) 777-4350                                           gfmcdaniel@dkhogan.com
   dcarickhoff@archerlaw.com
   bjhall@archerlaw.com                                     A ttorneyfor Petitioner
      Counsel for the Chapter 7 Trustee

      I CERTIFY THIS IS A TRUE COPY
      Witness my Hand and Seal of Office


  \         April 01, 2022
  / JAMIE SMITH , DISTRICT CLERK
       JEFFERSON COUNTY .TEXAS
 Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 131 of 135 PageID #: 142

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Jamie Schiesler on behalf of Timothy Ferguson
Bar No. 24099479
jschiesler@thefergusonlawfirm.com
Envelope ID: 63132733
Status as of 3/31/2022 10:33 AM CST

Associated Case Party: RONDARACCA


Name                       BarNumber      Email                               TimestampSubmitted      Status

Jamie Schiesler                           jschiesler@thefergusonlawfirm.com   3/31/2022 10:28:17 AM   SENT

Jamie Schiesler                           Jschiesler@thefergusonlawfirm.com   3/31/2022 10:28:17 AM   SENT

Timothy MFerguson                         tferguson@thefergusonlawfirm.com    3/31/2022 10:28:17 AM   SENT

Jamie Schiesler                           jschiesler@thefergusonlawfirm.com   3/31/2022 10:28:17 AM   SENT

Mark C.Sparks                             mark@thefergusonlawfirm.com         3/31/2022 10:28:17 AM   SENT

Kara Mace                                 kmace@thefergusonlawfirm.com        3/31/2022 10:28:17 AM   SENT




     I CERTIFY THIS IS A TRUE COPY
     Witness my Hand and Seal of Office


            April 01,2022
       JAMIE SMITH , DISTRICT CLERK
       JEFFERSON COUNTY .TEXAS


                             Page9of9
           Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 132 of 135 PageID #: 143




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH, KSSTF'Cr CLCRK

                    JEFfgRSON COUNTY .TEXAS

                               .11




Certified Document Number: 2433938 Total Pages: 9




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 133 of 135 PageID #: 144
                                                               FILED
                                                                                DISTRICT CLERK OF
                                                                                JEFFERSON CO TEXAS
                                                                                3/30/2022 2:14 PM
                                                                                JAMIE SMITH
                                                                                DISTRICT CLERK

                                                         CAUSE NO. D-208582     D-208582
   RONDA RACCA, INDIVIDUALLY                       )
   AND ON BEHALF OF ALL
                                                   )
   SIMILARLY SITUATED PERSONS.

                                                   )
                       Plaintiff,                        IN THE DISTRICT COURT OF
                                                   )     JEFFERSON COUNTY, TEXAS
       v.

                                                   )
   EFG GENERAL PARTNER CORP.,
   EDUCATION FUTURES                               )
                                                         136TH JUDICIAL DISTRICT
   MANAGEMENT, COMPANY,
                                                   )
   EDUCATION FUTURES GROUP,
   LLC, COMPUTER CAREER                            )
   CENTER, L.P. D/B/A VISTA
   COLLEGE, PROSPECT PARTNERS,                     )
   LLC, JIM TOLBERT, MICHAEL
                                                   )
   MCINERNEY, AND LOUIS KENTER.

                                                   )
                       Defendants.


                                        NOTICE OF APPEARANCE


            COMES NOW Attorney Joshua B. Baker with the law firm of Maynard, Cooper & Gale,


 P.C., and hereby enters his appearance as counsel for Defendants Prospect Partners, LLC, Michael


 McInerney, and Louis Kenter in the above-styled proceeding and further requests that all notices

 and pleadings be served by electronic mail at JBaker@maynardcooper.com.


 Dated: March 30, 2022.                   Respectfully submitted,


                                           /s/ Joshua Baker
                                          Joshua Baker
                                          MAYNARD, COOPER & GALE, P.C.
                                           1901 Sixth Avenue North
                                           Suite 1700
                                          Birmingham, Alabama 35203-2602
                                          Phone: (205) 254-1000
                                          Fax: (205) 254-1999 (fax)
                                          jbaker@maynardcooper.com


                                          Attorneys for Defendants Prospect Partners, LLC, Michael
                                          McInerney, and Louis Kenter

   I CERTIFY THIS IS A TRUE COPY
   Witness my Hand and Seal of Office


         April 01,2022
   JAMIE SMITH , DISTRICT CLERK
    JEFFERSON COUNTY .TEXAS


                           Page1of2
Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 134 of 135 PageID #: 145




                                        CERTIFICATE OF SERVICE

           I hereby certify that on March 30, 2022, a copy of the above and foregoing Notice of


 Appearance was filed with the Court, which sent notification to all counsel of record.


                                           /$/ Joshua Baker
                                           OF COUNSEL




   I CERTIFY THIS IS A TRUE COPY
   Witness my Hand and Seal of Office


         April 01,2022
   JAMIE SMITH , DISTRICT CLERK
    JEFFERSON COUNTY .TEXAS


                           Page2of2
           Case 1:22-cv-00142-MAC Document 1-1 Filed 04/07/22 Page 135 of 135 PageID #: 146




                   J CERTIFY THIS SS A TRUE COPY
                   Witness my Hand and Seal of Office


                         April 01, 2022

                   JAMIE SMITH, KSSTF'Cr CLCRK

                    JEFfgRSON COUNTY .TEXAS

                               .11




Certified Document Number: 2433570 Total Pages: 2




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal   please e-mail
districtclerk @ co.jefferson.tx.us
